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            EXHIBIT C
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 1

 2   UNITED STATES BANKRUPTCY COURT

 3   SOUTHERN DISTRICT OF NEW YORK
 4   - - - - - - - - - - - - - - - - - - - - -x

 5

 6   In the Matter of:
 7   RUDOLPH W. GIULIANI,                              Main Case No.

 8              Debtor.                                23-12055-shl

 9
10   - - - - - - - - - - - - - - - - - - - - -x
11

12                   Office of the United States Trustee
13                   One Bowling Green

14                   New York, New York

15
16                   February 7, 2024

17                   3:00 PM

18

19

20

21   B E F O R E:

22   ANDREA BETH SCHWARTZ, ESQ.

23   OFFICE OF THE UNITED STATES TRUSTEE

24

25   ECRO:    ELECTRONICALLY RECORDED
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                                                                               2

 1

 2   Meeting of Creditors Pursuant to 341 of the Bankruptcy Code

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20   Transcribed by:      Michael Drake

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                                                                               3

 1

 2   A P E A R A N C E S:

 3   BERGER, FISCHOFF, SHUMER, WEXLER & GOODMAN, LLP
 4           Attorneys for Debtor

 5           6901 Jericho Turnpike

 6           Suite 230
 7           Syosset, NY 11791

 8

 9   BY:     HEATH S. BERGER, ESQ.
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                                 RUDOLPH W. GIULIANI

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 1                             P R O C E E D I N G S

 2              MS. SCHWARTZ:      Let the record reflect that the date is

 3   February 7th, 2024.       The time is approximately 2:15 p.m.             The
 4   name of this bankruptcy case is Rudolph W. Giuliani, also known

 5   as Rudolph William Giuliani.         The case was filed on December

 6   21st, 2023 in the United States Bankruptcy Court for the
 7   Southern District of New York and assigned to U.S. Bankruptcy

 8   Judge Sean Lane under Case Number 23-12055.

 9              Hold on one second.       I have to press *0.
10              AUTOMATED VOICE:      Please have your passcode and
11   conference leader's name available.           The coordinator will

12   assist you momentarily.
13              MS. SCHWARTZ:      Excuse me.

14         (Pause)

15              MS. SCHWARTZ:      All right.     I'll continue.       Good
16   afternoon.     My name is Andrea Schwartz.          I'm a trial attorney

17   with the U.S. Department of Justice Office of the United States

18   Trustee.     I represent William Harrington, the United States

19   Trustee for Region 2, which includes the Southern District of

20   New York.

21              Pursuant to Section 341(a) of the United States

22   Bankruptcy Code, the United States Trustee is directed to

23   convene and preside over this meeting of creditors.

24              For those of you who may not be familiar, the U.S.

25   Trustee Program is a component of the Department of Justice
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                                 RUDOLPH W. GIULIANI

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 1   that seeks to promote the efficiency and protect the integrity

 2   of the federal bankruptcy system.           Among other things, the U.S.

 3   Trustee Program monitors the conduct of bankruptcy parties,
 4   oversees administrative functions, and is responsible for

 5   ensuring compliance with applicable laws and procedures.

 6              Pursuant to the Bankruptcy Code, debtors are required
 7   to appear to be examined under oath regarding the bankruptcy

 8   case.    The examination will be recorded.           This meeting will

 9   have essentially two parts.         First will be our examination of
10   you under oath regarding your financial condition, including
11   the information contained in the papers filed in this case,

12   operation of any businesses, sources of money, all aspects that
13   affect the administration of the case, and your plan to emerge

14   from Chapter 11.

15              The second part is where we permit creditors to ask
16   you questions.      To the extent there are creditors interested in

17   asking you questions, I will provide further instructions at

18   that time.

19              I will note at the outset that this is not to be an

20   opportunity for creditors to substitute their efforts at

21   discovery regarding their individual claims, but they are

22   permitted to ask questions for a limited period of time

23   regarding the debtor's financial condition, his operation of

24   any businesses, and other matters impacting the administration

25   of the case.
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                                 RUDOLPH W. GIULIANI

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 1              As I stated before, I am the presiding officer here

 2   and I will make sure that the meeting is professional at all

 3   times and that appropriate decorum is maintained.
 4              All persons questioning the debtor must state their

 5   names and indicate who they represent.             An appearance sheet has

 6   been outside, and I'm sure everyone here signed in.                   Is that
 7   right?    Anybody that didn't sign in?           Okay.

 8              If you wish to question the debtor and/or receive

 9   notice of any adjourned meeting, you must make sure that you
10   sign it.     But you all did.       So that's covered.
11              As noted, this meeting will be recorded.                 And I want

12   to make this clear.       Our recording will constitute the official
13   recording of the 341 meeting.            All other recordings, including

14   video or audio recordings of this meeting, are prohibited.

15   Requests for a copy of the recording should be made to me in
16   writing.     Furthermore, no one is permitted to photograph the

17   debtor or any person attending this meeting.                Okay?

18              We have a separate room for press.              Did anybody

19   inadvertently find their way here and you should be in the

20   other room.     Okay.    Excellent.

21              Oh, may I have appearances, please?              That's you.

22              MR. FISCHOFF:      Me?    Okay.    Berger, Fischoff, Schumer,

23   Wexler & Goodman by Gary Fischoff, attorney for the debtor.

24              MR. BERGER:     Berger, Fischoff, Shumer, Wexler &

25   Goodman by Heath Berger, admitted Southern District,
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                                 RUDOLPH W. GIULIANI

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 1   representing the debtor.

 2              MS. SCHWARTZ:      Okay.      At this time, I'd like to swear

 3   in the debtor.      Mr. Giuliani, would you raise your right hand,
 4   please?

 5              MR. GIULIANI:      Should I stand?

 6              MS. SCHWARTZ:      No, you don't have to stand, but thank
 7   you for asking.

 8         (Witness sworn)

 9              MS. SCHWARTZ:      Okay.      Please lower your hand.           State
10   your full name for the record and spell it.
11              MR. GIULIANI:      Rudolph W. Giuliani, R-U-D-O-L-P-H W.

12   G-I-U-L-I-A-N-I
13              MS. SCHWARTZ:      Okay.      And Mr. Giuliani, did you bring

14   photo identification with you today?

15              MR. GIULIANI:      I did, my passport.
16              MS. SCHWARTZ:      Okay.      Let me see that, please.           Why is

17   the picture outside of your passport?

18              MR. GIULIANI:      An extra one.

19              MS. SCHWARTZ:      Oh, okay.

20              MR. GIULIANI:      There it is right there.           The official

21   one is there.

22              MS. SCHWARTZ:      Okay.      Oh, you look pretty good in this

23   picture here.      Let the record reflect that Mr. Giuliani has

24   presented a United States passport that expires in November

25   2024, and it reflects the person sitting in front of me.                    Thank
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                                 RUDOLPH W. GIULIANI

                                                                                          8

 1   you.

 2              MR. BERGER:     Thank you.

 3              MS. SCHWARTZ:      Okay.      And how about driver's license
 4   and social security?

 5              MR. BERGER:     Mr. Giuliani does not have a driver's

 6   license.     That's why we have a passport.           And we provided a W-2
 7   that has his social security number on it.                 I can show you.

 8              MS. SCHWARTZ:      It's okay.      I got it.       Okay.    I got it.

 9              MR. BERGER:     Great.      Thank you.
10              MS. SCHWARTZ:      All right.      Oh, I have to write that
11   down.    Hold on a second.

12              Mr. Giuliani, you don't have a driver's license?
13              MR. GIULIANI:      No.     It expired.

14              MS. SCHWARTZ:      Do you -- are you driving?

15              MR. BERGER:     No.
16              MS. SCHWARTZ:      Oh, you don't drive without a driver's

17   license, right?

18              MR. GIULIANI:      I better not.

19              MS. SCHWARTZ:      Okay.      But you have a car, right?

20              MR. GIULIANI:      I do.

21              MS. SCHWARTZ:      Who drives it?

22              MR. GIULIANI:      my son, my partner, Ted.

23              MS. SCHWARTZ:      Ted.     We'll get to Ted.        Okay.       You're

24   the debtor in this Chapter 11 case, correct?

25              MR. GIULIANI:      Yes.       Yes, I am.
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                                 RUDOLPH W. GIULIANI

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 1               MS. SCHWARTZ:     And where do you reside?

 2               MR. GIULIANI:     45 East 66th Street.

 3               MS. SCHWARTZ:     And that's in New York, correct?
 4               MR. GIULIANI:     It's in Manhattan, y es.

 5               MS. SCHWARTZ:     And do you have any other residences?

 6               MR. GIULIANI:     I do.
 7               MS. SCHWARTZ:     Then they are?

 8               MR. GIULIANI:     Well, I have the other -- the other

 9    residence I have is --       gosh, I hardly have to use the address.
10               MS. SCHWARTZ:     You don't know where your other
11    residence is?

12               MR. GIULIANI:     I do know where it is, but I just want
13    to be sure of the address.

14               MS. SCHWARTZ:     Okay.

15               MR. GIULIANI:     There it is.       316, that's it, okay,
16    South Lake Drive.

17               MS. SCHWARTZ:     Okay.      So you have two residences?

18               MR. GIULIANI:     I do.

19               MS. SCHWARTZ:     Any others?

20               MR. GIULIANI:     No.

21               MS. SCHWARTZ:     And where do you spend most of your

22    time?

23               MR. GIULIANI:     Manhattan.

24               MS. SCHWARTZ:     And if you were to approximate how much

25    time you spend here versus how much time you spend in Florida,
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                                  RUDOLPH W. GIULIANI

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 1    what would you say?

 2               MR. GIULIANI:      Eighty-twenty, seventy-thirty.

 3               MS. SCHWARTZ:      Okay.      So you would say that the New
 4    York residence is your principal residence?

 5               MR. GIULIANI:      Yes, it is.

 6               MS. SCHWARTZ:      Okay.      All right.        Before I get into
 7    the examination, I just want to go over a couple of ground

 8    rules for today.        The first thing is you took an oath.                 And

 9    that oath is the same type of oath you would take if you were
10    sitting in a court of law under any official proceeding, which
11    this is an official proceeding.           You understand that?

12               MR. GIULIANI:      I do.
13               MS. SCHWARTZ:      And that what you say here today has

14    the same force and effect as if you were sitting in a court of

15    law.   You understand that?
16               MR. GIULIANI:      I do.

17               MS. SCHWARTZ:      Okay.      If I ask you a question and you

18    don't understand my question, will you agree to tell me so that

19    I can rephrase the question until we get to the part where you

20    do understand my question?

21               MR. GIULIANI:      I will.

22               MS. SCHWARTZ:      Okay.      So for purposes of the record,

23    if you don't say that you have an issue with the question, we

24    will be understanding, both of us, that you fully understood my

25    question when you answered.           Okay?
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                                 RUDOLPH W. GIULIANI

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 1               MR. GIULIANI:     Yes.

 2               MS. SCHWARTZ:     All right.      And also, if I ask you a

 3    question and you don't know the answer, it's perfectly fine.
 4    But my goal here is not to get you to guess or you know, try

 5    hard to come up with the answer.           You understand that?

 6               MR. GIULIANI:     I do.
 7               MS. SCHWARTZ:     But it's certainly okay if you

 8    approximate or estimate and so forth.             All right?

 9               MR. GIULIANI:     Thank you.
10               MS. SCHWARTZ:     Okay.      And as I mentioned to you a
11    little earlier, just when I -- you know, I greeted you, at a

12    341 meeting, we sometimes permit your attorneys to assist on
13    certain questions if the -- if it's necessary.                Most of the

14    time it's not.      But if they like -- for example, before, when

15    Mr. Berger showed you the part of the schedule that gave --
16               MR. GIULIANI:     Right.

17               MS. SCHWARTZ:     -- you your exact address, that's okay.

18    All right?

19               MR. GIULIANI:     Okay.      Thank you.

20               MS. SCHWARTZ:     You're welcome.        Okay.

21               Just a few preliminary questions.              Background

22    questions.     Your education, could you briefly just describe

23    your education?

24               MR. GIULIANI:     Go in reverse order.           I was -- I'm a

25    graduate of NYU Law School, the JD, graduate of Manhattan
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                                 RUDOLPH W. GIULIANI

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 1    College, Bachelor of Arts, and Bishop Loughlin High School.

 2               MS. SCHWARTZ:     Did you say Bishop Loughlin?

 3               MR. GIULIANI:     Bishop Loughlin, L-O-U-G-H-L-I-N.             It's
 4    in Brooklyn.

 5               MS. SCHWARTZ:     In Brooklyn?

 6               MR. GIULIANI:     In Brooklyn, New York.           Yes.
 7               MS. SCHWARTZ:     Okay.      And would you just briefly

 8    describe your professional background?

 9               MR. GIULIANI:     I'm a -- was admitted to the bar in
10    1969.   I've been a practicing lawyer since then.               I've also
11    been the -- run a security company, a consulting company.                  I've

12    been a host on a radio show, or I am now and a telecast, a live
13    cast.   And also -- also have been in public office as the Mayor

14    of New York, the attorney -- U.S. Attorney for the Southern

15    District of New York, Associate Attorney General of the United
16    States, Assistant U.S. Attorney, and Associate Deputy Attorney

17    General.

18               MS. SCHWARTZ:     Anything else?

19               MR. GIULIANI:     Not that I can remember.

20               MS. SCHWARTZ:     People are laughing, but, you know, I

21    wouldn't be surprised if you had -- if there were other things.

22    Are you currently employed?

23               MR. GIULIANI:     I am.

24               MS. SCHWARTZ:     And by whom?

25               MR. GIULIANI:     Well, really I'm employed by Giuliani
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                                 RUDOLPH W. GIULIANI

                                                                                 13

 1    Communications.

 2               MS. SCHWARTZ:     Okay.      And that's a company that you're

 3    the sole member of; is that right?
 4               MR. GIULIANI:     Yes, it is.

 5               MS. SCHWARTZ:     Okay.      And what do you do for Giuliani

 6    Communications?
 7               MR. GIULIANI:     Well, I have a -- I have a radio show

 8    every day between 3 and 4 on WABC Radio.

 9               MS. SCHWARTZ:     What's that called?
10               MR. GIULIANI:     That's called the Rudy Giuliani Show.
11               MS. SCHWARTZ:     Oh, very clever.         And what do you -- do

12    you have guests or what you do?
13               MR. GIULIANI:     Sure, guests, call-ins, commentary.

14               MS. SCHWARTZ:     What do you talk about?           Is it a

15    variety of topics --
16               MR. GIULIANI:     I do.

17               MS. SCHWARTZ:     -- or is it a political --

18               MR. GIULIANI:     I mean, politics, obviously, is

19    probably fifty percent of it.           And everything else is the other

20    fifty percent.      It could be sports.        It could be social issues,

21    religious issues, legal.

22               MS. SCHWARTZ:     And what station is it on?

23               MR. GIULIANI:     WABC Radio.

24               MS. SCHWARTZ:     And what is that on?          It's on AM,

25    right?
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                                 RUDOLPH W. GIULIANI

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 1               MR. GIULIANI:     It's on AM, but it's also --

 2               MS. SCHWARTZ:     But it's on Sirius Radio, right?

 3               MR. GIULIANI:     Yes.    It's on AM.          It's also online.
 4    It's --

 5               MS. SCHWARTZ:     What's the station?

 6               MR. GIULIANI:     WABCRadio.com, WABC 770.
 7               MR. BERGER:     770.

 8               MS. SCHWARTZ:     No, I've -- I'm going to have to, like,

 9    check it out now.
10               MR. GIULIANI:     It's one of the oldest radio stations
11    in New York.

12               MS. SCHWARTZ:     Okay.      And what time did you say it
13    was?

14               MR. GIULIANI:     3 to 4.

15               MS. SCHWARTZ:     Okay.      Every day?
16               MR. GIULIANI:     Monday to Friday.            And then on Sundays,

17    I do another show called Uncovering the Truth.

18               MS. SCHWARTZ:     Uncovering the Truth?

19               MR. GIULIANI:     Uncovering the Truth.           That's a Sunday

20    morning show between 10 and 11.          And I have a cohost, Dr. Maria

21    Ryan.

22               MS. SCHWARTZ:     Maria Ryan?

23               MR. GIULIANI:     Ryan, R-Y-A-N.

24               MS. SCHWARTZ:     And is Ms. Ryan also employed by

25    Giuliani Communications?
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                                 RUDOLPH W. GIULIANI

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 1               MR. GIULIANI:     She is.     She produces the other shows.

 2    And she's the president.

 3               MS. SCHWARTZ:     Okay.      And I thought you had said or
 4    maybe not.     Do you also work for any of the other entities of

 5    which bear your name?

 6               MR. GIULIANI:     Well, I also -- I also have a live cast
 7    that's on between 8 and 9 every night.

 8               MS. SCHWARTZ:     What's a live cast?

 9               MR. GIULIANI:     Live cast is a television broadcast
10    online.
11               MS. SCHWARTZ:     Okay.

12               MR. GIULIANI:     So for example, it's on most of the
13    social media.     So you could if you -- you could put it on

14    tonight on X or on YouTube or on Rumble or on Facebook or -- I

15    always miss a few.
16               MS. SCHWARTZ:     It's like a podcast, but it's visible?

17               MR. GIULIANI:     It's a podcast except it's visible and

18    it's live.     And it's also then rebroadcast on Newsmax.                  But

19    it's rebroadcast as a podcast, not as a live show.

20               MS. SCHWARTZ:     So just --

21               MR. GIULIANI:     So just on live between 8 and 9.

22               MS. SCHWARTZ:     Yeah.

23               MR. GIULIANI:     And then -- then you can view it, you

24    know.

25               MS. SCHWARTZ:     What's that called, America's Mayor?
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                                  RUDOLPH W. GIULIANI

                                                                                    16

 1               MR. GIULIANI:      America's Mayor Live.

 2               MS. SCHWARTZ:      Okay.

 3               MR. GIULIANI:      And then it's rebroadcast on Newsmax as
 4    a --

 5               MS. SCHWARTZ:      Do you have to subscribe to Newsmax?

 6               MR. GIULIANI:      You do.
 7               MS. SCHWARTZ:      Okay.      And what's the subject of that?

 8    Is it the same thing?

 9               MR. GIULIANI:      Very similar.        Right.
10               MS. SCHWARTZ:      Do you have co-hosts on that?
11               MR. GIULIANI:      Not permanent.        Every once in a while,

12    I'll have a co-host.        Yes.
13               MS. SCHWARTZ:      And where do you broadcast from?

14               MR. GIULIANI:      ABC.    The afternoon show I broadcast

15    from their studios at 803rd Avenue.
16               MS. SCHWARTZ:      Okay.

17               MR. GIULIANI:      Sometimes, maybe a third of the time

18    I'm on the road.        So I recently spent four or five days in New

19    Hampshire during the New Hampshire primary.                And I broadcast

20    from a -- I think we used a we used a hotel.                Sometimes I'll

21    use a studio that --

22               MS. SCHWARTZ:      We've seen that.         I mean, not you, but

23    I've seen other people on the road set up.

24               MR. GIULIANI:      Yeah, yeah.       At least a third of the

25    time I'm doing it on the road, or I might do it at home because
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                                   RUDOLPH W. GIULIANI

                                                                                            17

 1    I have a device called a Comcast that allows me to broadcast

 2    anywhere in the world.

 3               MS. SCHWARTZ:       Oh, okay.      And this is also under -- is
 4    this also under Communications?

 5               MR. GIULIANI:       It's under Communications.             And this is

 6    all with WABC.
 7               MS. SCHWARTZ:       Okay.      That's with WABC.        So --

 8               MR. GIULIANI:       Well, for example, if I go to Florida

 9    for a week or two, I'll take --
10               MS. SCHWARTZ:       You can do it from your Florida place?
11               MR. GIULIANI:       -- I'll take the device with me.                And I

12    can do the show from Florida.             And I do.
13               MS. SCHWARTZ:       Okay.      So I just want to make sure I

14    got this right.         So is everything with WABC?

15               MR. GIULIANI:       No.     The live cast is technically owned
16    by Giuliani Communications.            That's my own.

17               MS. SCHWARTZ:       Okay.

18               MR. GIULIANI:       And that's on between 8 and 9.                 And I

19    do that also -- I do that at home at 45 East 66th Street most

20    of the time.     But then when I'm traveling, I do it on the road.

21    So I can do it in the apartment, the address of which I

22    couldn't remember in Palm Beach, South Lake Drive.                    And then I

23    will do it -- wherever I am, we'll find a place to set up a

24    studio or I'll borrow a studio or I'll use Newsmax.

25               MS. SCHWARTZ:       Okay.      All right.        Let's see.     Any
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                                 RUDOLPH W. GIULIANI

                                                                                       18

 1    other employment other than those two things?

 2               MR. GIULIANI:     No.     I'll occasionally be booked for a

 3    speech or very, very occasionally for consulting.                  Used to
 4    be --

 5               MS. SCHWARTZ:     Nonlegal consulting or --

 6               MR. GIULIANI:     Yes.     Nonlegal since I've been
 7    suspended.

 8               MS. SCHWARTZ:     Yeah, we'll get to that.             Now, tell me

 9    the names of your companies.
10               MR. GIULIANI:     The main one is Giuliani Partners.              I
11    mean, Giuliani Communications is a subsidiary.                  And it focuses

12    on the two -- all of the broadcasting that I do.                  Giuliani
13    Safety and Security, for example is a security consulting

14    company.    It really is inactive right now, but we haven't

15    dissolved it.     That used to be very active.              And that gives
16    advice to private companies, individuals, and governments about

17    security.

18               MS. SCHWARTZ:     Now, you brought with you Michael.

19    What's your last name, Michael?

20               MR. RAGUSA:     Ragusa.

21               MS. SCHWARTZ:     Ragusa.

22               MR. RAGUSA:     Uh-huh.

23               MS. SCHWARTZ:     Did Michael Ragusa work for Your

24    Security company?

25               MR. GIULIANI:     No.     No.     Michael works for Giuliani
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                                   RUDOLPH W. GIULIANI

                                                                                        19

 1    Communications.         He does security --

 2               MS. SCHWARTZ:       So he's an employee of Communications?

 3               MR. GIULIANI:       He does security, yes.
 4               MS. SCHWARTZ:       Okay.

 5               MR. GIULIANI:       And he also helps with the broadcast at

 6    night.
 7               MS. SCHWARTZ:       What does he do?

 8               MR. GIULIANI:       He does a lot of the technical work.

 9               MS. SCHWARTZ:       Technical.
10               MR. GIULIANI:       And he's on --
11               MS. SCHWARTZ:       So he's a jack of -- oh, he's on the

12    show too
13               MR. GIULIANI:       Oh, I put everybody on.          Ted is on

14    also.    And Ted is really -- Ted is really the producer.                   But

15    the way it -- it's very informal and we'll sometimes just
16    conduct a panel discussion.            So I'll do a monologue at the

17    beginning.     And then I might say Ted, you were downtown today

18    and you saw the demonstration, what was it like or I'll say to

19    Mike particularly if it's a law enforcement story.                  There was

20    a -- for example, on 86th Street just a short while ago, there

21    was an elderly person who was seriously beaten.                 So I'll cover

22    that probably tonight.         So I would ask Mike to talk about it.

23               MS. SCHWARTZ:       Just for the record, you referenced

24    Ted.    You're pointing over to --

25               MR. GIULIANI:       Ted Goodman.
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 1               MS. SCHWARTZ:       Ted Goodman.       And he's in the room

 2    today.    And why don't you just for the record describe who he

 3    is and how he's related to you or what he does for you?
 4               MR. GIULIANI:       Ted works for Giuliani Communications,

 5    and he's the -- he's the producer of America's Mayor Live.                   He

 6    and I started it together on our own.
 7               MS. SCHWARTZ:       When was that?

 8               MR. GIULIANI:       Over a year ago.         And he's also a guest

 9    host.    If I can't do it, he'll do it, or he'll take over
10    certain portions of it if I have to -- if I have to do
11    something else.         And then he participates in it, as does Mike.

12    But is -- he's been -- he's I don't know how to describe it.
13    He's permanently commenting on the show as well as producing

14    it.

15               MS. SCHWARTZ:       Does he also serve as your
16    spokesperson?

17               MR. GIULIANI:       He does.      He also -- he also -- he also

18    will often make statements for me or for the or for the

19    company.

20               MS. SCHWARTZ:       He's employed through Communications?

21               MR. GIULIANI:       Yes.

22               MS. SCHWARTZ:       Okay.      And then what work is done from

23    Partners?    You said that really Partners and Communications

24    were the main --

25               MR. GIULIANI:       Well, there really is no work being
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 1    done by it right now.

 2               MS. SCHWARTZ:     So there's also Giuliani and Company

 3    and Giuliani Group.       What are -- can you explain what those are
 4    if you can?

 5               MR. GIULIANI:     One of them was used for payroll, and

 6    I'm not sure --
 7               MS. SCHWARTZ:     Is the payroll one World Capital

 8    Payroll?

 9               MR. GIULIANI:     Oh, if we -- yes, yes, World Capital.
10    We used to do a lot of financial consulting, and it would be
11    done by -- I can't remember which one of those two companies

12    would do it.     So you would distinguish between the security
13    consulting and financial consulting, like reorganizing a

14    business or basically figuring out how to get attention for a

15    new product or -- those would all be put under that as opposed
16    to under security.       Security is strictly security work.               You

17    have a license for that.        And you got to be careful as to what

18    you do.

19               MS. SCHWARTZ:     I'm going to ask you -- these are just

20    general questions.       Ask some more questions about those a

21    little bit.

22               MR. GIULIANI:     Yes.

23               MS. SCHWARTZ:     Okay.      Are you married?

24               MR. GIULIANI:     Divorced.

25               MS. SCHWARTZ:     Divorced.      And children?
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 1               MR. GIULIANI:     Two.

 2               MS. SCHWARTZ:     Names?

 3               MR. GIULIANI:     Andrew, Andrew Giuliani.
 4               MS. SCHWARTZ:     Right.

 5               MR. GIULIANI:     And Caroline, C-A-R-O-L-I-N-E,

 6    Giuliani.
 7               MS. SCHWARTZ:     And your ex-wife's name?

 8               MR. GIULIANI:     Their mother is Donna Hanover.

 9               MS. SCHWARTZ:     The children's mother?
10               MR. GIULIANI:     Yeah.      But my ex-wife that I was
11    divorced from a couple years ago is Judith Stish, S-T-I-S-H.

12               MR. GIULIANI:     Okay.      So you have two ex-wives, Donna
13    Hanover and Judith Stish?

14               MR. GIULIANI:     I have three.

15               MS. SCHWARTZ:     You have three ex-wives?           I missed that
16    one.

17               MR. GIULIANI:     A long time ago.

18               MS. SCHWARTZ:     Who was that?

19               MR. GIULIANI:     It was a long time.          Regina, P-E-R --

20    Peruggi, P-E-R-U-G-G-I.

21               MS. SCHWARTZ:     Okay.      I bet your parents were happiest

22    with that one. That's a joke.

23               Okay with respect to any of these ex-wives, do you

24    have support obligations?

25               MR. GIULIANI:     with Judith Stish, I have two.                I have
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 1    a remaining year, this is the last year, of a 5,000-dollar

 2    payment per month.       And I also pay for the nursing home for her

 3    mom.
 4               MS. SCHWARTZ:     And her mom is -- her name is?

 5               MR. GIULIANI:     Joan.

 6               MS. SCHWARTZ:     Joan Stish?
 7               MR. GIULIANI:     Yes.

 8               MS. SCHWARTZ:     Okay.      And is that pursuant to the

 9    divorce settlement?
10               MR. GIULIANI:     Yes.
11               MS. SCHWARTZ:     Okay.      I might ask you some more

12    questions about that a little later.            Okay.     Question, have you
13    filed all of your individual tax returns for the past four

14    years?

15               MR. GIULIANI:     Yes.
16               MS. SCHWARTZ:     And how about the tax returns for all

17    of your businesses the past four years?

18               MR. GIULIANI:     Yes.

19               MS. SCHWARTZ:     Okay.      And I assume you have

20    accountants for that.

21               MR. GIULIANI:     I do.

22               MS. SCHWARTZ:     Okay.      Tell me who your accountants are

23    for the -- for you individually and then also for your company.

24               MR. GIULIANI:     The main accountant right now is Joseph

25    Ricci.
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 1               MS. SCHWARTZ:     Okay.

 2               MR. GIULIANI:     R-I-C-C-I.

 3               MS. SCHWARTZ:     Would that be pronounced Ricci?
 4               MR. BERGER:     Yeah, Ricci.

 5               MR. GIULIANI:     R-I-C-C-I.

 6               MS. SCHWARTZ:     All right.
 7               MR. BERGER:     Ms. Schwartz, and I learned that --

 8               MS. SCHWARTZ:     He's your main accountant?

 9               MR. GIULIANI:     And he -- because he does -- he does
10    both.
11               MS. SCHWARTZ:     He does individual and corporate?

12               MR. GIULIANI:     Yes.
13               MS. SCHWARTZ:     Okay.      But you also -- your records

14    also reflect that you make payments to Mazars.                So you want to

15    explain that to me?
16               MR. GIULIANI:     They aren't.       They were up until -- Joe

17    took over everything about six months ago.                But up until then,

18    they were accountants for me personally as well as they worked

19    on the businesses too, but mostly personally.

20               MS. SCHWARTZ:     And why did you change that?

21               MR. GIULIANI:     Really, expenses.

22               MS. SCHWARTZ:     They were too expensive?

23               MR. GIULIANI:     Yes, and not really not as needed

24    when -- they were really needed when the businesses ere very,

25    very active.     The businesses are I would consider small
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 1    businesses now.         And Joe knows them intimately.

 2               MS. SCHWARTZ:       And Mazars is just a bigger shop and

 3    more expensive?
 4               MR. GIULIANI:       Yeah, sure.

 5               MS. SCHWARTZ:       Is that what?

 6               MR. GIULIANI:       For example, we would have to file
 7    taxes -- sometimes I file tax returns in thirteen or fourteen

 8    states.

 9               MS. SCHWARTZ:       Yeah, that's a lot.
10               MR. GIULIANI:       I don't do that anymore.           So I don't
11    really need a big accounting firm right now.

12               MS. SCHWARTZ:       Okay.      And so Mazars stopped doing
13    you're your -- you personally would have to file?

14               MR. GIULIANI:       Sure, sure.       I gave -- there were

15    several years where I gave a couple hundred speeches in a year
16    in twenty different states.            From the time I left being mayor,

17    I've made 150 foreign trips.            I've been in eighty different

18    countries.     Some require taxes; some don't.              That's why you --

19    I needed a major accounting firm to do that.

20               MS. SCHWARTZ:       Wow.     I didn't realize that.         I didn't

21    realize if you do work in another state, you would have to

22    pay --

23               MR. GIULIANI:       Some states.       Some states.

24               MS. SCHWARTZ:       -- a tax return in another state.

25               MR. GIULIANI:       Like if you went to Texas, you know, or
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 1    California --

 2               MS. SCHWARTZ:     Well, like. For example, let's say I

 3    worked on a case in Texas, but I'm employed here.
 4               MR. GIULIANI:     Yeah, but I -- you probably getting

 5    paid then through your law firm.

 6               MS. SCHWARTZ:     Well, I'm getting paid by you, the
 7    American taxpayer.

 8               MR. GIULIANI:     Well, you --

 9               UNIDENTIFIED SPEAKER:        Touche.
10               MR. GIULIANI:     Well, you wouldn't have to worry.
11    You're being paid by the United States Government.                But if

12    you -- like, a baseball player has to do that.               A baseball
13    player has to file returns in all the states --

14               MS. SCHWARTZ:     They play games.

15               MR. GIULIANI:     -- they play games where there are
16    taxes, separate tax returns.        In fact, that's the -- that's the

17    model that we used when I first realized I had -- I had to do

18    this.

19               MS. SCHWARTZ:     Because of course you're --

20               MR. GIULIANI:     When I do originally had to do it --

21               MS. SCHWARTZ:     -- it's your passion, right?

22               MR. GIULIANI:     -- I had no idea that I had to do that.

23               MS. SCHWARTZ:     Now, what about a bookkeeper?           You have

24    one?

25               MR. GIULIANI:     Yes.
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 1               MS. SCHWARTZ:     And who is that?

 2               MR. GIULIANI:     Ryan,, Ryan Medrano.

 3               MS. SCHWARTZ:     Okay.      And who pays for him?
 4               MR. GIULIANI:     Giuliani Partners pays for him.

 5               MS. SCHWARTZ:     Partners pays for him?

 6               MR. GIULIANI:     Uh-huh.
 7               MS. SCHWARTZ:     And what about the accountant?

 8               MR. GIULIANI:     Same thing.

 9               MS. SCHWARTZ:     Giuliani Partners?
10               MR. GIULIANI:     Yes.
11               MS. SCHWARTZ:     Now, where does Giuliani Partners --

12    Giuliani partners get money?         You just said it's pretty much
13    inactive.

14               MR. GIULIANI:     From Giuliani Communications.

15               MS. SCHWARTZ:     Okay.      So there's kind of --
16               MR. GIULIANI:     Right now --

17               MS. SCHWARTZ:     -- like an intercompany type of --

18               MR. GIULIANI:     Correct.

19               MS. SCHWARTZ:     -- cash management system?

20               MR. GIULIANI:     Yes.

21               MS. SCHWARTZ:     Okay.      Are there any other employees of

22    Giuliani Partners besides you?          Are you an employee of --

23               MR. GIULIANI:     Yes.

24               MS. SCHWARTZ:     Okay.      You and Ryan.

25               MR. GIULIANI:     And Maria Ryan, Ryan Medrano.
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 1               MS. SCHWARTZ:     No.     Maria Ryan is Communications.

 2    Isn't she your cohost?

 3               MR. GIULIANI:     Yes.
 4               MS. SCHWARTZ:     So you said she was Communications.

 5               MR. GIULIANI:     I consider them all one.           So it's hard

 6    for me to remember exactly who.
 7               MS. SCHWARTZ:     I guess we can get that --

 8               MR. GIULIANI:     Yeah.

 9               MS. SCHWARTZ:     We can get that precise information
10    from Mr. Ricci, right?
11               MR. GIULIANI:     Yes.

12               MS. SCHWARTZ:     He'll have all of that.
13               MR. GIULIANI:     The employees now would be all the

14    people we just mentioned:          myself, Dr. Ryan, Ryan Medrano, Ted

15    Goodman, Mike -- Joe Richie we pay.             He's not an employee.
16    He's a contractor.

17               MS. SCHWARTZ:     Well, he's a professional.

18               MR. GIULIANI:     Yeah.

19               MS. SCHWARTZ:     Right?     Okay.     And then of course

20    lawyers --

21               MR. GIULIANI:     Yes.

22               MS. SCHWARTZ:     -- which we'll get to that.

23               MR. GIULIANI:     When needed, right.

24               MS. SCHWARTZ:     Okay.      So next I'd like to have you

25    verify documents --
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 1               MR. GIULIANI:     Sure.

 2               MS. SCHWARTZ:     -- that were filed under penalty of

 3    perjury and signed by you --
 4               MR. GIULIANI:     Yes.

 5               MS. SCHWARTZ:     -- regarding your disclosures.

 6               MR. GIULIANI:     Okay.
 7               MS. SCHWARTZ:     Now it's going to take a few minutes to

 8    do it because there were a lot -- as I said, there were a lot

 9    of amendments.      So why don't we start with the bankruptcy
10    petition?    Would you like me to provide -- would you like me to
11    provide Mr. Giuliani with a copy or it'll be easier --

12               MR. BERGER:     We have --
13               MS. SCHWARTZ:     You have everything?

14               MR. BERGER:     We have everything.

15               MS. SCHWARTZ:     Okay.      Great.    That'll save me from
16    taking out --

17               MR. GIULIANI:     That's what I have in front of me.

18               MR. BERGER:     That's what you have in front of you.

19               MR. GIULIANI:     Okay.

20               MS. SCHWARTZ:     Okay.      Mr. Giuliani, take a look at

21    this document.      It's official form 101, voluntary petition for

22    individuals filing for bankruptcy.           Do you recognize it?

23               MR. GIULIANI:     I do.

24               MS. SCHWARTZ:     And how do you come to recognize it?

25               MR. GIULIANI:     Well, this is the petition that I filed
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 1    back in -- I guess we initiated in December.

 2               MS. SCHWARTZ:     Okay.      And I'd like you to take a look

 3    at page 6 of that document, please.
 4               MR. GIULIANI:     Yes.

 5               MS. SCHWARTZ:     Okay.      Is that your signature on the

 6    bottom?
 7               MR. GIULIANI:     Yes it is.

 8               MS. SCHWARTZ:     Okay.      And before you signed this

 9    document, did you read it carefully to make sure that it was
10    accurate?
11               MR. GIULIANI:     Yes.

12               MS. SCHWARTZ:     And were you the person that provided
13    the information that's contained here?

14               MR. GIULIANI:     Or some of the people that I just

15    mentioned like Ryan Medrano or          Joe or would have --
16               MS. SCHWARTZ:     Your financial --

17               MR. GIULIANI:     Yes.

18               MS. SCHWARTZ:     -- accountants and bookkeepers?

19               MR. GIULIANI:     Yeah.      I mean, I -- some of this --

20    some of this would come from my knowledge.                Some of it would

21    come from theirs.

22               MS. SCHWARTZ:     Okay.      And then you reviewed it to make

23    sure --

24               MR. GIULIANI:     Correct, that it looked --

25               MS. SCHWARTZ:     -- that it was --
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 1               MR. GIULIANI:     -- accurate to me.

 2               MS. SCHWARTZ:     -- accurate, right?          Okay.    Okay.     As

 3    we sit here today, is there anything that you think needs to be
 4    changed?

 5               MR. GIULIANI:     Not that I know of.

 6               MS. SCHWARTZ:     Okay.      I want to mention something to
 7    you about changes to things.          In the bankruptcy -- under the

 8    Bankruptcy Code, the debtor, and that's your title here --

 9               MR. GIULIANI:     Uh-huh, y es.
10               MS. SCHWARTZ:     -- is entitled to make changes and
11    amendments all the way up until confirmation of a plan.                    So

12    it's to encourage you that if you learn that, you know, you
13    made a mistake or you didn't add this in, or you had this

14    creditor and you forgot that creditor, you have an opportunity

15    to make those amendments.          So the notion is that you should be
16    forthcoming with your counsel to let them know, okay?

17               MR. GIULIANI:     I will.

18               MS. SCHWARTZ:     I also want to wanted to mention, you

19    know, and we kind of joked about it, but you're not unfamiliar

20    to this bankruptcy process, are you?

21               MR. GIULIANI:     No.     It's a long time ago, but no, I'm

22    no.

23               MS. SCHWARTZ:     It was a long time ago that you served

24    as the receiver --

25               MR. GIULIANI:     CORRECT.
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 1               MS. SCHWARTZ:     -- under the old Bankruptcy Act.

 2               MR. GIULIANI:     Yes.

 3               MS. SCHWARTZ:     In that AMANX case, right?
 4               MR. GIULIANI:     Correct, for several years.            Yeah.

 5               MS. SCHWARTZ:     Right.     So you would know the

 6    importance of transparency in bankruptcy?
 7               MR. GIULIANI:     Absolutely.

 8               MS. SCHWARTZ:     Okay.      And I -- and I appreciate that.

 9    That's often a major issue that we have to pursue.
10               MR. GIULIANI:     I appreciate it.
11               MS. SCHWARTZ:     Okay.      So let's take a look now at your

12    schedules.     Your schedules were filed in separate parts, your
13    schedules of assets and liabilities.            I'd like to go, if you

14    wouldn't mind, Heath, I'd like to go from the beginning of the

15    schedules, starting with A/B.
16               MR. BERGER:     Okay.     You got it.

17               MS. SCHWARTZ:     But before we do that, there's a

18    declaration that was filed at docket number 72, the declaration

19    about an individual debtors schedules.             Do you have that?

20               MR. BERGER:     I'm sure I do.

21               MS. SCHWARTZ:     I have a copy if you don't but --

22               MR. BERGER:     I got it.

23               MS. SCHWARTZ:     Okay.      Would you show that to Mr.

24    Giuliani?

25               Mr. Giuliani, have you ever seen this before?
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 1               MR. GIULIANI:     Yes, I have.

 2               MS. SCHWARTZ:     And what is it?

 3               MR. GIULIANI:     This is a declaration about the
 4    individual -- my schedules, individual debtor schedules.

 5               MS. SCHWARTZ:     And this declaration basically says

 6    that you're signing them to the veracity of the best of your
 7    knowledge under penalty of perjury.             Is that right?

 8               MR. GIULIANI:     That is correct.

 9               MS. SCHWARTZ:     Okay.      And that's your signature,
10    right?
11               MR. GIULIANI:     It is.

12               MS. SCHWARTZ:     And before you sign this document, you
13    read over all those schedules to make sure that the information

14    was accurate and correct.        Is that right?

15               MR. GIULIANI:     Yes, I did with my lawyers.
16               MS. SCHWARTZ:     Okay.      Good.    Okay.    Now I'm going

17    to -- I just want to go over these schedules with you.                     Okay?

18    I want you to take a look at -- why don't you show Mr. Giuliani

19    all the schedules and the amended ones?

20               MR. BERGER:     I actually have it set that the amended

21    ones have replaced the original ones.

22               MS. SCHWARTZ:     Oh, you replaced the original ones?

23               MR. BERGER:     I figured this way it was completer,

24    yeah, in my --

25               MS. SCHWARTZ:     Well, he has to actually verify the
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 1    initial and the amended.        He doesn't have that?          I do.

 2               MR. BERGER:     You do.      Okay.

 3               MS. SCHWARTZ:     Okay.      Good.   So that works out.          You
 4    have some things, and I have the others.              Okay.

 5               Mr. Giuliani, I'm going to give you a compilation of

 6    papers.
 7               MR. GIULIANI:     Okay.

 8               MS. SCHWARTZ:     I'm going to give you what are your

 9    schedules of assets and liabilities.            As I stated, they were
10    filed in separate pieces.        They're generally your schedules
11    from letter A through letter J.          Your lawyers filed your

12    schedules, certain schedules, and I'll state them on the record
13    which ones were amended.        But I'm going to give you all those

14    copies of those schedules.        And take your time, look it over,

15    and make sure -- and Mr. Berger can point you to it.                 But I've
16    marked them which were the initials and which were the amended

17    ones and so forth.       And you let me know, sir, whether or not

18    you've seen them.       So that's your schedule D and E and F.

19               MR. GIULIANI:     Schedule D and E and F, yep.

20               MS. SCHWARTZ:     Okay.      And that was amended, right?

21               MR. BERGER:     Correct.

22               MS. SCHWARTZ:     On the next one.

23               MR. GIULIANI:     Ah-ha, yes, okay.

24               MS. SCHWARTZ:     If you keep going, you'll see.                Keep

25    going.    Keep going.
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 1               MR. BERGER:      Keep going.      One more.

 2               MS. SCHWARTZ:      There it is.

 3               MR. GIULIANI:      Okay.
 4               MS. SCHWARTZ:      So it's the same, but it has changes to

 5    it, right?

 6               MR. GIULIANI:      Yes.
 7               MS. SCHWARTZ:      Okay.      And you authorize the filing of

 8    those changes?

 9               MR. GIULIANI:      I did.     Yeah.
10               MS. SCHWARTZ:      Okay.      And you read all of that
11    carefully?

12               MR. GIULIANI:      I did.
13               MS. SCHWARTZ:      Heath, I think what you will have to do

14    is file another declaration because you do need a declaration,

15    not yours, but a declaration of Mr. Giuliani as to the veracity
16    of the amended schedule that you filed.

17               MR. BERGER:      Okay.     I think I have it in the office.

18    They didn't upload it.

19               MS. SCHWARTZ:      Okay.      Thank you.

20               That all looks correct to you, Mr. Giuliani?

21               MR. GIULIANI:      Yeah, it does.        Yes, it does.

22               MS. SCHWARTZ:      Okay.      All right.        There's some more

23    schedules there.        Let's see.     Those are your A, B and C

24    schedules.     And I and J -- well, I might have -- I might have

25    that separately.        What do you have?        What does that go up to
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 1    there?

 2               MR. BERGER:     This is J.

 3               MS. SCHWARTZ:     Does that go up to --
 4               MR. BERGER:     This is A and B.

 5               MR. GIULIANI:     I think this is A/B and C.

 6               MS. SCHWARTZ:     Okay.
 7               MR. BERGER:     And then I have I and J I think after it.

 8               MS. SCHWARTZ:     After it.

 9               MR. GIULIANI:     And I and J is next.          Yep.
10               MS. SCHWARTZ:     There you go.
11               MR. GIULIANI:     And it says income and expense.

12               MS. SCHWARTZ:     Correct.      Schedule I or is your income
13    and J is your -- okay.       And I and you did not file an amendment

14    to that correct, correct?

15               MR. GIULIANI:     Correct, no.
16               MS. SCHWARTZ:     Okay.      So you authorized all of those

17    documents?

18               MR. GIULIANI:     I did.

19               MS. SCHWARTZ:     And the declaration that you signed is

20    that all the information is correct to the best of your

21    knowledge, right?

22               MR. GIULIANI:     That's correct.

23               MS. SCHWARTZ:     Okay.      Good.   All right.      Let's go then

24    to your schedules of -- not your schedules, your statement of

25    financial affairs.       Can I have that one back or do you need to
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 1    hold on to that?        Why don't you hold on to those?           Because I

 2    might have some specific questions there.

 3               MR. GIULIANI:      Okay.
 4               MS. SCHWARTZ:      And then you're going to have them

 5    right in front of you.

 6               MR. BERGER:      Okay.     You want the SOFA though?
 7               MS. SCHWARTZ:      Yes, please.

 8               MR. BERGER:      Okay.

 9               MS. SCHWARTZ:      Okay.      And I'm showing you a document
10    that is official form 107.
11               MR. GIULIANI:      Got it.

12               MS. SCHWARTZ:      It's the statement of financial affairs
13    for individuals filing for bankruptcy.              Do you recognize that

14    document?

15               MR. GIULIANI:      I do.
16               MS. SCHWARTZ:      And what is it?

17               MR. GIULIANI:      This is a official form 107, and it's a

18    statement of my financial affairs.

19               MS. SCHWARTZ:      Okay.      And I want you to take a look

20    through it and see if you -- if that's the that's -- you

21    provided this information.          Is that right?

22               MR. GIULIANI:      Yes.

23               MS. SCHWARTZ:      Okay.

24               UNIDENTIFIED SPEAKER:         Or people that are --

25               MR. GIULIANI:      Or people that I asked,           you know, like
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 1    accountants or --

 2               MS. SCHWARTZ:     Well, we only have two other people.

 3    We have Ryan and Joe.
 4               MR. GIULIANI:     Yeah, they would be the ones that would

 5    provide this information.

 6               MS. SCHWARTZ:     Okay.      And on the last page there, Mr.
 7    Giuliani, that's your signature; is that right?                That would be

 8    page 8.

 9               MR. GIULIANI:     That's my signature.
10               MS. SCHWARTZ:     Okay.      And before you signed it, you
11    read it carefully?

12               MR. GIULIANI:     I did.
13               MS. SCHWARTZ:     You made sure that everything was

14    accurate?

15               MR. GIULIANI:     I did.
16               MS. SCHWARTZ:     And as we sit here today, I believe

17    that you filed an amended statement of financial affairs.                  So

18    do you have a copy of that, Mr. Berger?

19               MR. BERGER:     Yeah, the one I have --

20               MS. SCHWARTZ:     Okay.

21               MR. BERGER:     -- the amended one.

22               MS. SCHWARTZ:     Oh, you gave him the -- you also gave

23    him the amended one?

24               MR. BERGER:     I did, yes.

25               UNIDENTIFIED SPEAKER:        He gave him only the amended
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 1    one

 2               MR. BERGER:     He has the one -- the amended.

 3               MS. SCHWARTZ:     Okay.      I'm going to show you the
 4    initial one then too.

 5               MR. GIULIANI:     Oh, so that's the one I just

 6    identified?
 7               MR. BERGER:     Yes.

 8               MS. SCHWARTZ:     You identified the amended one.

 9               MR. GIULIANI:     Yep, I got you.
10               MR. BERGER:     sorry about that.
11               MS. SCHWARTZ:     But I'm going to show you the initial

12    one too.
13               MR. GIULIANI:     This is the original one?

14               MS. SCHWARTZ:     Right.     It's a little bit -- it's a

15    little -- it's not that it's difficult.             It's just a little
16    cumbersome.

17               MR. GIULIANI:     Yeah.

18               MS. SCHWARTZ:     And you look at the last page there and

19    tell me if that's your signature.

20               MR. GIULIANI:     That's my signature.

21               MS. SCHWARTZ:     Okay.      So you authorized the filing of

22    both of these I did?

23               MR. GIULIANI:     I did.

24               MS. SCHWARTZ:     Okay.      All right.        I'll hold on to that

25    one.   Keep it with me, all right?          And what else do I have here
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 1    that I wanted you -- I want to I want you to verify one more

 2    document for me, okay?

 3               MR. GIULIANI:      Uh-huh, yes.
 4               MS. SCHWARTZ:      Oh, well, first of all, this is your

 5    declaration.     Could you show him his declaration about -- oh,

 6    no, I have that.        That's the schedules.        Yeah, yeah.      Let me
 7    see here.    Hold on one second.

 8               Did you bring a copy of his original 1007 affidavit?

 9               MR. BERGER:      Give me a second.
10               MS. SCHWARTZ:      It's okay.      Nobody is rushing you.
11               MR. BERGER:      I don't see it.

12               MS. SCHWARTZ:      I have it.
13               MR. GIULIANI:      Thank you.

14               MS. SCHWARTZ:      Why don't you take a look at it and see

15    if it's appropriate?        And then you can show it to Mr. Giuliani.
16               MR. BERGER:      Yes.

17               MS. SCHWARTZ:      Okay.      Mr. Giuliani?

18               MR. GIULIANI:      Yes.

19               MS. SCHWARTZ:      Would you kindly take a look at that

20    document and tell me whether or not you recognize that?                     You

21    could take your time and read it.

22               MR. GIULIANI:      Yes.    No, I remember this.

23               MS. SCHWARTZ:      And what do you understand this to be?

24               MR. GIULIANI:      this is an affidavit of my intention of

25    declaring of bankruptcy and the reason -- the reason for it.
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 1               MS. SCHWARTZ:     Okay.      All right.        And you signed that

 2    document, right?

 3               MR. GIULIANI:     And I signed that in, yes, December
 4    21st.

 5               MS. SCHWARTZ:     Okay.      And that document basically

 6    answers some questions from the bankruptcy rules --
 7               MR. GIULIANI:     Yes.

 8               MS. SCHWARTZ:     -- that you were required to.             Okay.

 9    Okay.   I think that's all the documents.             Thank you for doing
10    that.
11               So tell me, have you ever filed for bankruptcy before?

12               MR. GIULIANI:     No, I have not.
13               MS. SCHWARTZ:     Have you ever put any company into

14    bankruptcy before?

15               MR. GIULIANI:     No.     My only experience with it is the
16    one we mentioned.

17               MS. SCHWARTZ:     Right.     So -- but you have that

18    familiar -- just for the record, why don't you describe what

19    that experience was.

20               MR. GIULIANI:     I was appointed as a receiver of a

21    company that had defrauded by people who took it over to use it

22    for limited tax partnerships, really for tax evasion.                  And I to

23    describe it simply, they -- they had sold the company about

24    four times.     The company itself was an operating coal company

25    that on a cash basis made a profit.            But when you laid upon it
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 1    all the debt that these people had used and using it for

 2    limited -- for tax partnerships, it -- it probably technically

 3    owed four times more than it made.          So I was appointed --
 4    really I was appointed for my ability to investigate and sue to

 5    try to get the money back that had been stolen from the

 6    company.    But it was still an operating coal company, so I had
 7    to operate it.      So I had to hire people.         And I lived in

 8    Kentucky for a while and ran the company.

 9               MS. SCHWARTZ:     And then there was a point in time when
10    that company filed for bankruptcy?
11               MR. GIULIANI:     Well, the company filed for bankruptcy.

12    And the SEC required it to get a receiver because the SEC said
13    the only way out of the bankruptcy is to recover some of the

14    money that had been stolen.

15               MS. SCHWARTZ:     Right.
16               MR. GIULIANI:     That's why I was appointed as a

17    receiver by the court and by -- on the recommendation --

18               MS. SCHWARTZ:     By the Southern District Court, right?

19               MR. GIULIANI:     Southern District of New          York.

20               MS. SCHWARTZ:     Judge McMahon?

21               MR. GIULIANI:     Judge McMahon.

22               MS. SCHWARTZ:     Right.     And you were before Judge

23    Luidis (ph.), bankruptcy judge?

24               MR. GIULIANI:     Judge Luidis handled the whole -- yes,

25    from beginning to end.
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 1               MS. SCHWARTZ:      Right.     So -- and it was under the

 2    former Bankruptcy Act.        So you were like the equivalent of a

 3    trustee.    It was called a receiver back in the day, right?
 4               MR. GIULIANI:      Yeah, right.       It was a strange title,

 5    but yes, receiver.

 6               MS. SCHWARTZ:      Right.     So you were the --
 7               MR. GIULIANI:      I felt like I was playing football.

 8               MS. SCHWARTZ:      You were -- you wish you were playing

 9    football.    So you were the independent fiduciary, right?
10               MR. GIULIANI:      Yes.    And as I said, the main purpose
11    of my appointment was to sue to get the money back.

12               MS. SCHWARTZ:      Right.
13               MR. GIULIANI:      But all of a sudden, I was appointed.

14    Never forget it.        It was on Good Friday.         And I got a call from

15    Hazard, Kentucky saying are we going to meet our payroll today.
16    And I said what payroll.

17               MS. SCHWARTZ:      Yeah.

18               MR. GIULIANI:      And they said, well, you have all these

19    employees.     I said, oh my gosh, what -- how do I do that?

20               MS. SCHWARTZ:      Sounds like bankruptcy.

21               MR. GIULIANI:      Yeah.      And then -- and then I had a

22    partner in my law firm who had been a general counsel to an oil

23    company, and I said that was the closest thing to coal.

24               MS. SCHWARTZ:      Right.

25               MR. GIULIANI:      So I took him and a young fellow.             And
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 1    we went down there.       And it was a great experience.             I ran the

 2    company.    But I hired experts to help me with it.

 3               MS. SCHWARTZ:     Right, of course.
 4               MR. GIULIANI:     And then also I brought the lawsuits to

 5    separate --

 6               MS. SCHWARTZ:     Yeah.
 7               MR. GIULIANI:     And I had -- it was -- we had a plan

 8    together, and it was approved, but I had to leave before it was

 9    final because I became Associate Attorney General of the United
10    States.
11               MS. SCHWARTZ:     Right.

12               MR. GIULIANI:     And Michael Mukasey took over for me.
13               MS. SCHWARTZ:     Oh, he did?

14               MR. GIULIANI:     Later became the chief judge in the

15    Southern District.       And he finished it.
16               MS. SCHWARTZ:     I know who he is.            I know him

17    personally.     Okay.

18               MR. GIULIANI:     He was my law partner.

19               MS. SCHWARTZ:     Okay.      And was -- this is Patterson

20    Belknap?

21               MR. GIULIANI:     Patterson, Belknap, Webb & Tyler.

22               MS. SCHWARTZ:     Okay.      Okay.   So in your own words,

23    would you tell me what led you to file for bankruptcy?

24               MR. GIULIANI:     The 150 or so million-dollar judgment

25    that was obtained in the Court in the District of Columbia.
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 1    Otherwise, I couldn't file for bankruptcy.                I wouldn't be

 2    entitled to.     I'm not -- I wouldn't be bankrupt other than for

 3    that.
 4               MS. SCHWARTZ:     Yeah.      Well, let me ask you about that,

 5    you know, because some of the disclosures on the schedules

 6    indicate that you owe income tax --
 7               MR. GIULIANI:     Correct.

 8               MS. SCHWARTZ:     -- from 2021, all going all the way

 9    back to 2021.
10               MR. GIULIANI:       Correct.
11               MS. SCHWARTZ:     So were you starting to experience

12    financial difficulties then or --
13               MR. GIULIANI:     Yeah, but I was -- I was -- I made an

14    arrangement with them and I'm paying them per month.                 And the

15    idea, I'm going to sell my apartment, and when I sell my
16    apartment, I was going to use the cash for that to make one

17    lump sum payment.       And then of course, the bankruptcy

18    intervened.     But I was in the process of doing that.              I've had

19    about eight or ten people who have come and looked at it.                  But

20    I haven't yet gotten an offer, but people are still looking at

21    it.

22               MS. SCHWARTZ:     So when did you make that agreement

23    with the IRS?

24               MR. GIULIANI:     Maybe in September.

25               MS. SCHWARTZ:     Of this year?
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 1               MR. GIULIANI:       Of last year.

 2               MS. SCHWARTZ:       Of 2023?

 3               MR. GIULIANI:       Yeah, maybe before, a little before
 4    that.

 5               MS. SCHWARTZ:       So this -- but the income tax is owed

 6    from 2021 and 2022.
 7               MR. GIULIANI:       We probably made the agreement earlier

 8    than that then.         I'd have to check with -- with Joe and find

 9    out exactly when.
10               MS. SCHWARTZ:       But I guess the question is, what
11    happened that you couldn't pay the income tax?

12               MR. GIULIANI:       I didn't have enough cash.           I didn't
13    have enough -- I didn't have enough cash to pay the income tax.

14    The only way I could have done it would be to wipe out the

15    IRAs.   And instead, I made the agreement with them to sell the
16    apartment and use the money from the apartment.

17               MS. SCHWARTZ:       And when you say you --

18               MR. GIULIANI:       I mean, I could technically do that,

19    but then I would --

20               MS. SCHWARTZ:       I understand.       I got -- I understood

21    that.

22               MR. GIULIANI:       -- double taxation and --

23               MS. SCHWARTZ:       Yeah.

24               MR. GIULIANI:       I thought that would be crazy.

25               MS. SCHWARTZ:       I understand that.          But I guess what
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 1    I'm saying is, like, were you employed?             Did you lose

 2    employment?

 3               MR. GIULIANI:     Oh, sure, yes.
 4               MS. SCHWARTZ:     Like, what -- well, can you explain

 5    that to me?     That's what I'm saying.

 6               MR. GIULIANI:     Oh, sure, sure, sure.          I was --
 7               MS. SCHWARTZ:     And we're at 2021.

 8               MR. GIULIANI:     Okay.      I've got to get the dates right.

 9    So I left -- I left my law firm.           Oh, (indiscernible) 2019.
10               MS. SCHWARTZ:     Which law firm was that?
11               MR. GIULIANI:     Well, originally it was -- it was.

12               MS. SCHWARTZ:     Bracewell Giuliani.
13               MR. GIULIANI:     Yeah.      I'm trying to get the right

14    dates now.     Bracewell Giuliani was the -- was the first law

15    firm that I was with.       And I was with them for ten --
16               MS. SCHWARTZ:     Well, wasn't the first.           You were at

17    Patterson Belknap way back in the day.

18               MR. GIULIANI:     Well, yeah.       I mean, since I'd been

19    mayor.    Right.

20               MS. SCHWARTZ:     Okay.      Right okay.

21               MR. GIULIANI:     And I was with them from 2005 or so to

22    about 2014 or 2015.

23               MS. SCHWARTZ:     Okay.

24               MR. GIULIANI:     Do we have a schedule of the dates of

25    this so that I --
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 1               MR. BERGER:     I don't have that, no.          Your employment,

 2    no.

 3               UNIDENTIFIED SPEAKER:        Do you know where you went
 4    after Bracewell & Guiliani?

 5               MR. GIULIANI:     Yeah.

 6               UNIDENTIFIED SPEAKER:        You don't know the date?
 7               MR. GIULIANI:     I don't know the date because I was

 8    there for an interim period.         And then I started my own law

 9    firm.   And I'm having trouble with the amount of time for each.
10               MS. SCHWARTZ:     It's all right.        Your own law firm.
11    Under what was it called?

12               MR. GIULIANI:     Law Offices of Rudolph Giuliani.
13               MS. SCHWARTZ:     Oh, okay.

14               MR. GIULIANI:     And that was at 445.

15               MS. SCHWARTZ:     That was at 445?
16               MR. GIULIANI:     445 Park Avenue.

17               MS. SCHWARTZ:     Oh, okay.      You didn't say the rest of

18    the address.

19               MR. GIULIANI:     I know.

20               MS. SCHWARTZ:     Okay.      Okay.

21               MR. GIULIANI:     So for the law firm I'm thinking about

22    that -- the final law firm I was with that I left or wasn't

23    able to practice with anymore was the law offices of Rudolph

24    Giuliani because I was suspended in -- it would have had to

25    have been 2001.
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 1               MS. SCHWARTZ:     Okay.

 2               UNIDENTIFIED SPEAKER:        '21.

 3               MS. SCHWARTZ:     2021?
 4               MR. GIULIANI:     2021, yeah.        2021.

 5               MS. SCHWARTZ:     Okay.      So --

 6               MR. GIULIANI:     I mean, I --
 7               MS. SCHWARTZ:     You couldn't practice law.

 8               MR. GIULIANI:     I couldn't practice law any longer.

 9               MS. SCHWARTZ:     But then --
10               MR. GIULIANI:     I had to give up the clients that I --
11    that I -- that I had.       So that was a major financial hit.             And

12    then from the time I began representing President Trump,
13    basically I was really asked to leave my law firm because some

14    of the clients of the law firm put pressure on them that one of

15    their major partners was representing Donald Trump,
16    particularly Zuckerberg's company.

17               MS. SCHWARTZ:     I'm sorry, I didn't a one hundred

18    percent follow that.       Your law firm was the law office of Rudy

19    Giuliani, Rudolph Giuliani.

20               MR. GIULIANI:     Well, I'm going back to -- I've got the

21    dates unfortunately confused.

22               MS. SCHWARTZ:     All right.      Well, let's --

23               MR. GIULIANI:     Do we have a list here someplace of my

24    employment?

25               UNIDENTIFIED SPEAKER:        We don't have that.         No, we
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 1    don't have that.

 2               MS. SCHWARTZ:     It's all right.        So you were -- at some

 3    point in time, you formed this -- your own law firm?
 4               MR. GIULIANI:     I did.

 5               MS. SCHWARTZ:     And that was after you were at

 6    Bracewell Giuliani.       Is that right?
 7               MR. GIULIANI:     Yes.

 8               MS. SCHWARTZ:     Okay.      And that was called the Law

 9    Offices of Rudolph Giuliani?
10               MR. GIULIANI:     Right.
11               MS. SCHWARTZ:     And there were other lawyers there, not

12    just you?
13               MR. GIULIANI:     No.     It was basically just me.

14               MS. SCHWARTZ:     Okay.      And that you said you -- and

15    that was at 445 Park?
16               MR. GIULIANI:     Correct.

17               MS. SCHWARTZ:     And you testified that you stopped --

18    you had to stop representing your clients in 2021 because you

19    had been suspended.

20               MR. GIULIANI:     Yes.

21               MS. SCHWARTZ:     That's right.        Did I get that correct?

22               MR. GIULIANI:     That's absolutely correct.

23               MS. SCHWARTZ:     Okay.      And then there came a point in

24    time where you -- when were at the law offices of Rudolph

25    Giuliani, were you also representing Mr. Trump at that time?
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 1               MR. GIULIANI:     I was, yeah.

 2               MS. SCHWARTZ:     Okay.

 3               MR. GIULIANI:     And a number of other clients.
 4               MR. GIULIANI:     A number of other clients.

 5               MS. SCHWARTZ:     And is that when -- and at that time,

 6    were you -- you know, were you working for paid for by the
 7    government or were you paid by Mr. Trump individually?

 8               MR. GIULIANI:     I wasn't -- I wasn't paid.

 9               MS. SCHWARTZ:     Okay.      So why don't you explain to
10    me --
11               MR. GIULIANI:     I offered to represent him pro bono.

12               MS. SCHWARTZ:     Oh, okay.      That was at the beginning of
13    your relationship?

14               MR. GIULIANI:     Oh, here's what I didn't do.            In

15    between is Greenberg Traurig.
16               MS. SCHWARTZ:     Okay.

17               MR. GIULIANI:     So unfortunately I don't have --

18               MS. SCHWARTZ:     So there's Bracewell then Greenberg.

19               MR. GIULIANI:     Bracewell Giuliani from 2005 until

20    approximately, and we'll get the exact date, 2014.

21               MS. SCHWARTZ:     Okay.

22               MR. GIULIANI:     I was a partner there.

23               MS. SCHWARTZ:     Okay.

24               MR. GIULIANI:     Then I went to Greenberg Traurig from

25    approximately 2014 until about -- it had to be 2013 I went
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 1    to -- 2014.

 2               MR. BERGER:      I'm sorry.      I thought you were back --

 3    one year --
 4               MS. SCHWARTZ:      We're good.       Go ahead.

 5               MR. GIULIANI:      Because I was I was at Greenberg for

 6    three years.     And I left in -- I left in -- it was after the
 7    election.

 8               MR. BERGER:      2017?

 9               MR. GIULIANI:      2017.
10               MS. SCHWARTZ:      Okay.      You left in 2017.
11               MR. GIULIANI:      And that's --

12               MS. SCHWARTZ:      That's when you started your own law
13    firm?

14               MR. GIULIANI:      -- what I was referring to law firm in

15    which there was a great deal of pressure for me to either give
16    up representing Trump or leave the -- leave the law firm --

17               MS. SCHWARTZ:      So you started representing him --

18               MR. GIULIANI:      -- from their clients.

19               MS. SCHWARTZ:      -- when you were at Greenberg?

20               MR. GIULIANI:      I did.     I began representing him --

21    well, first what        -- first, I took a leave of absence in 2016

22    from Greenberg Traurig for four months to campaign with him.                I

23    don't know what my title would be, but I was kind of with him

24    twenty-four hours a day.

25               MS. SCHWARTZ:      Were you paid for that?
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 1               MR. GIULIANI:     No. That was --

 2               MS. SCHWARTZ:     You did that for free?

 3               MR. GIULIANI:     Yes, as a campaign --
 4               MS. SCHWARTZ:     A volunteer.

 5               MR. GIULIANI:     Campaign volunteer.

 6               MS. SCHWARTZ:     And you were like an advisor to him?
 7               MR. GIULIANI:     Yeah, one of his, you know, two or

 8    three top advisors.       Right.

 9               MS. SCHWARTZ:     Oh, you were top advisor?            Okay.
10               MR. GIULIANI:     And I was with him.           My major mission
11    was to be with him on almost all of his trips and sort of --

12    sort of act as a funnel for all of the information that was
13    coming in, speechwriting.          And   I did that from and traveled

14    with him.    So I had to leave the law firm in order to do that.

15               MS. SCHWARTZ:     Okay.       So you took a leave of absence.
16               MR. GIULIANI:     So that was about May.            That'd be about

17    May of 2016 until the election in November.

18               MS. SCHWARTZ:     Okay.

19               MR. GIULIANI:     The last -- the last two weeks or three

20    weeks of the campaign, I formed my -- within the campaign, I

21    formed my own group.       And we got an airplane and we flew around

22    and campaigned for him separately.            But up until then, we were

23    virtually together for four straight months.

24               MS. SCHWARTZ:     Okay.       And when you formed your own

25    group, what does that mean?
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 1               MR. GIULIANI:     Well, that was just -- that was just

 2    within the campaign so that we could -- we could maximize the

 3    number of people that were --
 4               MS. SCHWARTZ:     Oh, reaching places.

 5               MR. GIULIANI:     Yeah.

 6               MS. SCHWARTZ:     Okay.
 7               MR. GIULIANI:     So I would I would have a group and

 8    Donald Trump Jr. would have a group.            And --

 9               MS. SCHWARTZ:     And that was all paid for by --
10               MR. GIULIANI:     That was all paid for by the Trump
11    campaign and --

12               MS. SCHWARTZ:     But you didn't get a salary or
13    anything?

14               MR. GIULIANI:     I did not.

15               MS. SCHWARTZ:     Okay.      But the expenses were paid for
16    by the -- all the Trump campaign staff?

17               MR. GIULIANI:     Yes, correct.

18               MS. SCHWARTZ:     Okay.

19               MR. GIULIANI:     And at the time, up until from the time

20    he announced his running for president until about April or May

21    of 2016, I remained at the law firm because it was all part

22    time, and I was advising him part time.             But then when I was

23    going to be with him virtually permanently, I took a leave of

24    absence from the firm.       And then I came back after -- the day

25    after the election was over.         And then sometime in -- I left
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 1    Greenberg permanently sometime in 2016 when there was all of

 2    this pressure to make a choice between representing him and --

 3    or leaving the law firm.        And I was representing --
 4               MS. SCHWARTZ:     Or staying at the firm.

 5               MR. GIULIANI:     Yeah.      Or staying at the firm.            Well, I

 6    was representing on the impeachment.            So the first -- the first
 7    engagement with President Trump was being a campaign advisor.

 8               MS. SCHWARTZ:     Okay.

 9               MR. GIULIANI:     Election --
10               MS. SCHWARTZ:     A top you said.
11               MR. GIULIANI:     Well, yeah.

12               MS. SCHWARTZ:     Top campaign advisor.          Okay.
13               MR. GIULIANI:     Then I went back to Greenberg.                And

14    then in --

15               MS. SCHWARTZ:     2016.
16               MR. GIULIANI:     -- 2017, in 2018 --

17               MS. SCHWARTZ:     Yeah.

18               MR. GIULIANI:     -- President Trump asked me to

19    represent him on the impeachment.           I replaced -- I replaced

20    John Dowd who was -- who was the chief litigator on the

21    impeachment team.

22               MS. SCHWARTZ:     Now, at that point in time, did you

23    have, like, a formal engagement with the president?

24               MR. GIULIANI:     No, it was informal.          I did it pro

25    bono.
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 1               MS. SCHWARTZ:     So informal is different than pro bono.

 2    Pro bono is an agreement.          You're not going to get paid.

 3               MR. GIULIANI:     Well, there was an agreement at that
 4    point that I wouldn't be paid.          Yes.

 5               MS. SCHWARTZ:     That you would not --

 6               MR. GIULIANI:     Would not be.
 7               MS. SCHWARTZ:     Okay.      So you --

 8               MR. GIULIANI:     It changes later.            But at that point --

 9               MS. SCHWARTZ:     Okay.      Well, that's why I'm trying to
10    be precise.
11               MR. GIULIANI:     Yeah.

12               MS. SCHWARTZ:     So this is a pro bono engagement on the
13    impeachment?

14               MR. GIULIANI:     Correct.

15               MS. SCHWARTZ:     Okay.      And this is now -- at this point
16    in time, you had formed your law office at --

17               MR. GIULIANI:     No.     At this point in time, that's what

18    precipitated their clients getting very upset that I was

19    representing --

20               MS. SCHWARTZ:     Oh, you were still at GT, Greenberg

21    Traurig?

22               MR. GIULIANI:     Yeah.      They were -- they were upset

23    that I was representing Donald Trump.

24               MS. SCHWARTZ:     Okay.      And that's when you had to make

25    a choice.
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 1               MR. GIULIANI:     And I made the choice to continue to

 2    represent him.

 3               MS. SCHWARTZ:     Okay.
 4               MR. GIULIANI:     And then I left and formed my own law

 5    firm.

 6               MS. SCHWARTZ:     I got you.      And that was located at 445
 7    Park?

 8               MR. GIULIANI:     Correct.

 9               MS. SCHWARTZ:     And you were basically the only
10    attorney at that firm, the Law Office of Rudy Guiliani?
11               MR. GIULIANI:     Yes.    Yeah.     I practiced individually

12    and I work with other firms.
13               MS. SCHWARTZ:     Okay.      I got it.

14               MR. GIULIANI:     But it was a big difference in income.

15    So at Greenburg --
16               MS. SCHWARTZ:     Well, that's how we started this line

17    of questioning.

18               MR. GIULIANI:     So the income went down from -- at

19    Greenberg was probably around five or six million.                 At my own

20    firm, it was probably one million or two.

21               MS. SCHWARTZ:     And that was roughly in 2018?

22               MR. GIULIANI:     Right.

23               MS. SCHWARTZ:     Before it was -- yeah.           And how many

24    years were you at Greenberg?

25               MR. GIULIANI:     I was at Greenberg for three years.             I
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 1    was at Bracewell for ten.

 2               MS. SCHWARTZ:     And Bracewell for ten.          What was your

 3    salary there?
 4               MR. GIULIANI:     About three million.

 5               MS. SCHWARTZ:     Three million at Bracewell.

 6               MR. GIULIANI:     It varied a little bit, but that was
 7    roughly the amount.

 8               MS. SCHWARTZ:     And that was for ten years.           Okay.   Got

 9    it.   Okay.    So again, as I said, so I guess it appears then
10    that the time you were representing Mr. Trump pro bono, that
11    was in 2018, and it wasn't until 2021 that you fell behind in

12    your -- go ahead, go.
13               MR. GIULIANI:     After the election was over the day or

14    two after --

15               MS. SCHWARTZ:     Yeah.
16               MR. GIULIANI:     -- President Trump asked me to take

17    over the campaign legal staff.

18               MS. SCHWARTZ:     This is now in 2020?

19               MR. GIULIANI:     Now this is in 2020.

20               MS. SCHWARTZ:     Yeah.

21               MR. GIULIANI:     November of 2020.

22               MS. SCHWARTZ:     You're taking over the campaign staff?

23               MR. GIULIANI:     Taking over the campaign legal staff.

24               MS. SCHWARTZ:     Even though the election was over?

25               MR. GIULIANI:     Well, because at that point, he had a
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 1    tremendous number of complaints --

 2               MS. SCHWARTZ:     Oh, okay.

 3               MR. GIULIANI:     -- that there had been fraud in the
 4    election.    And he asked me to --

 5               MS. SCHWARTZ:     Spearhead that effort.

 6               MR. GIULIANI:     To head that effort.         Right.
 7               MS. SCHWARTZ:     How many lawyers did you have working

 8    for you?

 9               MR. GIULIANI:     Oh, gosh.     Immediately right in
10    Washington about twelve, but all over the country, maybe one
11    hundred.

12               MS. SCHWARTZ:     Now, at that time, did you have to take
13    up residency in Washington?

14               MR. GIULIANI:     I basically -- I -- no, I didn't take

15    up residency, but I stayed -- I stayed permanently at a hotel
16    there.

17               MS. SCHWARTZ:     What hotel did you stay at?

18               MR. GIULIANI:     I stayed at the -- originally I stayed

19    at the Mandarin -- Mandarin Oriental.            But remember, this was

20    COVID period.

21               MS. SCHWARTZ:     Yeah.

22               MR. GIULIANI:     After I got -- I got COVID and I went

23    to the hospital and came back.          I moved to the Willard Hotel.

24               MS. SCHWARTZ:     You don't slum it.

25               MR. GIULIANI:     Pardon me?
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 1               MS. SCHWARTZ:     You do not slum it.

 2               MR. GIULIANI:     Yeah.

 3               MS. SCHWARTZ:     Okay.      And then were you getting a
 4    salary at that point?

 5               MR. GIULIANI:     No, I was -- I was supposed to.               I got

 6    paid -- I got paid expenses, but I never -- I never -- I never
 7    got a salary.

 8               MS. SCHWARTZ:     And you say you were supposed to.              So

 9    why don't you tell me why you think that you were supposed to?
10               MR. GIULIANI:     Because the -- once I took over, it was
11    my understanding that when I -- that I would be paid by the by

12    the campaign for my legal work and my expenses would be paid.
13               MS. SCHWARTZ:     And they --

14               MR. GIULIANI:     But they paid -- when we submitted --

15    when we submitted the invoice for payment, they just paid the
16    expenses, not all, but most of the expenses.               But they never

17    paid the --

18               MS. SCHWARTZ:     The legal fees?

19               MR. GIULIANI:     Correct.

20               MS. SCHWARTZ:     Who's the they in that?

21               MR. GIULIANI:     The Trump campaign.

22               MS. SCHWARTZ:     Who is it?

23               MR. GIULIANI:     And who is the Republican National

24    Committee?

25               MS. SCHWARTZ:     Well, who was --
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 1               MR. GIULIANI:     Who was running it at the time?

 2               MS. SCHWARTZ:     No.   But who was the person that

 3    declined to pay your fees?
 4               MR. GIULIANI:     Well, the campaign, whoever was the

 5    treasurer at the time.       I don't remember.

 6               MS. SCHWARTZ:     So what did you do about that?
 7               MR. GIULIANI:     We have for any number of times asked

 8    to be paid.     Expenses were paid.       And we haven't been paid.

 9               MS. SCHWARTZ:       What's the outstanding amount of
10    unpaid --
11               MR. GIULIANI:     We've never calculated it.

12               MS. SCHWARTZ:     Sir --
13               MR. GIULIANI:     Never calculated it.

14               MS. SCHWARTZ:     Can you estimate what your fees were?

15               MR. GIULIANI:     Oh, sure.     It's about two million
16    dollars.

17               MS. SCHWARTZ:     About two million.          So if today the RNC

18    or whatever the Trump campaign paid to the two million, that

19    would be -- you'd be satisfied.

20               MR. GIULIANI:     Yeah, that's a rough --

21               MS. SCHWARTZ:     A roughly amount, right?

22               MR. GIULIANI:     -- amount.     I'd have to go look at all

23    the different -- but that's about -- that's about right.

24               MS. SCHWARTZ:     Right.     You'd have to look at the

25    invoices you submitted, right?
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 1               MR. GIULIANI:     Correct.     Yeah, that'd be about exactly

 2    right.

 3               MS. SCHWARTZ:     And you said that that was your
 4    expectation.     You know, who was the person that said, okay --

 5    you said Mr. Trump asked you to come and take over that effort,

 6    right?
 7               MR. GIULIANI:     Yes.

 8               MS. SCHWARTZ:     The legal staff.        He wanted you to head

 9    the legal staff.
10               MR. GIULIANI:     And the White House put out a press
11    release explaining it, and that was about -- we actually

12    started before they made it public, but -- so we started, like
13    two or three days after the election.

14               MS. SCHWARTZ:     Okay.

15               MR. GIULIANI:     They probably put the statement out the
16    next week.

17               MS. SCHWARTZ:     And did the president agree to pay you

18    money for that job?

19               MR. GIULIANI:     He agreed that the entities would pay,

20    not that he would.

21               MS. SCHWARTZ:     He agreed that what entities would pay

22    the.

23               MR. GIULIANI:     That the Republican -- there was a

24    division between the Trump campaign and the Republican National

25    Committee wasn't paying legal expenses.
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 1               MS. SCHWARTZ:     They were supposed to split it

 2               MR. GIULIANI:     Yeah.      I can't remember the exact

 3    dividing line because many lawyers were paid and some weren't
 4    but --

 5               MS. SCHWARTZ:     Like you?

 6               MR. GIULIANI:     Like me and others.          But if we retained
 7    a lawyer let's say in Arizona, I would go to the treasurer of

 8    the committee and he would sit down with the Republican

 9    National Committee, and they would decide who was going to pay,
10    and they would pay.       They would pay that lawyer.           Sometimes --
11               MS. SCHWARTZ:     You agree that you would be the person

12    that say, look, we need a lawyer --
13               MR. GIULIANI:     Yeah.      I didn't -- I didn't -- I

14    would -- I would pick the lawyer.

15               MS. SCHWARTZ:     Uh-huh.
16               MR. GIULIANI:     But they would negotiate the deal with

17    how the lawyer was being paid.

18               MS. SCHWARTZ:     Now, did you ever have a writing?             Was

19    there ever a writing between you and Mr. Trump?

20               MR. GIULIANI:     No, there was never was.           No, it was

21    a -- it was a word-of-mouth situation.

22               MS. SCHWARTZ:     An oral agreement?

23               MR. GIULIANI:     Yeah.

24               MS. SCHWARTZ:     And you -- and would there be anyone

25    other than Mr. Trump that would verify that agreement?
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 1               MR. GIULIANI:     Well, the -- some of the lawyers that

 2    were --    that work with me, yeah.

 3               MS. SCHWARTZ:     They would verify that you were
 4    supposed to be paid?

 5               MR. GIULIANI:     And that they were, right.

 6               MS. SCHWARTZ:     Oh, so the group of lawyers that were
 7    not paid would all verify among themselves --

 8               MR. GIULIANI:     Right, sure.

 9               MS. SCHWARTZ:     -- that they were supposed to be paid?
10               MR. GIULIANI:     I think that.
11               MS. SCHWARTZ:     What other lawyers --

12               MR. GIULIANI:     There might be -- there might there
13    might be an overlap of somebody not.           But -- so --

14               MS. SCHWARTZ:     Who else were the other lawyers that

15    that didn't get paid?
16               MR. GIULIANI:     Joe diGenova, Vicky Toensing.

17               MR. BERGER:     Slow down.     She's writing.

18               MS. SCHWARTZ:     I'm okay.     Don't worry.

19               MR. BERGER:     Just trying to help you.

20               MS. SCHWARTZ:     You said Joe?

21               MR. GIULIANI:     Joe, Capital D, small I, capital G-E-N-

22    O-V-A.

23               MS. SCHWARTZ:     Yep.

24               MR. GIULIANI:     Victoria Toensing, T-O-E-N-S-I-G (sic).

25               MS. SCHWARTZ:     Got it.     Anybody else?
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 1               MR. GIULIANI:     Yeah.      I'd have to go back and look at

 2    the list.

 3               MS. SCHWARTZ:     What about like Sydney Powell?                 Was she
 4    in your group there?

 5               MR. GIULIANI:     Sydney.     Sydney actually had her own

 6    arrangement with the president.          And I'm not sure she's in that
 7    group.

 8               MS. SCHWARTZ:     Okay.      So you had no - there's no --

 9    nothing in writing.
10               MR. GIULIANI:     Sydney.     I mean, I actually fired
11    Sydney twice.

12               MS. SCHWARTZ:     All right.      Okay.        So let's go to -- I
13    want to go over your bank accounts because they look like

14    there's a good number of bank accounts here.                 So let's take a

15    look at schedule a B, please.
16               MR. GIULIANI:     I'm surprised by that.

17               MS. SCHWARTZ:     What?

18               MR. GIULIANI:     I mean, I always think --

19               MS. SCHWARTZ:     You have a lot of bank accounts.

20               MR. GIULIANI:     Yeah, because I really just use one.

21    It's a Citi bank account.

22               MS. SCHWARTZ:     Okay.      All right.        So let's take a look

23    at -- I think it's question 17.

24               MR. GIULIANI:     Yes.

25               MS. SCHWARTZ:     All right.      Okay.        So you have accounts
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 1    at Citibank -- two accounts at Citibank it says, right?

 2               MR. GIULIANI:     I do.

 3               MS. SCHWARTZ:     And then this was not amended?
 4               MR. GIULIANI:     Correct.

 5               MS. SCHWARTZ:     Right?

 6               MR. BERGER:     We added Citibank as a creditor because
 7    there was an overdraft.

 8               MS. SCHWARTZ:     Yes.

 9               MR. BERGER:     That's why maybe --
10               MS. SCHWARTZ:     No I'm not thinking it because of that.
11               MR. BERGER:     Okay.

12               MS. SCHWARTZ:     Okay.      So there's two Citibank
13    accounts.    Then you also have an IRA, right?             On the next page

14    at number 21, you have you have an account at Schwab.                 Do you

15    still have that account there?
16               MR. GIULIANI:     I do.

17               MS. SCHWARTZ:     Okay.      And then it has -- then there's

18    another Citibank account, which is for an IRA.

19               MR. GIULIANI:     I see that.       Yes.

20               MS. SCHWARTZ:     Correct?

21               MR. GIULIANI:     Yes.    That is correct.

22               MS. SCHWARTZ:     Okay.      And then you have another

23    account at Fidelity.

24               MR. GIULIANI:     That's correct.

25               MS. SCHWARTZ:     Are you aware of any other accounts
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 1    that you have?

 2               MR. GIULIANI:     No, I'm not.       IRA, no.

 3               MS. SCHWARTZ:     No.   Any other -- any other financial
 4    accounts.

 5               MR. GIULIANI:     No.

 6               MS. SCHWARTZ:     Do you have broker, investment bankers?
 7               MR. GIULIANI:     No.   No.

 8               MS. SCHWARTZ:     No, none.      I want to ask you one

 9    question because this confused me.           Hold on one second.           I'm
10    going to show you the monthly operating report.                Do you know
11    what a monthly operating report is?

12               MR. GIULIANI:     Not in detail, but I have a general
13    idea.

14               MS. SCHWARTZ:     Well, let me refresh your recollection

15    back from the days of AMAX.        Debtors are required to file an
16    operating report every month, even if you're an individual.

17               MR. GIULIANI:     Right.

18               MS. SCHWARTZ:     Companies and individuals.            And

19    basically you have to include your -- it's basically you

20    include a balance sheet, assets, liabilities, what money went

21    out, you know, the disbursements for that period, whether

22    you're operating at a profit or loss.             It's my understanding

23    from your lawyers that Mr. Ricci is going to be the person

24    that's going to complete these for you.             It's a financial

25    reporting, because as we both agree, transparency is the key in
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 1    bankruptcy, right?

 2               MR. GIULIANI:     Correct.

 3               MS. SCHWARTZ:     Okay.      So on this operating report that
 4    was provided, I'm going to share it with you, okay, this is for

 5    the period ending December 2023.           You see that?

 6               MR. GIULIANI:     I see it.
 7               MS. SCHWARTZ:     Okay.      And the one thing that has to

 8    happen is that there has to be a bank statement attached to it.

 9    So there is one here.       And I look at the bank statement.              And
10    there was something on here that I had a question about.                   Yeah.
11    Take a look at this.       You're going to need your glasses because

12    it's even hard for me.
13               MR. GIULIANI:     Where?     Oh, yeah, I see it, very small.

14               MS. SCHWARTZ:     I want you to look at page 3 of 6 of

15    the bank statement.
16               MR. GIULIANI:     Okay.

17               MS. SCHWARTZ:     This is the Citi gold account.

18               MR. GIULIANI:     Yeah.

19               MS. SCHWARTZ:     Okay.      You see -- I'm going to point to

20    you where it is if I could do it upside down.               Okay.    Here we

21    go.

22               MR. GIULIANI:     Oh, okay.

23               MS. SCHWARTZ:     See it says Pershing Brokerage?               Right

24    there, right where my finger is.           You can lift it up yourself

25    and look.
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 1               MR. GIULIANI:     Pershing Brokerage.         Okay.    I see it.

 2    Yes, I see it now.

 3               MS. SCHWARTZ:     All right.
 4               MR. GIULIANI:     What is that?

 5               MR. GIULIANI:     I don't know.       I think somehow this is

 6    connected to Citibank though.
 7               MS. SCHWARTZ:     Well, Pershing is -- Pershing is, you

 8    know, an investment bank.        You've heard of Pershing Square,

 9    Pershing --
10               MR. GIULIANI:     Oh, I think maybe they --
11               MS. SCHWARTZ:     Bill Ackman.

12               MR. GIULIANI:     I'm going to make a guess.
13               MS. SCHWARTZ:     Well, you can -- you can tell me what

14    you --

15               MR. GIULIANI:     What I think it is?
16               MS. SCHWARTZ:     Yeah.

17               MR. GIULIANI:     I think that they -- I wanted to take

18    $100,000 out of the IRA.

19               MS. SCHWARTZ:     Okay.

20               MR. GIULIANI:     And I think they used Pershing to do

21    that.

22               MS. SCHWARTZ:     So liquidating assets, I mean --

23               MR. GIULIANI:     Correct.

24               MS. SCHWARTZ:     -- securities that you had in the IRA?

25               MR. GIULIANI:     Correct.
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 1               MS. SCHWARTZ:     Okay.      That might be right.        Would you

 2    follow up with me on that?

 3               MR. BERGER:     I'll follow up on that, but I'm going to
 4    pretty much be --

 5               MR. GIULIANI:     I'm pretty certain that's true.

 6               MS. SCHWARTZ:     Let me see it for a second.
 7               MR. BERGER:     Because it makes sense the way the

 8    numbers go.

 9               MS. SCHWARTZ:     Let me see it.        Yeah.    Well, it does
10    say 100,000.     So maybe they use that Pershing.
11               MR. GIULIANI:     I'm almost certain.

12               MS. SCHWARTZ:     Maybe you have investments with
13    Pershing in your --

14               MR. GIULIANI:     I don't.

15               MR. BERGER:     They use it to --
16               MR. GIULIANI:     I have no relationship --

17               MR. BERGER:     Could be the clearinghouse.

18               MS. SCHWARTZ:     Okay.

19               MR. GIULIANI:     I've never had anything to do with

20    Pershing that I know of.

21               MS. SCHWARTZ:     Okay.      Well, that was a question I had.

22               MR. BERGER:     I'll double check that with Joe.

23               MS. SCHWARTZ:     Okay.      Good.

24               MR. BERGER:     But that's -- I think it makes sense it

25    was the clearinghouse.
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 1               MS. SCHWARTZ:     And also on your schedules, let's go

 2    back for a minute, number 18, You see there it says you own

 3    shares in Uber?
 4               MR. GIULIANI:     Yeah.

 5               MS. SCHWARTZ:     Uber?      What is that?

 6               MR. GIULIANI:     Well --
 7               MS. SCHWARTZ:     And why are you laughing?

 8               MR. GIULIANI:     I'm laughing because I don't know the

 9    number of shares that I own which is kind of stupid.                 This -- I
10    did a lot of work for Uber.          At the beginning, I helped to
11    develop their vetting process for their the very beginning,

12    Uber.
13               MS. SCHWARTZ:     Vetting for Uber drivers?

14               MR. GIULIANI:     Yeah.      Because at the very beginning,

15    they didn't think of themselves as a taxi company.
16               MS. SCHWARTZ:     I think they need more help.

17               MR. GIULIANI:     Well, we set up --

18               MR. BERGER:     You were in my car coming here?

19               MR. GIULIANI:     We set up one of their original vetting

20    processes.     So I was with Giuliani Safety.             I'm pretty sure

21    that was done through Giuliani Safety and Security, but it

22    might have been done through Giuliani Partners.                I'm not sure

23    who.

24               MS. SCHWARTZ:     Okay.

25               MR. GIULIANI:     So they paid us, and they also gave us
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 1    shares --

 2               MS. SCHWARTZ:     Okay.

 3               MR. GIULIANI:     -- to myself and several people.
 4               MS. SCHWARTZ:     So you individually and the companies.

 5               MR. GIULIANI:     No, they gave -- they gave some -- I

 6    don't remember if they gave some to the company.                Those would
 7    have been -- Joe would know that.           But they gave some to my --

 8    to me and to some of the people that work with me, some with my

 9    firm, some from other firms.
10               MS. SCHWARTZ:     And where would those shares be held?
11               MR. GIULIANI:     Okay.      So I had those shares.        And when

12               UNIDENTIFIED SPEAKER:        And you got --
13               MR. GIULIANI:     When I got divorced, during the

14    divorce --

15               MS. SCHWARTZ:     Divorced from Ms. Nathan?
16               MR. GIULIANI:     Yes.

17               MS. SCHWARTZ:     Stish.     Nathan.

18               MR. GIULIANI:     Stish, yes.        Well, Nathan, Stish.

19               MS. SCHWARTZ:     I thought her last name was Nathan.

20               MR. GIULIANI:     Her maiden name is Stish.

21               MS. SCHWARTZ:     Okay.

22               MR. GIULIANI:     Her former husband's name was Nathan.

23               MS. SCHWARTZ:     I see.     Okay.

24               MR. GIULIANI:     And during the divorce, she remembered

25    that I had these shares.        I didn't even remember that I had
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 1    them.   So she and her lawyer went and found them, and we

 2    divided them.     She got half and I got half.            I can't find my

 3    half.   So I'm asking my divorce lawyer.            In fact, I was in
 4    contact with just the other day.           She's trying to find them for

 5    me.   I don't know -- I don't know.

 6               MR. BERGER:     He's not sure how they got transferred
 7    over to him.

 8               MS. SCHWARTZ:     Okay.

 9               MR. GIULIANI:     And when we -- when we checked
10    originally with her lawyer, her lawyer said, well, she got all
11    the shares.     So I may not actually even own these shares, but I

12    don't think that's --
13               MR. FISCHOFF:     Actually --

14               MR. GIULIANI:     I don't think that's correct.

15               MR. FISCHOFF:       I think he said whatever you were
16    entitled to was already transferred to you, but you can't find

17    them.   There might have been sold.          They might not have been --

18               MS. SCHWARTZ:     Who said that?

19               MR. GIULIANI:     The lawyer.

20               MS. SCHWARTZ:     The divorce lawyer?

21               MR. FISCHOFF:     Her matrimonial lawyer said she had

22    transferred to Mr. Giuliani his share of those shares.

23               MS. SCHWARTZ:     Can you just speak up, please?                Because

24    this is being recorded and --

25               MR. FISCHOFF:     Yeah.      So the -- his ex-wife's
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 1    matrimonial attorney said that she had already transferred to

 2    Mr. Giuliani his portion of those shares.                 But Mr. Giuliani is

 3    trying to locate them.       So we're not sure --
 4               MS. SCHWARTZ:     I see.

 5               UNIDENTIFIED SPEAKER:        -- if he got them and already

 6    liquidated them in the past or still has them.
 7               MS. SCHWARTZ:     All right.

 8               UNIDENTIFIED SPEAKER:        So that's why --

 9               MS. SCHWARTZ:     I'd like you to look into that --
10               MR. BERGER:     We'll check with --
11               MS. SCHWARTZ:     -- and then make any appropriate

12    amendments?
13               MR. BERGER:     Absolutely.

14               MR. GIULIANI:     That's what we're trying to do.                I

15    should tell you, I don't believe I've liquidated.
16               MS. SCHWARTZ:     Okay.

17               MR. FISCHOFF:     We're trying to find them.

18               MR. GIULIANI:     That I would know.

19               MS. SCHWARTZ:     And who is your matrimonial lawyer?

20               MR. GIULIANI:     Faith Miller.

21               MS. SCHWARTZ:     Okay.      And do you still engage Ms.

22    Miller?

23               MR. GIULIANI:     other than for things like this, no.

24               MS. SCHWARTZ:     Okay.      So it's a one-off type of thing,

25    if something comes up?
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 1               MR. GIULIANI:     Yeah, if any questions that I have

 2    comes up.

 3               MS. SCHWARTZ:     And okay.      I got it.        Okay.   All right.
 4               MR. GIULIANI:     By the way, the person there at the

 5    Miller Law firm that knows everything about this is named

 6    Sheila.
 7               MS. SCHWARTZ:     Sheila.     Who's Sheila, the paralegal?

 8               MR. GIULIANI:     She's a paralegal, but she's a genius.

 9               MS. SCHWARTZ:       knew you would --
10               MR. GIULIANI:     She's a genius.
11               MR. BERGER:     Because they don't they know everything?

12               MR. GIULIANI:     And she remembered this.            I didn't.
13               MS. SCHWARTZ:     Okay.

14               MR. GIULIANI:     So when I tell you I'm pretty certain I

15    didn't liquidate them --
16               MS. SCHWARTZ:     They usually are.            You're lucky if I

17    get a genius, right?

18               Okay.    How about do you own any CDs?

19               MR. GIULIANI:     No.

20               MS. SCHWARTZ:     Do you have a safe deposit box?                I do

21    not.

22               MS. SCHWARTZ:     Do you have one in your home?

23               MR. GIULIANI:     No.

24               MS. SCHWARTZ:     Okay.      How about any shares in credit

25    unions?
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 1               MR. GIULIANI:     No.

 2               MS. SCHWARTZ:     Okay.      Pension.    Did you disclose a

 3    pension?
 4               MR. BERGER:     So you could ask him about --

 5               MS. SCHWARTZ:     Okay.      Why don't you tell me about do

 6    you have a pension?
 7               MR. GIULIANI:     I don't think so.

 8               MS. SCHWARTZ:     All right.      Why don't you explain that?

 9               MR. GIULIANI:     It's a strange situation, but from New
10    York, we're talking about New York City now.
11               MS. SCHWARTZ:     Wherever you want to talk about it.

12               MR. GIULIANI:     Well, that's --
13               MS. SCHWARTZ:     Would that be the only pension you

14    would have?

15               MR. GIULIANI:     Yeah, because -- but -- because I only
16    served the City for eight years, not ten, I don't get a pension

17    I think.

18               MS. SCHWARTZ:     You mean you only served the City in an

19    official capacity as mayor?

20               MR. GIULIANI:     Eight years.       Right, eight years.         So I

21    didn't have a vested pension.           However, it was long enough for

22    me to get health insurance from the City.                 So the City of New

23    York provides my health --

24               MS. SCHWARTZ:     For life?

25               MR. GIULIANI:     For life, yes.        And so that's the
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 1    confusion.     People think I get a pension from the City because

 2    I have health insurance.

 3               MS. SCHWARTZ:     Well, there's really no confusion in
 4    your mind.     You don't have it?

 5               MR. GIULIANI:     No, no.     And I've -- it seems unfair.

 6               MS. SCHWARTZ:     Okay.      Let's see.        Now you filed your
 7    amended schedule D.       Let's take a look at that.            Okay.       Oh,

 8    wait.   Let's not go there yet.         Hang on a second.         Let's go to

 9    tax refunds owed to you.        And then that's number 28.            That's
10    for this Mask Singer.       Mr. Giuliani, I'm sorry, but I really
11    don't know what that is.

12               MR. GIULIANI:     It's a television show.            I appeared on
13    the show, and I was paid for it.           And I overpaid the taxes in

14    California.     It fits in that situation we were talking about.

15    If you do --
16               MS. SCHWARTZ:     Oh, right, right, right.            So that's

17    owed to you by, like, the California Franchise Tax Board.

18               MR. GIULIANI:     Right.     And I paid -- we probably

19    deducted a certain amount for them for taxes and we overpaid

20    them by 10,000.

21               MS. SCHWARTZ:     Okay.      So that's what you're -- that's

22    why it's a tax refund.

23               MR. GIULIANI:     Right.

24               MR. BERGER:     Correct.

25               MR. GIULIANI:     Correct.
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 1               MS. SCHWARTZ:     Okay.      I understand that now.        Okay.

 2    And then on question 34, you have here possible claim for

 3    unpaid legal fees against Donald J. Trump.                And we just talked
 4    about that pretty, you know --

 5               MR. GIULIANI:     Yeah.      I guess we could amend that.

 6               MS. SCHWARTZ:     Did we cover everything there or --
 7               MR. GIULIANI:     We did.     We covered it.

 8               MS. SCHWARTZ:     But I'm just saying, like, you know, so

 9    they're really not against him, right?             Are the legal fees
10    against these --
11               MR. GIULIANI:     Would be against the --

12               MS. SCHWARTZ:     -- the campaign and --
13               MR. GIULIANI:     -- campaign and the Republican --

14               MS. SCHWARTZ:     Wait a second.        Don't interrupt yet,

15    please.
16               MR. FISCHOFF:     Okay.      But I just --

17               MR. GIULIANI:     Yes.

18               MS. SCHWARTZ:     I'll allow you to speak.

19               MR. FISCHOFF:     Okay.

20               MS. SCHWARTZ:     Go ahead, sir.

21               MR. GIULIANI:     Yes.    They would be against the

22    campaign and against the Republican National Committee.

23               MS. SCHWARTZ:     Okay.      Mr. Fischoff?

24               MR. FISCHOFF:     And maybe against Mr. Trump.            So we

25    don't want to compromise any legal rights of the estate.                   So
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 1    that will have to be investigated to see who all of the

 2    potential liable parties are.           That's all.       I just don't want

 3    him to testify about legal issues.
 4               MS. SCHWARTZ:     Well, listen, these -- I'm asking him

 5    facts.    He's got -- he's put down here that he has a possible

 6    claim for unpaid legal fees against Donald Trump.
 7               MR. FISCHOFF:     Right.

 8               MS. SCHWARTZ:     Okay.

 9               MR. FISCHOFF:     We don't want to --
10               MS. SCHWARTZ:     Do you believe -- not you.            Do you
11    believe that you have a possible claim against Mr. Trump?                   Is

12    that something that you're investigating with your lawyers?
13               MR. GIULIANI:     In the interest of transparency, I

14    would say it is my understanding that I have a claim for unpaid

15    legal fees certainly against the Trump campaign, probably
16    against Republican National Committee and not against Trump.

17               MS. SCHWARTZ:     Okay.      So you can consult with Mr.

18    Fischoff and amend that appropriately, okay?

19               MR. GIULIANI:     But I would say that's -- for your

20    knowledge, that would be the most transparent answer.

21               MS. SCHWARTZ:     Okay.      That's fine.       All right.      And

22    then you also have -- and just so that we're clear for the

23    record, the question is to identify other contingent and

24    unliquidated claims of every nature, including counterclaims of

25    the debtor and rights to set off claims.              Now, you have here
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 1    the Joseph Biden defamation action.

 2               MR. BERGER:     Correct.

 3               MS. SCHWARTZ:     Can you explain what your contingent
 4    and unliquidated claims are?

 5               MR. GIULIANI:     Sure.      I filed a lawsuit against Biden,

 6    Joseph Biden, in New Hampshire for defamation.                When during the
 7    second debate with Donald Trump, he said that I was --

 8               MS. SCHWARTZ:     Wait a second.        You filed a complaint

 9    against President Biden?
10               MR. GIULIANI:     Well, against Joseph Biden.
11               MR. BERGER:     President Biden, yes.

12               MS. SCHWARTZ:     Oh, okay.      Yes.
13               MR. GIULIANI:     President Biden.

14               MS. SCHWARTZ:     I'm sorry.

15               MR. GIULIANI:     Against -- but he did it before he was
16    president.

17               MS. SCHWARTZ:     All right.

18               MR. GIULIANI:     The claim --

19               MS. SCHWARTZ:     I don't mean to interrupt you.                I

20    was -- I was a little bit confused.            You go ahead.

21               MR. GIULIANI:     So I filed it --

22               MS. SCHWARTZ:     When did you file it?

23               MR. GIULIANI:     I filed it about, oh, about four or

24    five months ago.

25               MS. SCHWARTZ:     Okay.
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 1               MR. GIULIANI:     I filed a complaint against Joseph

 2    Biden, President Biden in New Hampshire for defamation for his

 3    statements most prominently at the last debate with then
 4    President Trump in which he said that I was -- I guess the best

 5    way to summarize it would be he said I was a Russian pawn, that

 6    the hard drive was not -- that I produced, was not legitimate,
 7    that it was Russian disinformation, and then he referred to me

 8    as a Russian pawn on at least one occasion during that debate,

 9    I think maybe twice.       He also said it at other times.            But
10    those are the key -- the key moment.            That has been proven to
11    be untrue.     I did -- that was sixteen months later.              They put

12    out a report that the hard drive --
13               MS. SCHWARTZ:     You mean the statement was proven to be

14    untrue?    Is that what you're saying?

15               MR. GIULIANI:     Yeah.      I mean, the FBI and the New York
16    Times and The Washington Post clarified that about sixteen

17    months later and said that the hard drive had nothing to do

18    with Russia, that it was actually Hunter Biden's hard drive.                   I

19    learned, oh, sometime before I filed the lawsuit but two or

20    three years after he said that that the FBI actually had made

21    that determination in December of 2019, that they reiterated it

22    in October of 2020.

23               So I used to do -- I used to do a lot of defamation

24    work.   I represented the Wall Street Journal and the New York

25    Daily News.     I hadn't sued him before that because I couldn't
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 1    prove malice, in other words, that he actually knew it was

 2    untrue.    But when I found out the evidence, got the evidence

 3    that it was known to -- it was known to the FBI and to people
 4    that work with Biden, that the hard drive had been verified by

 5    the FBI in 2019, then I felt I had a very strong defamation

 6    case against him because when he uttered those words that the
 7    hard drive was a product of Russian disinformation, he knew

 8    that the hard drive was his son's that had been verified by the

 9    FBI.
10               MS. SCHWARTZ:     Okay.      So that action is pending where?
11               MR. GIULIANI:     So that action was brought -- so that

12    was brought in New Hampshire.
13               MS. SCHWARTZ:     District court or state court?

14               MR. GIULIANI:     In the state court because -- for two

15    reasons.    New Hampshire has a three-year statute of
16    limitations.     In a number of states, I could try to bring it,

17    but I would have to -- I would have to show -- I'd have to show

18    newly discovered information.           So we'd have to go through a

19    whole hearing on that.       In New Hampshire, I don't have to do

20    that.   It's within the statute of limitations.

21               And second, New Hampshire has an interesting

22    defamation statute that allows you to recover damages from all

23    the states in which you were damaged.             So it's just as good as

24    a federal action.       So that's why we selected Hew Hampshire.

25               MS. SCHWARTZ:     Who's representing you there?
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 1               MR. GIULIANI:     Gosh, let me get his -- the local

 2    lawyer.    I'll have to check and get it.

 3               MS. SCHWARTZ:     Okay.      Because we'll need to know that
 4    because, as you know, any lawyers that represent you have to be

 5    approved by the Bankruptcy Court.           They have to file

 6    applications for retention.
 7               MR. GIULIANI:     All right.

 8               MS. SCHWARTZ:     So this is the first I'm hearing about

 9    the New Hampshire defamation lawsuit.             So that we're going to
10    need.
11               MR. BERGER:     The attorney's name is --

12               MS. SCHWARTZ:     Can you speak up?
13               MR. BERGER:     The attorney's name is Bill O'Brien.

14               MS. SCHWARTZ:     Okay.      So --

15               MR. BERGER:     Okay.     I will provide the information.
16               MS. SCHWARTZ:     I'm going to leave that to your

17    lawyers.

18               MR. GIULIANI:     He's the New Hampshire lawyer.

19               MR. BERGER:     I will provide you --

20               MS. SCHWARTZ:     And what's the status?           Like, what's

21    the status of that case?

22               MR. BERGER:     so --

23               MR. GIULIANI:     We have --

24               MR. BERGER:     Can I answer that?         Because I did speak

25    to the attorney yesterday or the other day.
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 1               MS. SCHWARTZ:         Sure.    Why not?

 2               MR. BERGER:          Just the status is there was a motion by

 3    the Biden camp to dismiss the complaint.
 4               MS. SCHWARTZ:         They just filed a motion to dismiss?

 5               MR. BERGER:          There was a motion to dismiss,         yes.

 6               MS. SCHWARTZ:         Okay.    And then what's the time frame
 7    for Mr. Giuliani to respond?

 8               MR. BERGER:          I don't have that answer.        He was getting

 9    me all the information.
10               MS. SCHWARTZ:         All right.    Well, once we have -- once
11    we have Mr. O'Brien in touch with us, we'll understand that.

12    So -- and was there a dollar amount that you sued for?
13               MR. GIULIANI:         I think we left it undetermined.

14               MS. SCHWARTZ:         Okay.    Okay.   Now we've talked a bit

15    about -- oh, I wanted to look at the amended creditors that
16    you've now added.

17               MR. GIULIANI:         Sure.

18               MS. SCHWARTZ:         Right?   Okay.     So we've got some

19    amended creditors here in the initial D, E, and F.                   I've got

20    the amendments.         Okay.    So everything okay?

21               MR. GIULIANI:         Yeah.

22               MS. SCHWARTZ:         Okay.    You got enough water?

23               MR. GIULIANI:         Yeah.    I think I should get a little

24    more.

25               MS. SCHWARTZ:         Yeah.    Okay.   So one of the -- one of
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 1    the things that you did by amending your schedule D related to

 2    your real estate assets.        So why don't we go there?           So New

 3    York, you have a condo on 66th Street, right?
 4               MR. GIULIANI:     Correct.

 5               MS. SCHWARTZ:     And can you describe that briefly?

 6               MR. GIULIANI:     Sure.      I bought it in -- it's a three
 7    bedroom, maybe you could consider it four bedrooms?                 condo in a

 8    130 or -40 year old building on -- and I bought it in right

 9    after -- I bought about a year after or maybe slightly less
10    than a year after I left being mayor.             So that would have been
11    in 2002.    And I've been living there since then.

12               MS. SCHWARTZ:     Okay.
13               MR. GIULIANI:     Except for a period of time when I was

14    getting divorced when I moved out and Judith Stish lived there

15    for a while.     And then when we did our a final agreement, we
16    owned two pieces -- we owned three pieces of property.                     She

17    took the property in South Hampton.

18               MS. SCHWARTZ:     Okay.

19               MR. GIULIANI:     I took the condo and the property in

20    Palm Beach.

21               MS. SCHWARTZ:     Okay.

22               MR. GIULIANI:     And they were roughly of equivalent

23    value at the time.

24               MS. SCHWARTZ:     Right.     And now this one you're trying

25    to sell.    Is that right?
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 1               MR. GIULIANI:         That's the one I'm trying to sell,

 2    correct.

 3               MS. SCHWARTZ:         And you've listed it at how much.
 4               MR. GIULIANI:         We originally listed I think at 6-4 or

 5    6-2, something like that.

 6               MS. SCHWARTZ:         Okay.
 7               MR. GIULIANI:         And now it's 5-9.

 8               MS. SCHWARTZ:         Okay.     And who's the broker?

 9               MR. FISCHOFF:         Sotheby's.
10               MR. GIULIANI:         Oh, Sotheby's.       Right.
11               MS. SCHWARTZ:         They have to get retained too?

12               MR. BERGER:          We know.   They just --
13               MR. FISCHOFF:         There's paperwork.

14               MR. BERGER:          -- sent us their --

15               MR. FISCHOFF:         We just have to look at it.
16               MR. BERGER:          Yeah.    We had to negotiate some of their

17    fees out of it.         So --

18               MS. SCHWARTZ:         Okay.     All right.        And then you also

19    have the Florida property, right?

20               MR. GIULIANI:         Correct.

21               MS. SCHWARTZ:         That's on South Lake Drive on Palm

22    Beach?

23               MR. GIULIANI:         That's the one at South Lake Drive.

24               MS. SCHWARTZ:         Now, I do have one question about that,

25    because I think there might be a mistake on -- based on what
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 1    you filed.     That would be on schedule A.           Let me get there.

 2               MS. SCHWARTZ:     Did I give you my schedule A?

 3               MR. BERGER:     You may have.       So here are the ones that
 4    you provided me.

 5               MS. SCHWARTZ:     Okay.      Let me see.       That's D.   The

 6    amended D.     Schedule A, okay.        Schedule A on page 2 lists the
 7    316 South Lake Drive as a single family home.               Is that correct?

 8               MR. GIULIANI:     No, it's an apartment.

 9               MS. SCHWARTZ:     It's a condo, right?           So you're going
10    to have to change that --
11               MR. GIULIANI:     We'll change that.           That's fine.

12               MS. SCHWARTZ:     -- and correct that. Okay, because when
13    I saw -- I saw the condo fees, I'm like, wait a second,

14    something's not right.

15               MR. GIULIANI:     Yeah.
16               MS. SCHWARTZ:     Okay.      So that's a condo.       Can you

17    describe that one?

18               MR. GIULIANI:     Yes.    That's a that's a three -- it's a

19    it's now a -- it originally was a three-bedroom condo.                     We

20    changed it to a two-bedroom condo to make them larger.                     The

21    two-bedroom condo in a six-story condominium in Palm Beach,

22    probably about forty or fifty-year-old building.                And I've

23    owned it since about 2010.

24               MS. SCHWARTZ:     Okay.

25               MR. GIULIANI:     And that -- and I said in the divorce
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 1    proceeding, I got that.        And she got the --

 2               MS. SCHWARTZ:     Place in South Hampton.

 3               MR. GIULIANI:     Well, there really -- there really were
 4    two pieces of property in South Hampton.              One attached to the

 5    other.

 6               MS. SCHWARTZ:     Well, where was the address of that?
 7               MR. GIULIANI:     I don't remember.

 8               MS. SCHWARTZ:     You had two properties in Southampton?

 9               MR. GIULIANI:     Yeah.      They're next to each other,
10    right next to each other.
11               MS. SCHWARTZ:     So now she has two properties there?

12               MR. GIULIANI:     She may have sold one of them, but she
13    originally -- when we -- when we divided up the estate, it

14    worked out to be roughly equivalent that if you took the two

15    properties in Southampton and you took the co-op in Manhattan
16    and the condo in Palm Beach, they worked out as roughly

17    equivalent.     And I owed her some money, and I paid -- that has

18    been paid already.

19               MS. SCHWARTZ:     Now, here it says that the South Lake

20    Condominium Association is a secured creditor.                So they have --

21               MR. BERGER:     They filed a notice that they were behind

22    on it.    I usually take co-op associations that they've placed a

23    lien on the property.

24               MS. SCHWARTZ:     Did they?

25               MR. BERGER:     I don't -- I'm not one hundred percent
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 1    sure, but we did list it as a secured just to protect.

 2               MR. FISCHOFF:     Even without a lien, actual lien, they

 3    are secured under the condo --
 4               MR. BERGER:     Terms of the condo.

 5               MS. SCHWARTZ:     Rules or whatever?

 6               MR. GIULIANI:     Yeah.
 7               MR. FISCHOFF:     Yeah.

 8               MR. BERGER:     Correct.

 9               MS. SCHWARTZ:     Okay.      Okay.   So that -- now then we've
10    got a bunch of other credit cards here and also some golf club
11    memberships, right?       You're a member of the Emerald Dunes Club?

12               MR. GIULIANI:     Yeah.      I've withdrawn -- I'm not --
13    well, I'm withdrawing from it, in the process of doing it.

14               MS. SCHWARTZ:     You're in the process of withdrawing?

15               MR. GIULIANI:     Right.     But I'm not presently -- I
16    would not consider myself a member right now.

17               MS. SCHWARTZ:     Is that because --

18               MR. GIULIANI:     I can't afford it.

19               MS. SCHWARTZ:     No, but I mean, you know, you have

20    outstanding dues.

21               MR. GIULIANI:     I'm not certain I do if I -- if I -- if

22    they approve my withdrawal.          And when we're -- and we're trying

23    to figure out if I'm owed some money from them as well.

24               MS. SCHWARTZ:     Based on a pro rata type of thing?

25               MR. GIULIANI:     Correct.      Correct.
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 1               MS. SCHWARTZ:     Okay.      And then you're also a member of

 2    the Trump International Golf Club?

 3               MR. GIULIANI:     Well, that was an honorary membership.
 4               MS. SCHWARTZ:     That means you didn't have to pay

 5    anything for it.

 6               MR. GIULIANI:     Right.     But I pay -- I pay for using
 7    it.

 8               MS. SCHWARTZ:     That means you pay --

 9               MR. GIULIANI:     But I don't pay -- I don't --
10               MS. SCHWARTZ:     -- like, golf -- like, tee fee -- like,
11    golf time fees and --

12               MR. GIULIANI:     Correct, correct.            Like, if I play
13    golf, I --

14               MS. SCHWARTZ:     And if you eat here?

15               MR. GIULIANI:     Correct, if I pay golf.
16               MS. SCHWARTZ:     You just don't have to pay the

17    membership fee?

18               MR. GIULIANI:     Correct.

19               MS. SCHWARTZ:     Okay.

20               MR. GIULIANI:     And that --

21               MS. SCHWARTZ:     But everything else you pay out of

22    pocket for there?

23               MR. GIULIANI:     Yes.

24               MS. SCHWARTZ:     Okay.      How about any other golf clubs

25    or country clubs are you a member of?
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 1               MR. GIULIANI:     No, the rest I think I've withdrawn

 2    from.

 3               MS. SCHWARTZ:     What about any other Trump golf clubs
 4    like in Bedminster?

 5               MR. GIULIANI:     Oh, well, if I -- no, I'm not a member.

 6    But because I'm a member there, an honorary member there, I can
 7    play there --

 8               MS. SCHWARTZ:     You could go to any Trump club?

 9               MR. GIULIANI:     Yeah.      But you'd have to pay of course.
10               MS. SCHWARTZ:     How about in New York?           You're not a
11    member of any golf or country clubs in New York?

12               MR. GIULIANI:     My firm was but, we've we withdrew -- I
13    wasn't personally.       My firm --

14               MS. SCHWARTZ:     Which firm was, Giuliani Partners?

15               MR. GIULIANI:     Guiliani Partners.
16               MS. SCHWARTZ:     Was a member where?

17               MR. GIULIANI:     I think they were a member at Bayonne.

18    I'll check that.

19               MS. SCHWARTZ:     In New Jersey?

20               MR. GIULIANI:     Yeah.

21               MS. SCHWARTZ:     There's a golf club in Bayonne?

22               MR. GIULIANI:     Oh, yes.      Fabulous.      Yeah.

23               MR. BERGER:     I thought you were going to say there's a

24    golf club in new Jersey.

25               MS. SCHWARTZ:     No.     I grew up in new Jersey.         It's a
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 1    very beautiful state.       I'm just -- Bayonne?            I'm unaware of

 2    that.

 3               MR. GIULIANI:     You can imagine it's actually -- it's
 4    modeled on a Scottish golf course, Irish Scottish golf course.

 5    It's quite beautiful.

 6               MS. SCHWARTZ:     Okay.      How about any other social
 7    clubs?

 8               MR. GIULIANI:     But it wasn't me.            That was -- that was

 9    my firm.
10               MS. SCHWARTZ:     Okay.      Any other social clubs you're a
11    member of?

12               MR. GIULIANI:     Metropolitan club.
13               MS. SCHWARTZ:     Okay.      Any others?        How about the

14    Macanudo club?

15               MR. GIULIANI:     Well, they're been not operating
16    anymore.

17               MS. SCHWARTZ:     How about the Havana Club?

18               UNIDENTIFIED SPEAKER:        It's gone.

19               MR. GIULIANI:     Again, not operating anymore.

20               MS. SCHWARTZ:     Any cigar clubs?

21               MR. GIULIANI:     Not right now, no.

22               MS. SCHWARTZ:     Okay.      How about Italian American club?

23               MR. GIULIANI:     No.

24               MS. SCHWARTZ:     Any gun clubs?

25               MR. GIULIANI:     No.
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 1               MS. SCHWARTZ:     Any other clubs?

 2               MR. GIULIANI:     Not that I can recall.

 3               MS. SCHWARTZ:     Do you have memberships at the Met?
 4               MR. GIULIANI:     Oh, I do.      I have -- I have the

 5    Metropolitan Museum of Art.

 6               MS. SCHWARTZ:     How about the opera house
 7               MR. GIULIANI:     I did.     I don't right now.

 8               MS. SCHWARTZ:     Any others?        Any other cultural

 9    memberships?
10               MR. GIULIANI:     Metropolitan Museum of Art.            Not that I
11    can recall.

12               MS. SCHWARTZ:     Okay.      Okay.    There are no other
13    mortgages or any liens on either of the two real estate

14    properties?

15               MR. GIULIANI:     Well, there are for taxes.
16               MS. SCHWARTZ:     There are taxes.

17               MR. GIULIANI:     Yes.

18               MS. SCHWARTZ:     But other than that?

19               MR. GIULIANI:     Not that I know of.

20               MS. SCHWARTZ:     Okay.      What about if you're not in

21    Florida, do you sometimes rent the property?               Do you ever rent

22    property out?

23               MR. GIULIANI:     No, I've never -- I've never rent.

24               MS. SCHWARTZ:     So you've never been a landlord on

25    these properties?
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 1               MR. GIULIANI:     No.

 2               MS. SCHWARTZ:     Okay.      Does anybody ever pay you rent

 3    for living there?
 4               MR. GIULIANI:     No.

 5               MR. GIULIANI:     Okay.      And how about staff to maintain

 6    them?    Do you hire staff?
 7               MR. GIULIANI:     No.     The condo has built-in staff so

 8    you don't have to.

 9               MS. SCHWARTZ:     Like a housekeeper or a chef or
10    anything?
11               MR. GIULIANI:     Just when I'm there, I might use a

12    housekeeper, but I don't -- I don't have one permanently.                    No.
13               MS. SCHWARTZ:     How about in New York?

14               MR. GIULIANI:     Same thing.       I'll hire a firm.

15               MS. SCHWARTZ:     You hire a firm?
16               MR. GIULIANI:     Well, a group of ladies who come and do

17    it.

18               MS. SCHWARTZ:     Okay.

19               MR. GIULIANI:     They're not permanent.            I might change

20    it.

21               MS. SCHWARTZ:     Okay.      All right.        It's okay.   All

22    right.    Okay.   And one other question I had on -- you that goes

23    to your I and J.

24               Let me ask you some questions about your domestic

25    support obligations.       You testified you have certain
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 1    obligations.     And they're to your ex-wife, Judith Stish and her

 2    mother.

 3               MR. GIULIANI:     Well, it's to her but for her mother.
 4               MS. SCHWARTZ:     Okay.

 5               MR. GIULIANI:     Part of the agreement, the divorce

 6    agreement --
 7               MS. SCHWARTZ:     Okay.

 8               MR. GIULIANI:     -- with Judith Stish.

 9               MS. SCHWARTZ:     Okay.      And that's 5,000 in alimony to
10    Judith.
11               MR. GIULIANI:     5,000 monthly payment.

12               MS. SCHWARTZ:     And that ends when?
13               MR. GIULIANI:     That ends at the end of this year.

14               MS. SCHWARTZ:     Okay.      And how about the nursing home

15    to Mrs. Stish?
16               MR. GIULIANI:     That --

17               MS. SCHWARTZ:     It's in perpetuity?

18               MR. GIULIANI:     Yes.

19               MS. SCHWARTZ:     How old is she?        Do you know?

20               MR. GIULIANI:     Ninety.     Ninety.

21               MS. SCHWARTZ:     Ninety.     And how is her health?

22               MR. GIULIANI:     Very poor.

23               MS. SCHWARTZ:     Do you have a good relationship with

24    her?

25               MR. GIULIANI:     Wonderful.      Yeah.
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 1               MS. SCHWARTZ:     And what's this Diamond Pharmacy?             Is

 2    that her pharmacy?

 3               MR. GIULIANI:     Yes.     That's her -- right, because it
 4    involves paying for a medications as well.

 5               MS. SCHWARTZ:     And she's -- the paper said that you

 6    made payments to County Meadows.           But is it Country Meadows?
 7               MR. GIULIANI:     Country meadows, yeah.

 8               MR. BERGER:     I just took what they provided.

 9               MR. GIULIANI:     Country.      Somebody left the R out I
10    guess.
11               MS. SCHWARTZ:     Yeah.

12               MR. GIULIANI:     Maybe me.
13               MS. SCHWARTZ:     No.     I'm sure.     Okay.    Okay.    We went

14    to your bank accounts.

15               MR. GIULIANI:     At some point --
16               MS. SCHWARTZ:     Yes, sir.

17               MR. GIULIANI:     -- could we take just a little recess?

18               MS. SCHWARTZ:     Yeah.      We could take a recess right

19    now.   Sure.

20               MR. GIULIANI:     That would be great.          Thank you.

21               MS. SCHWARTZ:     We'll take a five-minute recess.

22               MR. GIULIANI:     Thank you so much.

23               MS. SCHWARTZ:     Or as long as you need.

24               MR. GIULIANI:     No, that's all.

25           (Recess)
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 1               MS. SCHWARTZ:     Okay.      We're back on the record.           The

 2    time is approximately 4:05.

 3               When we took the break, I was asking you about these
 4    support obligations that you have.           And I think you answered

 5    them.   Okay.

 6               MR. GIULIANI:     Yes.
 7               MS. SCHWARTZ:     Uh-huh.     And you don't have any -- do

 8    you -- other than being a father, you don't have any, like

 9    obligations to your kids in terms of --
10               MR. FISCHOFF:     That's a lifetime obligation.
11               MR. BERGER:     I was just going to say, that's in

12    perpetuity.
13               MR. GIULIANI:     No, they're both emancipated.             So --

14               MS. SCHWARTZ:     Okay.      All right.        Good.   All right.

15    So we went over your -- okay.           I don't think you personally had
16    your initial debtor interview with my bankruptcy analyst, Mr.

17    Nadkarni, yet, right?

18               MR. BERGER:     That is correct.

19               MS. SCHWARTZ:     Okay.      So that has to take place.

20               MR. BERGER:     Okay.

21               MS. SCHWARTZ:     All right?      And I know Mr. Nadkarni

22    said that he needs certain documents and things of that nature.

23               MR. BERGER:     I will coordinate that with him.

24               MR. GIULIANI:     Could you tell me what that is?

25               MR. BERGER:     I have the list, so I'll provide it.
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 1               MS. SCHWARTZ:     Yeah, he'll -- it's called an initial

 2    debtor interview.       And it's the time at which the bankruptcy

 3    analyst, which is a staff person here, has some sort of
 4    financial degree or is a chartered accountant, and they are

 5    just going to -- it's from a -- you know, it's not U.S.

 6               MR. GIULIANI:     Right.     Got you.
 7               MS. SCHWARTZ:     And they're just going to go over what

 8    your reporting obligations are that your accountant has to set,

 9    set up different books and records.            These things are
10    important.
11               MR. GIULIANI:     Yep.

12               MS. SCHWARTZ:     And from a discussion that I had
13    yesterday with Mr. Berger and Mr. Ricci, Mr. Medrano, your

14    bookkeeper, needs to be involved in in this because it sounds

15    like all the information that Mr. Ricci is utilizing is coming
16    from Mr. Medrano.

17               MR. GIULIANI:     Pretty much.       That's correct.

18               MS. SCHWARTZ:     Yeah.      Well, that's what he said.

19               MR. GIULIANI:     A few exceptions, but yes.            A few

20    exceptions.

21               MS. SCHWARTZ:     You know --

22               MR. GIULIANI:     Might be some that comes from me.

23               MS. SCHWARTZ:     Right.     Exactly.

24               MR. GIULIANI:     But aside from --

25               MS. SCHWARTZ:     But the point is, he's a central
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 1    player.

 2               MR. GIULIANI:      Aide side from me and him, that would

 3    be --
 4               MS. SCHWARTZ:      Right.

 5               MR. GIULIANI:      And sometimes it could be Dr. Ryan or

 6    Ted if they -- if they get the information.
 7               MS. SCHWARTZ:      Okay.     Dr. Ryan?

 8               MR. GIULIANI:      Maria.

 9               MS. SCHWARTZ:      Oh, she's like part of your --
10               MR. GIULIANI:      Business, yeah.
11               MS. SCHWARTZ:      Oh, right.     She's the president.           Okay.

12    I'm sorry.
13               MR. FISCHOFF:      Not a medical doctor I don't think.

14               MS. SCHWARTZ:      Right.    No, no, no.

15               MR. GIULIANI:      No.     She's PhD and a nurse
16    practitioner.

17               MS. SCHWARTZ:      Oh, and you're okay calling her Dr.

18    Ryan?

19               MR. GIULIANI:      But she's a nurse practitioner.               She

20    ran a hospital for nine years.

21               MS. SCHWARTZ:      You missed that one.

22               MR. GIULIANI:      (Indiscernible).       I know.      I know.

23               MS. SCHWARTZ:      Okay.     All right.       So I wanted to ask

24    you about one thing that was listed on your schedule EF.                    Let's

25    find that.
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 1               MR. BERGER:      Which schedule?

 2               MR. GIULIANI:      I got it.

 3               MS. SCHWARTZ:      EF.     It was somebody you listed as a
 4    notice party.      And this is on page 6 of 7 of the initial EF.

 5               MR. GIULIANI:      Okay.

 6               MS. SCHWARTZ:      It says they're Tabner, Ryan & Keniry
 7    LLP.    I'm on page 6 of 7.

 8               MR. FISCHOFF:      The attorney for the old accountant.

 9               MR. GIULIANI:      Oh, yeah.
10               MS. SCHWARTZ:      I don't know who they are.
11               MR. BERGER:      They must be a notice party for one --

12    oh, I can tell you, go to 4.1.          So it is -- no, that can't be.
13    Oh, I can tell you go to 4.1.

14               MS. SCHWARTZ:      No.     It says line 4.1, that's

15    Smartmatic.
16               MR. BERGER:      So they could have been within --

17               MS. SCHWARTZ:      And they have attorneys, Kishner Miller

18    Himes.

19               MR. BERGER:      It could have been what we saw on it and

20    just put additional noticing based upon what we saw in the

21    complaint.     I'll double check that for you.

22               MS. SCHWARTZ:      Okay.     Well, I don't know why you did

23    what you did, but I want to know who that is.               Okay?

24               MR. BERGER:      Sure.     Usually it's the computer program,

25    but I will get that for you.
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 1               MS. SCHWARTZ:      Okay.      That's not a problem.        All

 2    right.

 3               I did have a question.         How about any trusts?         Are you
 4    a beneficiary or a grantor of any trusts?

 5               MR. GIULIANI:      No, I don't -- not that I know of.

 6               MS. SCHWARTZ:      Okay.      In the monthly operating report,
 7    it's right here, let's look at number 7, F.               I have it.        Do you

 8    have the monthly operating report?

 9               MR. GIULIANI:      I do.
10               MS. SCHWARTZ:      Okay.      This would be on page 8.
11               MR. GIULIANI:      Yep.

12               MS. SCHWARTZ:      Okay.      On page 8, part 7,
13    questionnaire, during this reporting period.                And then at

14    letter F it says were all trust fund taxes remitted on a

15    current basis.      It says yes.        So that gave me --
16               MR. GIULIANI:      Yeah.

17               MR. FISCHOFF:      That's payroll taxes.

18               MR. BERGER:      No, no.      I think that may be whether he's

19    paid New York State and the IRS.            I think that's probably why

20    he put that there.       But I can confirm that.

21               MS. SCHWARTZ:      Okay.      Well we need clarification on

22    that.

23               MR. BERGER:      I'll clarify that.

24               MS. SCHWARTZ:      Okay?

25               MR. BERGER:      Okay.
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 1               MS. SCHWARTZ:      But to your knowledge, Mr. Giuliani.

 2               MR. GIULIANI:      I don't receive any trust fund money.

 3               MS. SCHWARTZ:      And you don't -- and you're not a
 4    grantor of any trusts?

 5               MR. GIULIANI:      I am not.

 6               MS. SCHWARTZ:      You don't have any trusts set up that
 7    you're the trustee of?

 8               MR. GIULIANI:      No.

 9               MS. SCHWARTZ:      Okay.     And you're not the Trustee of
10    anybody else's trusts?
11               MR. GIULIANI:      No.

12               MS. SCHWARTZ:      Or are you an executor of any --
13               MR. GIULIANI:      I'm not.

14               MS. SCHWARTZ:      Okay.     Do you have a will?

15               MR. GIULIANI:      I do.
16               MS. SCHWARTZ:      Okay.     And you don't you don't have any

17    trust set up as part of your will?

18               MR. GIULIANI:      I'd have to look.

19               MS. SCHWARTZ:      Okay.     Why don't you follow that one

20    up?   Okay.

21               We're making it through the outline.             Okay.    Earlier

22    we talked about your businesses.          Right?     And I just want to

23    confirm a couple of things with you.

24               MR. GIULIANI:      Sure.

25               MS. SCHWARTZ:      I think you had said that really there
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 1    are only two businesses that are still functioning.                That's

 2    Giuliani Partners and Giuliani Communications.

 3               MR. GIULIANI:      Yes.
 4               MS. SCHWARTZ:      And you're the sole member of those or

 5    they're owned by another one of your entities of which you're

 6    the sole member?
 7               MR. GIULIANI:      Yes, correct.

 8               MS. SCHWARTZ:      Okay.     And the employees that we talked

 9    about were Dr. Ryan, Ted Goodman, Mike D. Lagasse or --
10               MR. FISCHOFF:      Rugosa.
11               MS. SCHWARTZ:      What?

12               MR. FISCHOFF:      Rugosa.
13               MS. SCHWARTZ:      Rugosa.    Sorry, Mike.       He's shaking his

14    head.    Hey, this is only my first time meeting you, Mike.                Give

15    me a -- give me a break.        I'm pretty good on all these names.
16               And any other employees other than you?

17               MR. GIULIANI:      Did we say Ryan?

18               MR. BERGER:      I think Ryan --

19               MR. FISCHOFF:      Kelly would be --

20               MS. SCHWARTZ:      I got Dr. Ryan.       Oh, Ryan the -- Ryan,

21    the book keeper.        Who is Kelly?

22               MR. FISCHOFF:      I got the name wrong.         Ryan the

23    bookkeeper.

24               MS. SCHWARTZ:      Ryan the bookkeeper.         Joe the

25    accountant.     And that's it, right?
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 1               MR. GIULIANI:      Yes, we got them all.

 2               MS. SCHWARTZ:      Okay.      Good.   And we already talked

 3    about Mr. Goodman.       And it appears that the communications
 4    business is profitable.        Yes?

 5               MR. GIULIANI:      Yes.      Very, just recently.

 6               MS. SCHWARTZ:      With the -- you know, your claim -- you
 7    know, your rise in popularity as America's Mayor or whatever it

 8    is you're doing.

 9               MR. GIULIANI:      It's marginally --
10               MS. SCHWARTZ:      You know I say that nicely.
11               MR. GIULIANI:      Marginally profitable.

12               MS. SCHWARTZ:      Okay.
13               MR. GIULIANI:      At this point.

14               MS. SCHWARTZ:      Okay.

15               MR. GIULIANI:      Hopefully it'll be more profitable.
16               MS. SCHWARTZ:      Okay.      Okay.   I asked you about the

17    trust.    I asked you about the contingent.               Okay.

18               Let's talk about two sources of payment, these defense

19    funds.    You know you have -- you have two at least from the

20    papers disclosed are two defense funds.

21               MR. GIULIANI:      Correct.

22               MS. SCHWARTZ:      So let's talk about.

23               MR. GIULIANI:      Those two that I know -- those are the

24    two that I know of.

25               MS. SCHWARTZ:      Okay.      Do you know of -- you don't know
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 1    of any others?

 2               MR. GIULIANI:      I don't know of any others.

 3               MS. SCHWARTZ:      Okay.     So let's start with the one
 4    that's called Giuliani Defense.          Tell me about that.

 5               MR. GIULIANI:      The older of the two?

 6               MR. FISCHOFF:      No, that's Andrew's.
 7               MS. SCHWARTZ:      That is -- your son is Andrew.           Andrew.

 8    Andrew says he's the president of Giuliani Defense.

 9               MR. GIULIANI:      Correct, right.
10               MS. SCHWARTZ:      Okay.     So tell me about that, please.
11               MR. GIULIANI:      Well, that was -- that was set up after

12    the first one.      And --
13               MS. SCHWARTZ:      Wait, wait, wait, wait.         Let's just be

14    really clear.      The first one would be the Giuliani Freedom

15    Fund?
16               MR. GIULIANI:      Correct.

17               MS. SCHWARTZ:      Okay.

18               MR. GIULIANI:      This fund of -- was set up separately

19    because Andrew funds it by holding events that I speak at or

20    maybe other people do.        And then the money is used for legal

21    defense, or, for example, it could be used for bringing

22    lawsuits like the -- that relate to the claims brought against

23    me.

24               MS. SCHWARTZ:      Now, when was this formed, or do you

25    want to start with the other one first?
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 1               MR. GIULIANI:      Well, it would be easier, but no, we

 2    might as well finish.        It was formed a little less than a year

 3    ago.
 4               MS. SCHWARTZ:      A little less than a year ago?

 5               MR. FISCHOFF:      Can I supplement his answer?

 6               MS. SCHWARTZ:      Sure.     You can sit up and supplement it
 7    so we have a good record.

 8               MR. GIULIANI:      My staff would love you.

 9               MR. FISCHOFF:      So my understanding from discussing it
10    with Andrew Giuliani, when Donald Trump said he was going to
11    hold a fundraiser to help raise legal fees for Mr. Giuliani,

12    the money went into that fund that was formed which is a
13    Federal Election Commission filing entity.               And the money from

14    that fundraiser, which was approximately 700,000 dollars, I'm

15    going from memory, but it's on the FEC's website.                If you look
16    it up, it shows all the donors and it shows all the money

17    disbursed from it.       And that's pretty much it.          And I believe

18    there's been only one fundraiser for that which all came from

19    the so-called Trump fundraiser for his benefit.

20               MS. SCHWARTZ:      This is the one -- this is the

21    100,000-dollar-a plate benefit at Bedminster Golf Club?

22               MR. FISCHOFF:      I don't know the details.

23               MS. SCHWARTZ:      Mr. Giuliani, you must be aware of

24    this.

25               MR. GIULIANI:      I'm aware of that.         I didn't realize it
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 1    was 100,000 dollars a plate.            Yes, but I --

 2               MS. SCHWARTZ:      Well, I don't know.         I thought that was

 3    reported.
 4               MR. GIULIANI:      I thought maybe 10,000.

 5               MS. SCHWARTZ:      Or maybe it was 10,000.          I don't know.

 6    Did you attend that fundraiser, Mr. Giuliani?
 7               MR. GIULIANI:      I did.     I did.     I thought there had

 8    been other occasions that they raised money as well, but you

 9    may be right.
10               MS. SCHWARTZ:      All right.      Well, I now I want to just
11    ask him now, okay?       I got --

12               MR. FISCHOFF:      Sure, okay.
13               MS. SCHWARTZ:      Okay.      So this was formed by your son?

14               MR. GIULIANI:      Yes.

15               MS. SCHWARTZ:      Okay.      And this is formed with the
16    Federal Election Commission?

17               MR. GIULIANI:      It's governed by the federal election

18    law, right.

19               MS. SCHWARTZ:      Yeah.      And I guess I have a question

20    about that, because under the federal election law, it's set up

21    as a public action committee, the Giuliani defense.

22               MR. GIULIANI:      Correct.

23               MS. SCHWARTZ:      Okay.      And you have been a candidate

24    for president, right?

25               MR. GIULIANI:      Yes.
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 1               MS. SCHWARTZ:      And you've been in public office for a

 2    long time.

 3               MR. GIULIANI:      Right.
 4               MS. SCHWARTZ:      Don't you have to be a candidate to

 5    be -- to set up a PAC?        I mean --

 6               MR. GIULIANI:      No.
 7               MS. SCHWARTZ:      -- can you -- can you --

 8               MR. GIULIANI:      Set up a PAC for issues.

 9               MS. SCHWARTZ:      You could set up a PAC for issues?
10               MR. GIULIANI:      Sure.
11               MS. SCHWARTZ:      Okay.

12               MR. GIULIANI:      Like you could set up a PAC if you
13    wanted to go -- if you wanted to go and advocate for gun rights

14    or against guns.        You could set up a PAC for abortion or

15    against abortion or -- it doesn't have to be for a specific
16    candidate.

17               MS. SCHWARTZ:      Okay.     I -- look --

18               MR. GIULIANI:      And if it's an independent PAC, then

19    the candidate can't have anything to do with the -- with the --

20    with the decisions that are made about the distribution of the

21    money.    So --

22               MS. SCHWARTZ:      What's the benefit of setting up a PAC

23    versus just a bank account?

24               MR. GIULIANI:      Because some of them -- there are all

25    different PAC laws, and some of them can get unlimited funds.
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 1    There are no limits on the amount because of the Supreme Court

 2    decision.

 3               MS. SCHWARTZ:      Okay.
 4               MR. GIULIANI:      So if you're -- the most famous one

 5    recently is the one Governor DeSantis had.               I mean, they spent

 6    100 million dollars or something.           They have to be -- they can
 7    spend it on his campaign.        He can address them and raise money

 8    for them.     But he and his campaign can't direct them what to

 9    do.   They have to make independent decisions about what --
10               MS. SCHWARTZ:      So that's an independent PAC?
11               MR. GIULIANI:      Yeah.     Every candidate now has one of

12    those.    It's sort of -- it sort of happened after I was really
13    heavily involved in politics.           But almost every -- like the

14    fundraiser that President Biden is doing tonight.                He's

15    probably going to raise money for his campaign and for his PAC,
16    but the PAC has to run independently.

17               MS. SCHWARTZ:      Are all PACs independent now?

18               MR. GIULIANI:      The ones that want to -- the ones that

19    want to be able to raise -- free the limits have to be

20    independent.

21               MS. SCHWARTZ:      Oh, free of the limits.

22               MR. GIULIANI:      Right.

23               MS. SCHWARTZ:      But if there's --

24               MR. GIULIANI:      I you want to go under the limits, it

25    doesn't matter.
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 1               MS. SCHWARTZ:      I see.

 2               MR. GIULIANI:      But if you want to -- if you want to

 3    raise money free of the limits, then you have to be able to
 4    demonstrate that you kept a line between you and the campaign.

 5               MS. SCHWARTZ:      The candidate.       I got it.

 6               MR. GIULIANI:      They can't be consulting with each
 7    other.

 8               MS. SCHWARTZ:      Okay.     So this one, Giuliani Defense,

 9    was permissible because the issue was your defense?
10               MR. GIULIANI:      Correct, and also the integrity of
11    elections.     And that's why we can use it to bring lawsuits

12    about the integrity of elections or --
13               MS. SCHWARTZ:      Or defense.

14               MR. GIULIANI:      Or defense of people who are charged.

15               MS. SCHWARTZ:      Targeted or whatever.
16               MR. GIULIANI:      Right, correct.

17               MS. SCHWARTZ:      I see, okay.      And I --

18               MR. GIULIANI:      Now, Andrew is much more familiar with

19    it than I am.

20               MS. SCHWARTZ:      Okay.

21               MR. GIULIANI:      I'm telling you sort of more of my

22    general knowledge of these things.

23               MS. SCHWARTZ:      Right.

24               MR. GIULIANI:      But that I'm sure that's the way it was

25    set up.
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 1               MS. SCHWARTZ:      Well, I think also probably Mr.

 2    Fischoff knows about it as well, because part of his legal fees

 3    are being paid by at least that fund and maybe others.
 4               MR. GIULIANI:      Correct, right.

 5               MS. SCHWARTZ:      Right.    And do you know how much money

 6    is left in fund?        Are you aware?
 7               MR. FISCHOFF:      I'm not exactly sure.         So I don't want

 8    to --

 9               MS. SCHWARTZ:      Well, you can just look it up on the --
10    right?    They have to do public reporting, right?
11               MR. FISCHOFF:      Yeah, right, it's there.

12               MR. GIULIANI:      We could call him and ask him.           He
13    would tell us.

14               MS. SCHWARTZ:      Right.    Well, I guess you could just

15    ask Andrew.
16               MR. FISCHOFF:      I think the --

17               MR. GIULIANI:      Yeah, yeah, he would tell us.

18               MR. FISCHOFF:      I think there's around 200,000, but I'm

19    only --

20               MR. GIULIANI:      That sounds about right.

21               MR. FISCHOFF:      -- going by my recollection.           But --

22               MR. GIULIANI:      Probably I would say between 100- to

23    200-.

24               MS. SCHWARTZ:      Okay.     And then there's the Rudy

25    Giuliani Freedom Fund.        It has a longer title.         Oh, yes, the
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 1    Giuliani Freedom Fund Legal Defense Fund TR fund.                Why don't

 2    you tell me about that?

 3               MR. FISCHOFF:      Trust fund.
 4               MS. SCHWARTZ:      Why don't you tell me about that?

 5               MR. GIULIANI:      Sure.     That's about two and a half

 6    years old.     And that's that is run by Jake Menges, M-E-N-G-E-S.
 7    And they -- it's similar.        It's a similar fund, but they're --

 8    they do -- they do periodic fundraising.             For example, they did

 9    a whole program with Newsmax to raise money for my defense.
10    And they've done mailings.         And it's a little more of a
11    multifaceted --

12               MS. SCHWARTZ:      Now that's a trust fund did you say,
13    Mr. Fischhoff?

14               MR. FISCHOFF:      I sent you, I believe, the formation

15    documents.     It's --
16               MS. SCHWARTZ:      oh, I may not have seen that yet.

17               MR. FISCHOFF:      It's set up as a trust.         And it raises

18    money from small donors --

19               MS. SCHWARTZ:      Oh, I see --

20               MR. FISCHOFF:      -- as opposed to the Giuliani Defense.

21    If you look at the FEC website, there were maybe a dozen

22    donors.

23               MS. SCHWARTZ:      Oh, okay.

24               MR. FISCHOFF:      This raises, does mass emails and so

25    forth, and gets checks for ten, twenty, 100 dollars.
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 1               MS. SCHWARTZ:      So who's Jake Menges?

 2               MR. GIULIANI:      Jake is a very close friend of mine.

 3    He was also -- he was also the head of legislative affairs when
 4    I was the mayor.        He was very -- he was one of the campaign

 5    coordinators of my presidential campaign.                 He's a close friend

 6    and associate.
 7               MS. SCHWARTZ:      Okay.

 8               MR. GIULIANI:      And very -- and very involved in

 9    politics.
10               MS. SCHWARTZ:      Okay.      All right.       And --
11               MR. GIULIANI:      And he lives in Florida.

12               MS. SCHWARTZ:      Okay.      And he lives in Florida.            Okay.
13    Now you have a number of lawsuits that you are currently named

14    as a defendant in.

15               MR. GIULIANI:      Yes.      Yes, ma'am.
16               MS. SCHWARTZ:      Do you enjoy that?

17               MR. GIULIANI:      No, I don't.       That was a sarcastic

18    grin, not a happy one.

19               MS. SCHWARTZ:      Well, the reason I said that is because

20    I have had -- I wasn't always in public service.                   I was in

21    private practice for a long time.            And I had a client who I

22    felt was -- you know, he enjoyed what I called recreational

23    litigation.

24               MR. GIULIANI:      I enjoy litigation, but I don't enjoy

25    these lawsuits.
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 1               MS. SCHWARTZ:      No, okay.     So let's just run --

 2               MR. GIULIANI:      When I was mayor, I had many more

 3    though.
 4               MS. SCHWARTZ:      Okay.     Well, so --

 5               MR. GIULIANI:      Almost 100,000.

 6               MS. SCHWARTZ:      Lawsuits.
 7               MR. GIULIANI:      Yeah.

 8               MS. SCHWARTZ:      Well, look, we have to be grateful for

 9    things, right?
10               MR. FISCHOFF:      Yeah, I -- I have a --
11               MS. SCHWARTZ:      All right.     So you've got --

12               MR. GIULIANI:      -- about as positive an attitude.
13               MS. SCHWARTZ:      Let's discuss.       Here we go.     You've got

14    the Smartmatic litigation.         Who's representing you in that?

15               MR. GIULIANI:      That's
16               MS. SCHWARTZ:      Joe Sibley?

17               MR. GIULIANI:      Joe Sibley is representing me in that.

18               MS. SCHWARTZ:      And what's the -- what's the nature of

19    that?

20               MR. GIULIANI:      That's similar to Dominion.          They're a

21    company that that was involved in vote counting.                They've

22    worked with Dominion in the past.           Frankly, my involvement in

23    that case is pretty minimal compared to the other people that

24    are involved in it.       I didn't really say much about them.             But

25    they are -- I mean, they're basically alleging the same thing,
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 1    that they were falsely accused of having -- of doing a vote

 2    fraud --

 3               MS. SCHWARTZ:      Okay.
 4               MR. GIULIANI:      -- that their machine is vulnerable --

 5               MS. SCHWARTZ:      Do you know what the --

 6               MR. GIULIANI:      -- to penetration by the internet, that
 7    their machine is vulnerable to changing the vote.                They claim

 8    that that's not true.        And the group of people they're suing in

 9    one way or another have alleged that.
10               MS. SCHWARTZ:      All right.     And do you know what --
11               MR. GIULIANI:      And I'm one of them.

12               MS. SCHWARTZ:      -- the current posture of that is?
13               MR. GIULIANI:      It's still at the discovery.           I they I

14    believe they've taken my deposition.

15               MS. SCHWARTZ:      Well, wouldn't you know if they took
16    your depositions.

17               MR. GIULIANI:      Well, I've done four depositions.            I

18    can't remember exactly --

19               MS. SCHWARTZ:      Oh, okay.

20               MR. GIULIANI:      Coomer --

21               MS. SCHWARTZ:      I know it's going on for a while but --

22               MR. GIULIANI:      Dominion has never taken my deposition.

23               MS. SCHWARTZ:      No, no.     I mean, our examination here.

24               MR. GIULIANI:      Right.

25               MS. SCHWARTZ:      I believe they took my deposition --
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 1               MR. GIULIANI:      Yeah, I believe -- I'm pretty sure they

 2    did.    Smartmatic has taken my deposition and Coomer.

 3               MS. SCHWARTZ:      Okay.
 4               MR. GIULIANI:      But Dominion has never taken my

 5    deposition.

 6               MS. SCHWARTZ:      And how about Momentum?         What's that
 7    lawsuit against -- about?        Momentum Telecom or something like

 8    that?

 9               MR. FISCHOFF:      That's just a lawsuit for --
10               MR. BERGER:      I think a phone.
11               MR. FISCHOFF:      -- invoices, phone, fees.

12               MS. SCHWARTZ:      Okay.     And that was what kind of
13    company?

14               MR. FISCHOFF:      Phone service I believe.

15               MS. SCHWARTZ:      Okay.
16               MR. BERGER:      There was a law firm.        I think it was a

17    phone service.

18               MS. SCHWARTZ:      It's a collection on a debt?

19               MR. BERGER:      Correct.

20               MS. SCHWARTZ:      Okay.

21               MR. BERGER:      Correct.

22               MS. SCHWARTZ:      Dominion, we know what that is.

23               MR. GIULIANI:      Dominion is --

24               MS. SCHWARTZ:      Very similar --

25               MR. GIULIANI:      -- I think a version of Smartmatic.
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 1               MS. SCHWARTZ:      Okay.     And then we've got Hunter Biden.

 2               MR. GIULIANI:      Hunter Biden is a recent one.            Those

 3    others go back quite a bit.
 4               MS. SCHWARTZ:      Okay.

 5               MR. GIULIANI:      Hunter Biden is a recent lawsuit

 6    against me and Bob Costello, my lawyer at the time.                 I don't
 7    remember if he includes the president in that or not.                  But in

 8    any event, he's claiming -- he's claiming that we lied about

 9    that --
10               MS. SCHWARTZ:      That's -- I know.          That's computer
11    fraud and --

12               MS. SCHWARTZ:      He's claiming that we lied about the
13    hard drive.

14               MS. SCHWARTZ:      Yeah.

15               MR. GIULIANI:      I mean, he's claiming that we hacked
16    and all sorts of crazy stuff.

17               MS. SCHWARTZ:      Now, in that one, Sibley is

18    representing you, right?

19               MR. GIULIANI:      He is, yes.

20               MS. SCHWARTZ:      Okay.     And Bob Costello, he comes up a

21    bunch in, you know --

22               MR. GIULIANI:      Well, Bob is an individual defendant in

23    that case.

24               MS. SCHWARTZ:      Right.    And he's your friend?

25               MR. GIULIANI:      Yes.
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 1               MS. SCHWARTZ:      Remains good friends?

 2               MR. GIULIANI:      Yes.

 3               MS. SCHWARTZ:      Even though his law firm is a big
 4    creditor?

 5               MR. GIULIANI:      I've known him way too long for that

 6    to --
 7               MS. SCHWARTZ:      Okay.

 8               MR. GIULIANI:      He was my -- he was my first student

 9    assistant when I was a U.S. attorney, Assistant U.S. Attorney
10    when he was at Fordham Law School.
11               MS. SCHWARTZ:      Okay.     And then you -- I think in that

12    Biden lawsuit, it's at the stage of motion to dismiss.                 At
13    least I saw a motion to dismiss filed for the -- not you, but

14    for the other defendants, the other Giuliani defendants and --

15               MR. FISCHOFF:      I believe all the nondebtor defendants.
16               MS. SCHWARTZ:      Right, yeah.      Because of the stay.

17               MR. FISCHOFF:      Because of the stay and the debtor

18    (indiscernible).

19               MS. SCHWARTZ:      Okay.     Now then there's a lawsuit by

20    Nicole (sic) Dunphy.        Want to talk about that?

21               MR. GIULIANI:      Sure.     Should I?

22               MR. BERGER:      Yes.

23               MR. FISCHOFF:      Talk to the --

24               MS. SCHWARTZ:      Oh, yeah, yeah.       Go ahead.     I'm sorry.

25    Try to stay with me, guys, because it's a long meeting.                    And
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 1    then we have --

 2               MR. GIULIANI:      That is a completely scandalous,

 3    frivolous lawsuit.
 4               MS. SCHWARTZ:      Yeah.     But what is --

 5               MR. GIULIANI:      That should be -- that should be

 6    dismissed because she brings these lawsuits against people to
 7    shake them down for money.

 8               MR. BERGER:      Why don't you just tell her what the

 9    complaint alleges?
10               MR. GIULIANI:      The complaint alleges -- the complaint
11    alleges -- I'm not even.        I can't even remember exactly, but it

12    alleges some kind of sexual harassment.             It alleges that she
13    was an employee of Giuliani Partners, which she was.                 And it

14    wants money.

15               MS. SCHWARTZ:      Okay.
16               MR. GIULIANI:      And this this this is a woman who was

17    shaking people down for money for the last ten years, including

18    a million dollars from someone where she claims she was raped.

19    And her ex-husband is willing to testify that she does this for

20    a living.     And it's a horrible lawsuit.

21               MS. SCHWARTZ:      Okay.     I'm not trying to get you upset.

22    So --

23               MR. GIULIANI:      Well, I am upset because it really is a

24    horrible lawsuit.

25               MS. SCHWARTZ:      Okay.     But you just have to briefly
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 1    tell me what it is.       And do you know what the status is at this

 2    time?

 3               MR. GIULIANI:      The judge who had the case, is.
 4               MS. SCHWARTZ:      It a state court.

 5               S9:    Case?   Yes.

 6               MR. GIULIANI:      The judge who has the case --
 7               MS. SCHWARTZ:      Is it a state court case?

 8               MR. GIULIANI:      Yes.      The judge who's got the case has

 9    gotten rid of it.       He doesn't want it or she doesn't want it.
10    And we're getting -- they're getting another judge.
11               MS. SCHWARTZ:      Are they transferring it?

12               MR. GIULIANI:      Yeah.
13               MS. SCHWARTZ:      Okay.

14               MR. GIULIANI:      I mean, it should --

15               MS. SCHWARTZ:      Did you file answer in that case?
16               MR. GIULIANI:      We did file an answer.

17               MS. SCHWARTZ:      And who's representing you there?

18               MR. GIULIANI:      Adam Katz.

19               MR. FISCHOFF:      It's stayed for now.

20               MS. SCHWARTZ:      Well, okay.      But I'm just saying that's

21    another lawyer, guys.

22               MR. FISCHOFF:      If he's going to work.

23               MS. SCHWARTZ:      That's right.       Okay.     All right.      And

24    what about the Gill case?

25               MR. GIULIANI:      That's -- Adam also was involved in
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 1    that case.     And that's the case of someone who hit me, slapped

 2    me on the back.         And I filed a complaint against him.           Well, I

 3    didn't file the complaint.           I complained to him, complained to
 4    the police     in Staten Island that he did it and they should

 5    look into it, and they arrested him.             And he claims that it's a

 6    false -- it's a false arrest claim.
 7               MS. SCHWARTZ:       Okay.     So that would be against the New

 8    York Police, right?        False arrest?

 9               MR. GIULIANI:       No, well, me too.
10               MS. SCHWARTZ:       Oh.
11               MR. GIULIANI:       Because he says I -- even though I

12    wasn't a complainant, they were the complainant, that I
13    instigated the complaint.

14               MS. SCHWARTZ:       Okay.     And do you know what the status

15    of that is?
16               MR. GIULIANI:       We've answered.

17               MS. SCHWARTZ:       You're in discovery?

18               MR. GIULIANI:       Yes.

19               MS. SCHWARTZ:       How about Kumar?       What's that case

20    about?

21               MR. GIULIANI:       Kumar is a --

22               MS. SCHWARTZ:       And who is Eric Kumar?

23               MR. GIULIANI:       Eric Kumar was a former high-level

24    employee of Dominion in Colorado because the case is in

25    Colorado who is suing a group of people, including me, for
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 1    having allegedly defamed him in saying that things he -- he had

 2    a -- I guess in those days a Twitter account, now X.                 And in

 3    that account --
 4               MS. SCHWARTZ:      You're so hip.

 5               MR. GIULIANI:      In that account.       In that account, he

 6    had made a number of derogatory statements about Candidate
 7    Trump.    And he also was a high executive of Dominion, which is

 8    alleged to have machines that are highly susceptible to having

 9    the vote changed.       They deny that.        Lots of reports say it's
10    true.    A movie that was done demonstrates it.             So it's a very
11    contentious issue.       And he claims that he was personally

12    defamed.     That is now -- there's a motion to dismiss pending.
13    So that's stage there --

14               MS. SCHWARTZ:      And who's representing you there, Mr.

15    Sibley?
16               MR. GIULIANI:      Yeah.     Yes.    And we have local counsel.

17               MS. SCHWARTZ:      Who is that?

18               MR. GIULIANI:      Gosh, I'd have to --

19               MS. SCHWARTZ:      All right.

20               MR. GIULIANI:      Joe handles that part.

21               MS. SCHWARTZ:      Okay.     But what I'm saying is, and I'm

22    trying to share this with your lawyers as well, they're aware

23    that by filing the bankruptcy, claims against you are stayed.

24    But there's a lot of lawsuits out there.             And to the extent

25    that anything is going to go forward in any of these
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 1    lawsuits --

 2               MR. BERGER:      We will bring in our applications.

 3               MS. SCHWARTZ:      -- we have to have a retention
 4    application --

 5               MR. BERGER:      Correct.

 6               MS. SCHWARTZ:      -- because nobody gets to represent
 7    you, irrespective of the fact of whether or not somebody else

 8    is paying for it has to go through the Bankruptcy Court.

 9               MR. GIULIANI:      Got you.    Yes.
10               MS. SCHWARTZ:      All right.     And the Davidson Hutcher --
11               MR. GIULIANI:      The status of that is, at least with

12    regard to me, that discovery is over.            And it's at the stage of
13    a motion to dismiss.

14               MS. SCHWARTZ:      Okay.     And then Davidson Hutcher,

15    that's a law firm.       And that's for unpaid legal fees to Mr.
16    Costello?

17               MR. GIULIANI:      Yes.

18               MS. SCHWARTZ:      Okay.     Then you've got a couple of

19    grievance proceedings going on, right?

20               MR. GIULIANI:      True.

21               MS. SCHWARTZ:      Two of them.       Now that's for New York

22    and DC?

23               MR. GIULIANI:      Correct.

24               MS. SCHWARTZ:      And are those the only places that

25    you're admitted, jurisdiction?
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 1               MR. GIULIANI:      Yes, yes, yes.

 2               MS. SCHWARTZ:      All right.

 3               MR. GIULIANI:      Those are the only states, right.
 4               MS. SCHWARTZ:      Only states.

 5               MR. GIULIANI:      Federal.

 6               MS. SCHWARTZ:      I mean, you're -- I would imagine
 7    you're admitted in other courts.

 8               MR. GIULIANI:      Correct, correct.

 9               MS. SCHWARTZ:      Right, okay.      Okay.     So now this --
10    these proceedings are being handled by the Aidala firm?
11               MR. GIULIANI:      Correct.    They're handling --

12               MS. SCHWARTZ:      And who is it there that's representing
13    you?

14               MR. GIULIANI:      Well, Arthur is --         Arthur Aidala is

15    generally in charge.        Judge Kamins, Barry Kamins.
16               MS. SCHWARTZ:      I spoke to him one day.         And then who

17    is John Leventhal?

18               UNIDENTIFIED SPEAKER:        John Leventhal.

19               MR. GIULIANI:      Oh, John Leventhal.         They're co-

20    counsel, former Judge John Leventhal.

21               MS. SCHWARTZ:      I know.    Honorable John Leventhal

22    retired.     I know.

23               Okay.    And so now these proceedings, that happened in

24    2021, right?      You said that you were unable to continue to

25    practice?
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 1               MR. GIULIANI:      Well, New York did something very

 2    unusual.     They suspended me without a hearing based on the fact

 3    that they say I'm a danger of -- I'm a danger to the public,
 4    and therefore in my practice of law.            I think it was it was

 5    somehow tied up to the January 6th situation.

 6               MS. SCHWARTZ:      Oh.
 7               MR. GIULIANI:      But they don't -- but they don't seem

 8    to recognize the fact that a federal judge in the District of

 9    Columbia has dismissed that case against me, finding that I
10    said or did nothing to instigate violence.               In fact, the judge,
11    who I should note was an Obama appointee and I never expected

12    he would do this opinion, wrote an opinion saying it's -- the
13    allegations against me are irrational or unreasonable or

14    unsubstantiated because they are.           I had nothing to do with

15    January 6th.
16               MS. SCHWARTZ:      So are you saying that --

17               MR. GIULIANI:      I'm being suspended for no reason.

18               MS. SCHWARTZ:      All right.     Hang on.      Are you saying

19    that someone brought a grievance -- wait a second.                You got

20    sued in DC?     Is that what you're saying?          And then you said

21    they dismissed the case.

22               MR. GIULIANI:      Well, there were -- two private

23    individuals filed copious complaints with the bar association.

24               MS. SCHWARTZ:      The New York or --

25               MR. GIULIANI:      New York and Washington separately.
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 1               MS. SCHWARTZ:      Okay.

 2               MR. GIULIANI:      The one in Washington --

 3               MS. SCHWARTZ:      DO you know those people?
 4               MR. GIULIANI:      I do not.     They're political activists.

 5               MS. SCHWARTZ:      Okay.

 6               MR. GIULIANI:      And like the one in Washington is
 7    pretty much based on my handling -- I handled one case in

 8    court, and that was the case in Pennsylvania.               And the

 9    allegations are that I lied to the court.
10               MS. SCHWARTZ:      And when you say the case, is this like
11    a voter case?      Was that what it was about?

12               MR. GIULIANI:      It was -- the case in Pennsylvania was
13    a challenge to the integrity of the election in Pennsylvania.

14               MS. SCHWARTZ:      Okay.

15               MR. GIULIANI:      And I argued the case at the last
16    minute because the lawyer who was supposed to do it had been

17    threatened and had to leave the case.

18               MS. SCHWARTZ:      Okay.

19               MR. GIULIANI:      And I --

20               MS. SCHWARTZ:      And this is when you were heading up

21    that team?

22               MR. GIULIANI:      Yeah.     I wasn't supposed to argue

23    cases.    I was supposed to -- but I went and argued it myself.

24    And this -- nobody involved in the case has complained.                    The

25    judge didn't -- the judge dismissed the case, but he didn't
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 1    find that I did anything wrong.

 2               MS. SCHWARTZ:      I see.

 3               MR. GIULIANI:      My opponents didn't file anything
 4    against me that I did anything wrong.            But an outside --

 5               MS. SCHWARTZ:      A third party.

 6               MR. GIULIANI:      A third party, political activist,
 7    filed a complaint against me alleging that all these things

 8    that I said were untrue during the case.             And the D.C. bar

 9    began a --
10               MS. SCHWARTZ:      An inquiry?
11               MR. GIULIANI:      An inquiry based on that and did

12    massive discovery.       We've had --
13               MS. SCHWARTZ:      The D.C. bar did massive discovery?

14               MR. GIULIANI:      Well, whoever they hired to do it.           And

15    then we had a -- we had a deposition.            And then we had a
16    hearing.     And they have to make recommendations.             The group,

17    the group of lawyers that was put together to listen to the

18    hearing have to make recommendations on whether I should be

19    disbarred or not.       And I don't know if it's formal or not, but

20    it's our understanding that they're really waiting to see what

21    New York does because that's my primary --

22               MS. SCHWARTZ:      Jurist bar.

23               MR. GIULIANI:      Bar, right.     New York also began with a

24    letter from an outside person, wasn't just focused on the

25    Pennsylvania case.       It was focused on all the cases claiming
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 1    that I participated with President Trump in fraud in making all

 2    of these allegations in the cases where I represented him and

 3    then also that I -- that I helped to instigate January 6th.
 4               The only piece of evidence that would support that is

 5    I made a statement when I spoke on January 6th saying we should

 6    have a trial by combat, but the press -- ah, see how you got
 7    all upset?     The press -- of course --

 8               MS. SCHWARTZ:      I didn't get upset.        I just --

 9               MR. GIULIANI:      Let me just tell you --
10               MS. SCHWARTZ:      -- found it to be surprising.
11               MR. GIULIANI:      -- that what the problem was -- and we

12    had an exceedingly fair judge who doesn't fall into the
13    category of judges where now you can figure out how they're

14    going decide before you get in front of them.               The judge

15    dismissed the case because they leave out of that analysis that
16    before and after I said trial by combat, I was talking about

17    taking the two machines and comparing them to each other

18    scientifically.

19               MS. SCHWARTZ:      Oh, so you were talking about the

20    combat --

21               MR. GIULIANI:      The machines.

22               MS. SCHWARTZ:      -- by machines?

23               MR. GIULIANI:      Yeah, yeah.     But they leave out.          That

24    press leaves that out.        And the New York bar left it out.             And

25    I never had a hearing, so I couldn't explain it.                And they     --
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 1               MS. SCHWARTZ:      So you're saying that the New York bar

 2    heard you say -- heard that you said that, didn't have an

 3    investigation, and just based on that statement --
 4               MR. GIULIANI:      Right, correct.       Well, no, that based

 5    on a lot of other --

 6               MS. SCHWARTZ:      Oh, there were other things too.
 7               MR. GIULIANI:      -- equally untrue that came from a

 8    outsider to the.

 9               MS. SCHWARTZ:      A third party?
10               MR. GIULIANI:      A third party.
11               MS. SCHWARTZ:      That didn't know you?

12               MR. GIULIANI:      Didn't know me, wasn't involved in the
13    case, and was doing it for political reasons.

14               MS. SCHWARTZ:      And so now --

15               MR. GIULIANI:      I think I'm the only person -- I mean,
16    during this period of time, we've had lawyers that have shot

17    people, run people over who really are a danger, who are still

18    practicing law.

19               MS. SCHWARTZ:      You wouldn't want that to be the high

20    water mark.

21               MR. GIULIANI:      No.   But I can't imagine why they

22    suspended me and keep me suspended.           I mean, among other

23    things, even if I had said that, since then nothing has

24    happened.     And I've been talking all this time.            I haven't --

25    the theory was if I practice law, I would instigate violence.
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 1    Well, I've been on the radio and television saying all the

 2    things I would say if I was practicing law and more, and

 3    there's been no violence.        Plus the statement is fraudulently
 4    presented because it doesn't explain that trial by combat means

 5    a comparison of two machines.           I said it before.       I said it

 6    after.    And the judge also noted the reaction of the crowd at
 7    the time was not the reaction of a crowd that was in any way

 8    instigated to violence.

 9               MS. SCHWARTZ:      All right.
10               MR. GIULIANI:      The judge's opinion was extraordinary.
11               MS. SCHWARTZ:      So you're basically just -- when you

12    say the judge's opinion, I'm just lost on what lawsuit this
13    was.

14               MR. GIULIANI:      Okay.     I was sued in Washington, D.C.

15    by the January 6th Committee.
16               MS. SCHWARTZ:      Oh, I see.

17               MR. GIULIANI:      And so was Trump and so was Donald

18    Trump, Jr.     And the judge dismissed the case, the January 6th

19    Committee case against me and against Donald Trump, Jr.

20               MS. SCHWARTZ:      I see.

21               MR. GIULIANI:      There's a case against the president

22    that may still be going on.

23               MS. SCHWARTZ:      I see.

24               MR. GIULIANI:      Because the judge found that we didn't

25    do or say anything that had anything to do with what happened
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 1    on January 6th.

 2               MS. SCHWARTZ:      And who represented you there?

 3               MR. GIULIANI:      That that case was -- I think Bob
 4    Castello.

 5               MS. SCHWARTZ:      Oh, Bob Castello?

 6               MR. GIULIANI:      I think he did.        Yeah, yeah.
 7               MS. SCHWARTZ:      All right.      So right now, as far as the

 8    grievance actions are -- you just don't know.

 9               MR. GIULIANI:      And Sibley.
10               MS. SCHWARTZ:      And Sibley.
11               MR. GIULIANI:      Both of them.

12               MS. SCHWARTZ:      But I'm saying they're just pending.
13    Isn't that right?

14               MR. GIULIANI:      Which --

15               MS. SCHWARTZ:      Both grievance.
16               MR. GIULIANI:      Well, they're pending, but they've

17    been -- they're the investigation and trial is over with in New

18    York, but they're pending in front of a hearing.                 It was tried

19    to a hearing officer who has to now make a recommendation.

20               MS. SCHWARTZ:      So it's all done; now you're just

21    waiting for the recommendation?

22               MR. GIULIANI:      Yes.      And I'm pretty sure that's true

23    in DC too.     That would be the same thing in DC.

24               MS. SCHWARTZ:      That's your understanding?           That's your

25    understanding?
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 1               MR. FISCHOFF:      I understand we're waiting for it to

 2    termination in both proceedings.

 3               MS. SCHWARTZ:      Okay.     All right.       Now I have just
 4    some -- like, I have single like one-off questions on your --

 5               MR. FISCHOFF:      Lighting round?

 6               MS. SCHWARTZ:      Yeah, this is the lighting round.             No,
 7    not really, not really.        Okay.

 8               Let's take a look at I and J.           That's really where I

 9    want to focus now.       that's income and expenses.           All right.    So
10    let's take a look at that.          Okay.     And I don't -- did you amend
11    I and J?     I can't remember.

12               MR. BERGER:      No.
13               MR. FISCHOFF:      No.

14               MS. SCHWARTZ:      Okay.     So you didn't amend I and J.

15    All right.     So on schedule I that's your income, right?
16               MR. GIULIANI:      Yes.

17               MS. SCHWARTZ:      It says you may have no income but

18    that's not really accurate because you make income from --

19               MR. BERGER:      Go to 8 which is --

20               MS. SCHWARTZ:      Number 8?

21               MR. BERGER:      -- which we do through operation of

22    business since he's not a W-2, since he's --

23               MS. SCHWARTZ:      Slowly, slowly, and you have to speak

24    up, please.

25               MR. BERGER:      Sure.     Sure.    So we listed the income
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 1    that he gets through Giuliani Partners and Giuliani

 2    Communications on 8A since it's from an operation of a

 3    business.     That's why it's not listed as gross monthly salary
 4    and commission.

 5               MS. SCHWARTZ:       Okay.     So you get it as net income from

 6    operating a business.
 7               MR. BERGER:       Correct.

 8               MS. SCHWARTZ:       1,540.    That's what you get a month,

 9    Mr. Giuliani?
10               MR. GIULIANI:       That's -- yeah, it varies.          But yeah,
11    that's -- that's -- that would be the average for the last

12    year.
13               MS. SCHWARTZ:       Okay.     I want you guys to listen to me.

14    I want you to go -- and after today's meeting, I want you to

15    have a discussion with Mr. Ricci about that because on another
16    document he filed, he showed an annual income of that,

17    Communications of, like, close to 500,000 dollars.

18               MR. FISCHOFF:       That's gross revenue.

19               MR. BERGER:       That's gross.

20               MS. SCHWARTZ:       I know what it is.         I read it.    But

21    what I'm saying is I want you guys to go back and make sure

22    that that number is accurate.

23               MR. GIULIANI:       Okay.     That makes sense, yeah.

24               MS. SCHWARTZ:       All right.     And that's your social

25    security, 4565.         Mr. Berger explained to me RMD is your
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 1    required minimum distribution and so forth.                Okay.

 2               MR. FISCHOFF:      (Indiscernible) if you see.

 3               MS. SCHWARTZ:      I don't know what that exactly means,
 4    but I'm grateful for that because I understand that something

 5    that only when you get to a certain age --

 6               MR. BERGER:      You have to start taking it or the
 7    government comes after you.

 8               MR. FISCHOFF:      More than is --

 9               MR. BERGER:      Required minimum distribution.
10               MS. SCHWARTZ:      Oh, because you needed to take it.
11               MR. BERGER:      You need to take that --

12               MR. FISCHOFF:      (Indiscernible) --
13               MR. GIULIANI:      (Indiscernible) --

14               MR. FISCHOFF:      RMD might only be --

15               MS. SCHWARTZ:      I don't know.
16               MR. FISCHOFF:      -- 50,000 a year.          He's taking --

17               MR. BERGER:      Substantially more.

18               MS. SCHWARTZ:      I know my father of blessed memory had

19    to do that.     So --

20               MR. GIULIANI:      That's a beautiful expression.            I love

21    it.

22               MS. SCHWARTZ:      Well, I loved him very much.

23               Okay.    Okay.    Let's go to these expenses, because

24    that's really -- I've got some questions about your expenses,

25    in fairness, sir.
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 1               MR. GIULIANI:      Sure.

 2               MS. SCHWARTZ:      Okay?

 3               MR. GIULIANI:      Sure.
 4               MS. SCHWARTZ:      All right.     So okay.      You indicate

 5    you've got your homeowner's association and condominium dues

 6    10,934, right?      That's for the Florida condo; is that right?
 7               MR. BERGER:      No.     No, that is for the Manhattan

 8    property.     If you go to number 20 which talks --

 9               MS. SCHWARTZ:      No, I don't want to go there yet.
10               MR. BERGER:      Okay.     I'm just --
11               MS. SCHWARTZ:      I don't want to go there yet because it

12    says homeowner's association or condominium dues.                The
13    apartment in New York is a condo.

14               MR. GIULIANI:      No, apartment is a co-op.          The

15    apartment in Florida is a condo.
16               MS. SCHWARTZ:      Yeah, that's what I thought.           So this

17    would -- so as I would have understood it, the co-op has

18    maintenance fees.       They don't have condo association fees.

19               MR. GIULIANI:      Correct.

20               MS. SCHWARTZ:      Correct?

21               MR. BERGER:      Well, it's homeowner's associations.           I

22    think it's set up there.

23               MS. SCHWARTZ:      It's not a homeowner's association at a

24    co-op.

25               MR. BERGER:      I understand that, but there's not -- if
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 1    you look at the question, there's not a specific co-op fee.

 2    So --

 3               MS. SCHWARTZ:      Well, then you need to make a notation
 4    because that's just not accurate.           And not only me, but the

 5    public has to be able to look at this and understand it.

 6               MR. GIULIANI:      But I make out the check to 45 East
 7    66th Street Owners Association.

 8               MS. SCHWARTZ:      All right.     Well, double check that.

 9               MR. GIULIANI:      So that's why -- that's why --
10               MR. BERGER:      That's why --
11               MS. SCHWARTZ:      Okay?     Because it's not clear --

12               MR. BERGER:      -- we put it there.
13               MR. GIULIANI:      I'm just saying, that can be confusing.

14               MS. SCHWARTZ:      Okay.

15               MR. GIULIANI:      That's fine.
16               MS. SCHWARTZ:      It is.    It is.

17               MR. GIULIANI:      Yeah.

18               MS. SCHWARTZ:      That's where I'm coming from.           It is

19    confusing.

20               MR. BERGER:      We will --

21               MS. SCHWARTZ:      Now, you filed --

22               MR. GIULIANI:      But definitely --

23               MS. SCHWARTZ:      -- the amended SOFA.         I want to look at

24    that.

25               MR. GIULIANI:      Correct.
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 1               MS. SCHWARTZ:       Where is that?        That's where you have

 2    the ninety-day transfers.

 3               MR. BERGER:       Correct.
 4               MS. SCHWARTZ:       Right?     All right.       Let's stay here for

 5    a minute, okay, just on your expenses.               All right.      And the

 6    reason I'm saying this is because it appears that the expenses
 7    you've listed here don't track the transfers that have been

 8    made in the past ninety days, so I want to go over that.

 9               MR. GIULIANI:       Okay.
10               MS. SCHWARTZ:       All right.      So now you've got here
11    utilities, 550.         Is that for New York or is that for Florida?

12               MR. GIULIANI:       Could I see it?
13               MS. SCHWARTZ:       Just page 2 of your expenses.

14               MR. FISCHOFF:       If you look at 21, it specifies Florida

15    utilities.
16               MR. GIULIANI:       This all New York.

17               MS. SCHWARTZ:       Okay.

18               MR. GIULIANI:       This is New York, yes.

19               MS. SCHWARTZ:       So that's New York, right?            Okay.

20               MR. GIULIANI:       (Indiscernible).

21               MS. SCHWARTZ:       Okay.      And telephone, your telephone

22    bill is 267 dollars a month?

23               MR. GIULIANI:       Well, could I explain something?

24               MS. SCHWARTZ:       Yes.      I would like      you to.

25               MR. GIULIANI:       Overview of all the expenses.            Until
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 1    now, I paid a lot of business expenses.             Always have because

 2    they're my businesses.        I pay them out of my personal account.

 3    And I'm really not good about getting reimbursement for them
 4    because they were my businesses.          So for example --

 5               MS. SCHWARTZ:      Well, it's like six of one, half dozen

 6    of another, right?
 7               MR. GIULIANI:      Yeah.     For example, a lot of the

 8    equipment that I use --

 9               MS. SCHWARTZ:      For the podcast and the radio.
10               MR. GIULIANI:      For the -- right.          A lot of it -- I
11    mean, some of it's from ABC, the Comcast.

12               MS. SCHWARTZ:      Yeah.
13               MR. GIULIANI:      But the cameras, I bought all those.

14               MS. SCHWARTZ:      Mics.

15               MR. GIULIANI:      Yeah, I bought them personally.               And
16    I --

17               MS. SCHWARTZ:      And you could have actually bought them

18    through Giuliani Communications --

19               MR. GIULIANI:      I should have.

20               MS. SCHWARTZ:      -- is what you're saying?

21               MR. GIULIANI:      I probably should have.          Even to keep

22    record of it, I should have.

23               MS. SCHWARTZ:      Okay.

24               MR. GIULIANI:      But I --

25               you know, it was a different period of time.                I was
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 1    making unlimited amounts of money.

 2               MS. SCHWARTZ:      Right.

 3               MR. GIULIANI:      And it almost seemed like, well, this
 4    is a nice thing, I'll help the business by -- by doing that.

 5               MS. SCHWARTZ:      Yeah.

 6               MR. GIULIANI:      And I got used to that.         So I really am
 7    trying now to go back and list it all because --

 8               MS. SCHWARTZ:      It's not so easy.

 9               MR. GIULIANI:      No, it's not.      I mean, I, but I am.      I
10    am doing it.      But a lot of the -- when we go through these
11    expenses and they seem, well, what's that for and what's that

12    for, about half of them are going to be for the business.
13               MS. SCHWARTZ:      All right.     Well, I'm not --

14               MR. GIULIANI:      Maybe half.

15               MS. SCHWARTZ:      -- going through every single solitary
16    things.

17               MR. GIULIANI:      Maybe forty percent.

18               MS. SCHWARTZ:      But, you know --

19               MR. GIULIANI:      And some of the big ones --

20               MS. SCHWARTZ:      Well, I think it's more really like --

21    okay.    So number 9, clothing, laundry, and dry cleaning, 500

22    dollars a month.        Are these just like estimated numbers?

23               MR. BERGER:      They're estimated based upon reviewing

24    his check registry and working with the accountant.

25               MS. SCHWARTZ:      All right.     And then we've got number
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 1    10 is personal care products and services.                What's that,

 2    barber, stuff like that?

 3               MR. BERGER:      Barber, things like that, correct.
 4               MS. SCHWARTZ:      Medical and dental, 425.           That's

 5    out-of-pocket medical and dental for you?

 6               MR. GIULIANI:      Yeah.
 7               MS. SCHWARTZ:      Okay.     And then you've got number 12,

 8    transportation 1,600.        That's Ubers?

 9               MR. GIULIANI:      Yeah, I guess, I mean -- not airplanes.
10               MS. SCHWARTZ:      Well, you don't drive, right?
11               MR. BERGER:      You don't drive.

12               MR. GIULIANI:      No.     It has to be Ubers.
13               MS. SCHWARTZ:      And you don't have a driver, do you?

14               MR. GIULIANI:      I do not.

15               MS. SCHWARTZ:      You don't have a designated Uber person
16    you call?

17               MR. GIULIANI:      I do not.

18               MS. SCHWARTZ:      Okay.     All right.       Let's see.    Now you

19    have zero here for entertainment, clubs, recreation, newspaper,

20    magazines, and books.        I can't --

21               MR. GIULIANI:      Yeah.     I don't know why I have that.

22               MS. SCHWARTZ:      And also, this is the one that I

23    thought was also curious.           Charitable contributions and

24    religious donations, zero?

25               MR. GIULIANI:      No, I had those too.
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 1               MS. SCHWARTZ:      Do you belong to a religious or more

 2    than one religious institution?

 3               MR. GIULIANI:      I do.
 4               MS. SCHWARTZ:      Where do you belong?

 5               MR. GIULIANI:      I belong to the Legion of Mary.

 6               MS. SCHWARTZ:      That's in New York City?
 7               MR. GIULIANI:      That's nationwide.

 8               MS. SCHWARTZ:      Oh.     What about churches in New York?

 9               MR. GIULIANI:      No, I don't really belong to a church.
10               MS. SCHWARTZ:      Okay.
11               MR. GIULIANI:      But I made contributions to them.

12               MS. SCHWARTZ:      Right.
13               MR. GIULIANI:      There should be something there for

14    that.

15               MS. SCHWARTZ:      Do you go to church in New York?
16               MR. GIULIANI:      Not every Sunday but regularly.

17               MS. SCHWARTZ:      Yeah.     Where do you go?

18               MR. GIULIANI:      I go to St. Vincent Ferrer.

19               MS. SCHWARTZ:      Oh, I know where that -- my friends --

20               MR. GIULIANI:      On Lexington.

21               MS. SCHWARTZ:      You know, it's very interesting.             My

22    best friend --

23               MR. GIULIANI:      Dominican --

24               MS. SCHWARTZ:      I know it is.      This is an aside, of

25    course, but sometimes we have a little discourse.                My best
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 1    friend's son's getting married there.

 2               MR. GIULIANI:      Beautiful church, great singing.

 3               MS. SCHWARTZ:      I forget who the priest is.
 4               MR. GIULIANI:      I gave the -- I gave the commencement

 5    address in 1985 or '86 at Providence College.               And they invited

 6    me to stay there overnight, the Dominican priest.                And I got
 7    very friendly with him.        And --

 8               MS. SCHWARTZ:      Then you found the church in the city.

 9               MR. GIULIANI:      Then I found the church even -- even --
10    I used to go to that church even when I lived up in 86th
11    Street.    And now I live right around the corner.

12               MS. SCHWARTZ:      Oh, you didn't go to St. Ignatius?
13               MR. GIULIANI:      No.     I went to St. Ignatius.        The

14    Jesuits have never been my favorite --

15               UNIDENTIFIED SPEAKER:        With Andrew Schwartz.
16               MS. SCHWARTZ:      The Jesuits have never been my

17    favorite --

18               MS. SCHWARTZ:      Don't be fooled by my last name.             No,

19    that's a joke.

20               MR. GIULIANI:      The Jesuits have never been my favorite

21    because I went to Manhattan College and the Christian brothers.

22    And Manhattan college was well known for stealing their

23    (indiscernible) and doing all kinds of stuff like that.

24               MS. SCHWARTZ:      Okay.     So look, I think that has to be

25    corrected, right?
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 1               MR. BERGER:      We'll check that with --

 2               MS. SCHWARTZ:      Right?

 3               MR. GIULIANI:      Yeah.     That is a mistake.
 4               MS. SCHWARTZ:      Okay.     And also here you have

 5    insurance.     Life insurance.        You have no life insurance.

 6               MR. GIULIANI:      That I don't have, no.
 7               MS. SCHWARTZ:      Okay.     Health insurance?

 8               MR. GIULIANI:      I have health insurance, but its' --

 9               MS. SCHWARTZ:      Don't paid for by the City.
10               MR. GIULIANI:      Yeah.
11               MS. SCHWARTZ:      But wait a second.         Don't you have,

12    like social security?        like, don't you get --
13               MR. BERGER:      Medicare.

14               MS. SCHWARTZ:      -- Medicare?

15               MR. GIULIANI:      Yeah.
16               MS. SCHWARTZ:      But the -- but the supplement or

17    whatever is paid for by the City?

18               MR. GIULIANI:      I believe so.

19               MS. SCHWARTZ:      Okay.

20               MR. GIULIANI:      I'll have to check that too.

21               MS. SCHWARTZ:      Vehicle insurance, that's for the

22    Mercedes in Florida?

23               MR. GIULIANI:      Correct.

24               MS. SCHWARTZ:      Okay.     And other insurance, none.         So

25    what about, like, homeowners insurance?
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 1               MR. GIULIANI:      I don't -- I don't have homeowners

 2    insurance right now.

 3               MS. SCHWARTZ:      You have no insurance on your
 4    apartment --

 5               MR. GIULIANI:      Not right now.

 6               MS. SCHWARTZ:      -- in New York City?
 7               MR. GIULIANI:      I couldn't afford it.         Right.

 8               MS. SCHWARTZ:      Nothing?

 9               MR. GIULIANI:      Right.
10               MS. SCHWARTZ:      What about the Florida property?             No
11    insurance?

12               MR. GIULIANI:      Not that I can find.
13               MS. SCHWARTZ:      What do you mean that you could find?

14               MR. GIULIANI:      Well, I haven't paid a check in a year.

15               MS. SCHWARTZ:      You have funny -- you have funny
16    expressions.

17               MR. GIULIANI:      I have it -- if I have it, I'm not

18    paying for it.

19               MR. FISCHOFF:      Then you don't have it.

20               MS. SCHWARTZ:      All right.     All right.

21               MR. GIULIANI:      Well, who knows?       Maybe --

22               MS. SCHWARTZ:      You did the car payment thing or

23    whatever.

24               MR. GIULIANI:      Maybe some --

25               MS. SCHWARTZ:      By the way, that Mercedes that you have
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 1    in Florida --

 2               MR. GIULIANI:      That's a 1980 --

 3               MS. SCHWARTZ:      Is it a classic?
 4               MR. GIULIANI:      Yeah, I would say it is.

 5               MS. SCHWARTZ:      Okay.

 6               MR. GIULIANI:      It used to Lauren Bacall.
 7               MS. SCHWARTZ:      Oh.

 8               MR. GIULIANI:      And it makes me feel like I'm Humphrey

 9    Bogart.
10               MS. SCHWARTZ:      Well, all right.       We discussed the
11    alimony and we discussed these payments, but I'm going to go

12    over these transfers with you about that because they seem to
13    be higher on your ninety-day transfers for your support

14    payments.

15               MR. GIULIANI:      Okay.
16               MS. SCHWARTZ:      All right.     And then we've got your

17    real estate taxes.       What --

18               MR. GIULIANI:      That could be because I fell behind.

19               MS. SCHWARTZ:      All right.     Well, we're going to go

20    over it.

21               MR. GIULIANI:      With my mother-in-law's condo --

22               MS. SCHWARTZ:      Nursing home?

23               MR. GIULIANI:      -- I was behind, like, three months.

24               MS. SCHWARTZ:      We're going to go over that.

25               MR. GIULIANI:      And then I had to go -- I had to --
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 1    that's when I had to take the money out of the IRA --

 2               MS. SCHWARTZ:      All right.

 3               MR. GIULIANI:      -- and pay them because they were --
 4               MS. SCHWARTZ:      Okay.

 5               MR. GIULIANI:      -- it was a very unfortunate situation.

 6               MS. SCHWARTZ:      Okay.     Then here, homeowner's
 7    association -- or that's for Florida, right?

 8               MS. SCHWARTZ:      Correct.

 9               MR. GIULIANI:      Okay.     And that's the Florida
10    Utilities.     Now, this storage unit in the Bronx, what's in
11    there?

12               MR. GIULIANI:      Oh, my goodness.       Awards, books, works
13    of art that were given to me.           I mean, not -- I don't think

14    there's anything very valuable, but just things that I've

15    gotten over the years, going back to being U.S. Attorney.
16               MS. SCHWARTZ:      That's it?

17               MR. GIULIANI:      Oh, no, no.

18               MS. SCHWARTZ:      You pay 800 dollars a month for this

19    storage?

20               MR. GIULIANI:      Oh, no.    There's also furniture.

21    There's some furniture in there, a lot of files.

22               MS. SCHWARTZ:      Files.    All right.       Well, let me -- I

23    want to go back to one thing though on your assets that and --

24    then I'm going to get to your, the, the amended filing.

25               MR. GIULIANI:      Okay.     And it is possible that some of
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 1    that storage could be put on the business properly.

 2               MS. SCHWARTZ:         Okay.   Where is it that you -- oh, it's

 3    schedule A --
 4               MR. BERGER:       B probably.     Schedule B would be the

 5    assets.

 6               MS. SCHWARTZ:         Schedule B?
 7               MR. FISCHOFF:         B is personal property.

 8               MS. SCHWARTZ:         Oh, yeah.   That's what I wanted to ask

 9    you about.
10               For the car, you put the value down as 25,000.                   If
11    it's a classic, like where did you come up with that number?

12               MR. GIULIANI:         I paid 20,000 for it.
13               MS. SCHWARTZ:         So where did you come up with the

14    25,000?

15               MR. GIULIANI:         I don't know -- I don't know what it's
16    worth, but I figured I'd make it $5,000 more than I paid for

17    it.

18               MS. SCHWARTZ:         Okay.   On the -- on your apartment in

19    New York, have you had an appraisal done of that?

20               MR. GIULIANI:         At various times, like, during the

21    divorce we did.         And --

22               MS. SCHWARTZ:         When was the divorce?

23               MR. GIULIANI:         The divorce was in -- about two years

24    ago.

25               MS. SCHWARTZ:         Two years ago.
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 1               MR. GIULIANI:      SO it's a pretty accurate appraisal.

 2               MS. SCHWARTZ:      We'd like to see that.

 3               MR. GIULIANI:      Absolutely.
 4               MS. SCHWARTZ:      Okay?     That appraisal.      What about of

 5    the Florida property?

 6               MR. GIULIANI:      Same thing.
 7               MS. SCHWARTZ:      Okay.     We want to see those.

 8               MR. BERGER:      I will provide those to you.

 9               MS. SCHWARTZ:      Okay.     Then you also have these
10    collectibles, right?        And you put down an unknown value.             And
11    these are like sports memorabilia.

12               MR. GIULIANI:      Yeah.     I've never had -- I mean, I
13    don't -- yes, unknown -- I don't know the value.

14               MS. SCHWARTZ:      Do you have any idea of what --

15               MR. GIULIANI:      Huh-uh, don't have any idea.
16               MS. SCHWARTZ:      Are these things in storage?

17               MR. GIULIANI:      No, not all of them.         I have -- the Joe

18    DiMaggio jersey sits in my -- sits in the room that I use as my

19    studio, like my studio.        It's a library, like a library.             And

20    it's -- it was given to me by his doctor after he died.                    And

21    it's signed by him.       And it's an actual home jersey of the

22    Yankees but 1951.

23               MS. SCHWARTZ:      Yeah.     So basically, you haven't valued

24    those at this point?

25               MR. GIULIANI:      No, I've never valued that.
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 1               MS. SCHWARTZ:      All right.      How about -- you have your

 2    wearing apparel valued at 8,500.            And you're you just don't

 3    know how much it's really --
 4               MR. GIULIANI:      Yeah.

 5               MS. SCHWARTZ:      Okay.      And you have clothes here and

 6    clothes in Florida, right?
 7               MR. GIULIANI:      Right.

 8               MS. SCHWARTZ:      Okay.      And then all this jewelry, it

 9    looks like a lot of jewelry in terms of watches.                  You look like
10    you're the watch guy.
11               MR. GIULIANI:      Well, they're -- yeah, I am.             But a lot

12    of these -- I mean, some of them are, like, here's -- this is a
13    watch I'm wearing today which is one of two that I wear all the

14    time.    It's a Shinola watch.          And those are not, like, very --

15               MS. SCHWARTZ:      Expensive?
16               MR. GIULIANI:      They're not --

17               MR. FISCHOFF:      (Indiscernible) --

18               MR. GIULIANI:      They're -- they run from about 400 to

19    about 2,000, depending on the watch that you get.                  This one

20    here is about 600.

21               MS. SCHWARTZ:      And like what about the Rolex though?

22               MR. GIULIANI:      Well, the Rolex -- the Rolex at the

23    time was, like, 4- or 5,000 when I got it.

24               MS. SCHWARTZ:      All right.

25               MR. GIULIANI:      It's a small one.           It's a small Rolex.
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 1               MS. SCHWARTZ:      Do you think that this encompassed

 2    your -- well, the years for the Yankee World Series rings, what

 3    years were those?
 4               MR. GIULIANI:      Oh, those were -- those were the years

 5    that when I was mayor, every year that they won, George

 6    Steinbrenner had a ring made for me.            He didn't tell me he made
 7    it for me because I turned down the first one because I didn't

 8    think I should accept one as the mayor.             And then after I left

 9    office, he let me know that he had had them made for me, and
10    they were given to me at a ceremony.            And then I paid -- I paid
11    for I paid for them because I didn't want anyone to say that I

12    got something from them.
13               MR. FISCHOFF:      Do you want to add that --

14               MR. GIULIANI:      I have a letter from George

15    Steinbrenner saying that I'm the only politician who paid for
16    his tickets.

17               MS. SCHWARTZ:      Is that what you want him to add?             Oh.

18               MR. FISCHOFF:      He doesn't have possession of those.

19               MR. GIULIANI:      I haven't had possession in quite some

20    time.    I gave them to Andrew.

21               MR. FISCHOFF:      He (indiscernible).

22               MR. GIULIANI:      Oh, gosh, which birthday was it?             Gave

23    it to Andrew would be about five or six years ago for his

24    birthday because they were intended for him.

25               MS. SCHWARTZ:      So they're no longer yours or you have
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 1    a little -- you have an ability to get them back?

 2               MR. GIULIANI:      Oh, I could wear one if I wanted.            And

 3    I didn't.     Like, this week, I went and did some Yankee signings
 4    and I usually would wear one, but I would ask him if I was

 5    going to do a Yankee thing --

 6               MS. SCHWARTZ:      Where does Andrew live?
 7               MR. GIULIANI:      Andrew lives in Manhattan.          He lives

 8    in -- he lives down at Bowery.

 9               MS. SCHWARTZ:      He has his own apartment?
10               MR. GIULIANI:      He's married, has a has a beautiful
11    little -- has a beautiful little granddaughter.

12               MR. FISCHOFF:      He's not a little kid anymore.
13               MR. GIULIANI:      Andrew is married, and he has a two --

14    little two and a half year old.

15               MS. SCHWARTZ:      Granddaughter?
16               MR. GIULIANI:      Yeah, Grace.

17               MS. SCHWARTZ:      What's her name?

18               MR. GIULIANI:      Grace.    She's adorable.

19               MS. SCHWARTZ:      All right.     What granddaughter is not

20    adorable, right?

21               MR. BERGER:      Until they become teenagers.

22               MS. SCHWARTZ:      Right?

23               MR. GIULIANI:      Yeah.

24               MS. SCHWARTZ:      Okay.     Let me go back to my outline

25    here.    Okay.    And some of these like social clubs and things
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 1    are not -- are not listed on the expenses.

 2               MR. BERGER:      Correct.    I guess the Metropolitan is the

 3    only one that we were talking about.
 4               MS. SCHWARTZ:      Well, there were quite a few actually.

 5               MR. BERGER:      Well, the golf clubs though he's not a

 6    member of anymore.       And obviously he owes them money.            But we
 7    will double check that.

 8               MS. SCHWARTZ:      And you can also get a copy of today's

 9    recording.     And then you could just --
10               MR. BERGER:      Which is what I will --
11               MS. SCHWARTZ:      -- get it all right, right?          How

12    about -- you know, one thing you didn't list here on your
13    assets is number 26, patents, copyrights, trademarks, trade

14    secrets and other intellectual property.             You didn't list any

15    trademarks.     Did you know whether or not you are the registrant
16    for any trademarks?

17               MR. GIULIANI:      I don't.

18               MS. SCHWARTZ:      Well, I'll tell you, you are.

19               MR. GIULIANI:      I am?

20               MS. SCHWARTZ:      You are, Mr. Giuliani.         There's a

21    number of trademarks for Giuliani Partners for your various

22    businesses, but you're the registrant.

23               MR. GIULIANI:      Oh, personally?

24               MS. SCHWARTZ:      Yes, you are.      So let's see.       I'm going

25    to give this to you.        I printed these off of the USPTO website.
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 1    So those are --

 2               MR. GIULIANI:       I'm sorry?

 3               MS. SCHWARTZ:       U.S. Patent and Trademark.           I did spend
 4    some time as a trademark lawyer, very limited but -- so you

 5    should amend your schedule to reflect that, okay?

 6               Sorry.       We weren't aware of that.          So --
 7               MS. SCHWARTZ:       He's the registrant.          That means he's

 8    the owner of the mark, okay?

 9               MR. GIULIANI:       Where do they show you the mark?
10               MR. BERGER:       Let me see.
11               MR. GIULIANI:       Oh, Giuliani Partners.

12               MR. FISCHOFF:       All right.     We'll take care of it.
13               MS. SCHWARTZ:       Just look at it later.

14               MR. BERGER:       Yeah, we'll look at it.

15               MR. GIULIANI:       Yeah,     yeah, that's good.
16               MS. SCHWARTZ:       All right.     Okay.       Well, anyway, so

17    that -- see, you could come and get given -- you know, get

18    examined and find out things about yourself.

19               Okay.    So let's take a look at -- now you have Mr.

20    Michael is here.

21               MR. GIULIANI:       Ragusa.

22               MS. SCHWARTZ:       Right.    And so he is your security

23    detail.

24               MR. GIULIANI:       Right.

25               MS. SCHWARTZ:       And he's paid for by Communications did
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 1    you say?

 2               MR. GIULIANI:      He's also -- he's also --

 3               MS. SCHWARTZ:      And he's also tech.
 4               MR. GIULIANI:      He's also tech and contributor.

 5               MS. SCHWARTZ:      Contribute?

 6               MR. GIULIANI:      Contributor.      He reports.
 7               MS. SCHWARTZ:      Oh, right, right, right, right.              He's

 8    also talent.

 9               MR. GIULIANI:      He's talent.
10               MS. SCHWARTZ:      Right.    Okay.    Got it.
11               MR. BERGER:      He thanks you for that.

12               MS. SCHWARTZ:      Okay.     So let's take a look at what you
13    filed with the transfers, okay?            That was your amended SOFA.

14               MR. BERGER:      Correct.

15               MS. SCHWARTZ:      Right.    Let's see what --
16               MR. FISCHOFF:      Check the ninety days.

17               MR. GIULIANI:      Oh, okay.

18               MS. SCHWARTZ:      Right.    Okay.    Let me just find my copy

19    of that.     Just give me a minute here, please.            All right.      This

20    is the amended one, right?         Okay.    This is the one with your --

21    the payments that you made in the ninety days.

22               MR. GIULIANI:      Ninety days leading up to the

23    bankruptcy.

24               MS. SCHWARTZ:      Correct.      Okay.   So Envision Physician

25    Services.     Who's that?
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 1               MR. GIULIANI:      Where is that?

 2               MS. SCHWARTZ:      Is that for you?

 3               MR. GIULIANI:      hat is for me.       It might have been an
 4    eye -- an eye test.

 5               MS. SCHWARTZ:      Okay.     Now, you had already told me

 6    that Mazars no longer is your accountant.                So what's this
 7    payment?

 8               MR. GIULIANI:      Probably money I owed them.

 9               MS. SCHWARTZ:      Money owed them from two years ago?
10               MR. GIULIANI:      Oh, no, no.     They left about -- they
11    stopped doing the business about two years ago, but they were

12    involved in my personal account until about four months ago,
13    four or five months ago.

14               MS. SCHWARTZ:      Oh, four or five months ago.

15               MR. GIULIANI:      Yeah.
16               MS. SCHWARTZ:      And that's when you decided to have Mr.

17    Ricci?

18               MR. GIULIANI:      And the payment for that was, you know,

19    much less.     And really it's because the one accountant there

20    that I did a lot of work with, she's moved on to another

21    position.     So they would have to have gotten a whole new person

22    to learn it.      So it was much easier to give it all to Joe.

23               MS. SCHWARTZ:      Okay.     And also because you said you're

24    not, you know, incurring --

25               MR. GIULIANI:      Well, that decision --
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 1               MS. SCHWARTZ:      -- income taxes --

 2               MR. GIULIANI:      -- we made -- yeah, that part we had

 3    done earlier.      But you're --
 4               MS. SCHWARTZ:      Okay.

 5               MR. GIULIANI:      You're wondering about the -- the 4,000

 6    dollars would have been for individual income taxes.
 7               MS. SCHWARTZ:      Okay.     I got that.      Now you've got this

 8    county, should be country, Meadows Assisted Living.                And that's

 9    for your mother-in-law.        Right?
10               MR. GIULIANI:      Correct.
11               MS. SCHWARTZ:      So on September 7th you paid 6,000.          On

12    September 7th, you also paid 10,000.
13               MR. GIULIANI:      Yeah.

14               MS. SCHWARTZ:      Right?

15               MR. GIULIANI:      Uh-huh.
16               MS. SCHWARTZ:      On your expenses, you list the payment

17    as 13,500.     So right here you've already paid 16,000, right?

18               MR. GIULIANI:      Right.    But that'd be --        that had to

19    be because there was money owed for a prior -- I mean, it's --

20               MS. SCHWARTZ:      So you had fallen behind on --

21               MR. GIULIANI:      Oh, yeah.

22               MS. SCHWARTZ:      -- paying for --

23               MR. GIULIANI:      For about three months.

24               MS. SCHWARTZ:      You fell behind for three months.

25               MR. GIULIANI:      Yeah.
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 1               MS. SCHWARTZ:      When did that happen?

 2               MR. GIULIANI:      Around this time.

 3               MS. SCHWARTZ:      Okay.     Then you've got the Diamond
 4    Farms you've already said is for her.

 5               MR. GIULIANI:      That is for her.

 6               MS. SCHWARTZ:      Right?
 7               MR. GIULIANI:      Yes.

 8               MS. SCHWARTZ:      So you pay not only her assisted

 9    living.    You pay all the expenses that go along with it there.
10               MR. GIULIANI:      Her health -- I pay for Country
11    Meadows, and that's about 7- or 8,000, about 7,000 a month.

12               MS. SCHWARTZ:      Right.
13               MR. GIULIANI:      I pay for some extra nurses, and that's

14    much less, like 1,000 or so.

15               MS. SCHWARTZ:      Right.
16               MR. GIULIANI:      And then I pay the Diamond Pharmacy,

17    those three things.

18               MS. SCHWARTZ:      Okay.     All right.       And then here the

19    South Lake Association, this is for Florida, right?

20               MR. GIULIANI:      Correct.

21               MS. SCHWARTZ:      And then here on September 20th you

22    paid them 16,000 dollars, which is three times the amount you

23    have on your expenses?

24               MR. BERGER:      Because that's a monthly.          This is

25    probably -- they pay quarterly.
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 1               MS. SCHWARTZ:      Do you pay that quarterly?

 2               MR. GIULIANI:      Uh-huh.     They bill me quarterly.           And

 3    it's about 15- to 16,000 dollars a quarter.
 4               MS. SCHWARTZ:      Okay.     What is Bankers H Group?

 5               MR. GIULIANI:      I don't know.      I'd have to --

 6               MS. SCHWARTZ:      Well, that's a big chunk of change to
 7    not know.

 8               MR. GIULIANI:      Yeah, it is.      Electronic debit, Bankers

 9    H group.     And it's a -- it's a fixed sum.             I'd have to go look
10    at the check or -- I can figure it out.
11               MR. BERGER:      I'll look that up for you.

12               MS. SCHWARTZ:      Could it be some sort of health group?
13               MR. GIULIANI:      It could.     It's definitely a bill

14    because it's a -- it's a -- it's a very definitive sum.

15               MS. SCHWARTZ:      Okay.     Now you also have here American
16    Express.

17               MR. GIULIANI:      Correct.

18               MS. SCHWARTZ:      And you've got American Express listed

19    like forty times on this transfer.           So I want to see the

20    American Express statements.

21               MR. GIULIANI:      Sure.

22               MR. BERGER:      You got it.

23               MR. GIULIANI:      Well, I have three -- I have three

24    accounts.

25               MR. BERGER:      Yeah, we'll get them all.
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 1               MS. SCHWARTZ:      Yeah.     Let's have the three --

 2               MR. GIULIANI:      Well, I have two.          I have two.

 3               MS. SCHWARTZ:      How many --
 4               MR. BERGER:      I got it.

 5               MS. SCHWARTZ:      -- American Express accounts, I want to

 6    see the statements on that.
 7               MR. BERGER:      You got it.

 8               MS. SCHWARTZ:      All right.     All right.       And then the

 9    dry cleaners, you pay 726 dollars --
10               MR. GIULIANI:      Yeah.
11               MS. SCHWARTZ:      -- for dry cleaners.

12               MS. SCHWARTZ:      Look at me.
13               MR. GIULIANI:      Yeah, I do, I do.

14               MS. SCHWARTZ:      What do you send to the dry cleaners?

15               MR. GIULIANI:      My suits.
16               MS. SCHWARTZ:      How many suits do you send to the dry

17    cleaners?

18               MR. GIULIANI:      Well, I wear a different suit every

19    day.

20               MS. SCHWARTZ:      Is this like your weekly bill for dry

21    cleaning?

22               MR. GIULIANI:      No, that's a monthly bill.

23               MS. SCHWARTZ:      Okay.

24               MR. FISCHOFF:      (Indiscernible).       You know what a

25    drycleaner in Manhattan looks like.
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 1               MS. SCHWARTZ:      Yeah, I know.      I know.     Okay.

 2               So there's the maintenance fee for the New York

 3    apartment.     That's 15,000.       Is that 15,000 a month or is that
 4    also based on --

 5               MR. GIULIANI:      That could either be I fell behind or

 6    that could be some assessment for that month, but it's
 7    generally 10,000.

 8               MS. SCHWARTZ:      Okay.     This is what has to be done,

 9    lawyers.     You have to file an amended expense report because
10    the one that you have does not match up.
11               MR. BERGER:      Well, again, but --

12               MR. FISCHOFF:      (Indiscernible) monthly --
13               MR. BERGER:      -- but wait a second.        The expenses says

14    what is your projected expenses for the six months.                That's

15    what the statement says.
16               MS. SCHWARTZ:      No.     It's a monthly expense.

17               MR. BERGER:      But it's what you think it's going to be.

18    Some of these expenses, as he said to you, was there was --

19               MR. FISCHOFF:      Quarterly.

20               MR. BERGER:      -- quarterly or things --

21               MR. FISCHOFF:      Or catch-up.

22               MR. BERGER:      -- that he had to catch up.

23               MS. SCHWARTZ:      Well --

24               MR. BERGER:      So we'll look it over and do it.           But

25    some of the expenses you want, you know, don't always match up
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 1    because either he's paid some of the stuff --

 2               MS. SCHWARTZ:      Well, you'll have to make notations on

 3    the expense.
 4               MR. BERGER:      Okay.

 5               MS. SCHWARTZ:      You can't file -- you can't expect

 6    someone to be getting your bank statements and trying to figure
 7    it out himself.

 8               MR. BERGER:      But again, you look at it, it's a

 9    forward-going basis on it.          But we'll have that discussion
10    afterwards, and we will look into it for you.
11               MS. SCHWARTZ:      Well, he's testifying here --

12               MR. BERGER:      I agree.
13               MS. SCHWARTZ:      -- what the amounts are.

14               MR. FISCHOFF:      He's testifying that he doesn't know.

15               MS. SCHWARTZ:      No.
16               MR. FISCHOFF:      He's either catching up --

17               MS. SCHWARTZ:      Excuse me.

18               MR. FISCHOFF:      -- catching up --

19               MS. SCHWARTZ:      No.

20               MR. FISCHOFF:      -- (indiscernible) to.

21               MS. SCHWARTZ:      No, that's not correct, Mr. Fischhoff.

22               MR. FISCHOFF:      That's what he said.

23               MS. SCHWARTZ:      He just told me -- no.         I asked him

24    what was the maintenance fee, and he says it's usually 10,000

25    dollars a month.
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 1               MR. FISCHOFF:      Right.

 2               MR. BERGER:      Right.

 3               MS. SCHWARTZ:      That's not catching up.         That's not
 4    anything that you're saying.

 5               MR. FISCHOFF:      But he said the 5,000 could be catching

 6    or an assessment.
 7               MS. SCHWARTZ:      I'm talking about 5,000.          I'm talking

 8    about the 10,000 and the one question.             Please.

 9               MR. BERGER:      Well, it says 10,000 --
10               MR. FISCHOFF:      (Indiscernible) a month --
11               MS. SCHWARTZ:      I'm not going to permit you --

12               MR. BERGER:      Okay.
13               MS. SCHWARTZ:      I am not going to permit you to do

14    that.

15               MR. FISCHOFF:      To do what?
16               MS. SCHWARTZ:      To modify his testimony.

17               MR. FISCHOFF:      I'm not modifying his testimony.

18               MS. SCHWARTZ:      Then be quiet, please, because it's his

19    examination.      And what you're saying is confusing the record.

20               MR. FISCHOFF:      It's not -- the record is the record.

21               MS. SCHWARTZ:      And I'm the presiding --

22               MR. FISCHOFF:      And I'd appreciate it if you would talk

23    to me respectfully.

24               MS. SCHWARTZ:      I am talking to you respectfully.            You

25    keep interrupting, and I'm not --
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 1               MR. FISCHOFF:      I don't --

 2               MS. SCHWARTZ:      -- going to permit it.

 3               MR. FISCHOFF:      I'm not interrupting.          I'm clarifying
 4    something.     Go ahead.     Move on.

 5               MS. SCHWARTZ:      Okay.     As I said, and now the Skyline

 6    storage, this is 5,400 dollars.          Is that annual?         Because on
 7    your expenses, it's listed as 800 dollars a month.

 8               MR. GIULIANI:      That was -- that was -- that was two

 9    things.    That was also to catch up.         And there was -- they
10    moved a great deal of furniture for me when we closed down my
11    law office.     And I took -- I took some of the -- for example,

12    when we closed my law office, I took one desk and put it in my
13    apartment.     And I put several in storage.             So those were

14    unusual expenses for moving and putting in storage the things

15    we wanted to keep from my office.
16               MS. SCHWARTZ:      So the storage place does that.               They

17    do moving and storage?

18               MR. GIULIANI:      They took care of that for me.            Okay.

19               MS. SCHWARTZ:      And when did you close down your law

20    office?

21               MR. GIULIANI:      I closed it down before that, but I

22    kept my furniture there for another four or five months because

23    they had no one to rent.        They had no one to rent.

24               MS. SCHWARTZ:      Oh, so -- okay.       All right.      How you've

25    got two payments on October 12th, each of 5,000.
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 1               MR. GIULIANI:      October 12th?

 2               MS. SCHWARTZ:      Yep, to your mother-in-law.          These are

 3    not the Country Meadows.        These are to her.
 4               MR. GIULIANI:      Judith Stish?

 5               MS. SCHWARTZ:      Giuliani, correct.

 6               MR. GIULIANI:      That's my ex-wife.
 7               MR. BERGER:      It's the ex-wife.

 8               MS. SCHWARTZ:      Oh, I'm sorry.

 9               MR. GIULIANI:      That's the 5,000 dollars.
10               MS. SCHWARTZ:      Oh, I'm sorry.       But you paid her -- did
11    you fall behind a month?

12               MR. GIULIANI:      I must have, yeah.
13               MS. SCHWARTZ:      Okay.     Okay.   Again, there's another

14    one of those Bankers H Care Group payments, same amount as the

15    prior one, right?       And now you've got an American Express
16    payment for 21-- this is just a wrong number because it's a

17    typo there.

18               MR. GIULIANI:      Yeah.

19               MS. SCHWARTZ:      But, you know, if it was a payment of

20    like 21,000, I want to know what -- what payments are making on

21    that.    And then you've got a Citi Card payment of 5,000.                 Do

22    you know what you would use your Citi card for of a 5,000-

23    dollar payment?

24               MR. GIULIANI:      I wasn't using Citi.         That was to pay

25    it down.     And I don't think I owe them any -- or if I do, it's
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 1    very little.      I had a longstanding amount with them, you know,

 2    that I was paying interest on.          And that's to pay it down --

 3    was to pay it down.
 4               MS. SCHWARTZ:      And that is now reflected as an

 5    unsecured debt?

 6               MR. BERGER:      Correct.
 7               MR. GIULIANI:      Yeah.

 8               MS. SCHWARTZ:      Okay.

 9               MR. GIULIANI:      But it's considerably less than it was.
10               MS. SCHWARTZ:      You also had an overdraft charge on
11    Citi gold for 10,000 dollars.

12               MR. BERGER:      I --
13               MS. SCHWARTZ:      Do you want -- yeah.

14               MR. BERGER:      I did see he bounced a couple of checks

15    in between.     So I think --
16               MS. SCHWARTZ:      And they charged you 10,000 dollars for

17    bouncing a check?

18               MR. BERGER:      No.    I think that was the check that was

19    bounced was a 10,000-dollar check.

20               MS. SCHWARTZ:      I see.    Oh, okay.

21               MR. BERGER:      That's why.

22               MS. SCHWARTZ:      Oh, okay.

23               MR. BERGER:      Okay, yeah.     Yeah, no.

24               MS. SCHWARTZ:      Okay.     And now you've got -- in October

25    you have a 4,800-dollar payment to Mar-A-Lago.               What's that
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 1    for?

 2               MR. GIULIANI:      That was for the expenses that I paid

 3    for the -- for the -- I guess for the prior year.
 4               MS. SCHWARTZ:      Let's see the --

 5               MR. BERGER:      Sure.

 6               MS. SCHWARTZ:      -- expense for that.
 7               MR. BERGER:      You got it.

 8               MS. SCHWARTZ:      Okay?

 9               MR. GIULIANI:      Those would have been dinners, lunches,
10    and probably golf.
11               MR. BERGER:      I'll get you the outstanding invoice.

12               MS. SCHWARTZ:      Okay.      And then
13               S3:    I'll get to the outstanding.

14               MS. SCHWARTZ:      And then Metropolitan Club is also --

15    same kind of thing.       Like, you had a dinner there or something?
16               MR. GIULIANI:      Yes.

17               MS. SCHWARTZ:      Or did you say you're a member of that?

18               MR. GIULIANI:      I am, yes.

19               MS. SCHWARTZ:      Oh, okay.      And Dr. Anthony Fasco,

20    that's your doctor?

21               MR. GIULIANI:      Where is that?

22               MS. SCHWARTZ:      10/30/23.

23               MR. GIULIANI:      Yes.      Yes, yes.    But he's not -- well,

24    he is my doctor.        But this was a special -- he did a nasal

25    thing.
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 1               MS. SCHWARTZ:      Okay.

 2               MR. GIULIANI:      He's a specialist.

 3               MS. SCHWARTZ:      Okay.     And then now here we go again
 4    with your dry cleaners.        But this time it's 2,000 dollars.

 5               MR. GIULIANI:      Probably, you know, two months or three

 6    months they got backed up.
 7               MS. SCHWARTZ:      You got backed up?

 8               MR. GIULIANI:      Yeah.

 9               MS. SCHWARTZ:      Bringing your clothes to the dry
10    cleaners?
11               MR. GIULIANI:      Right.

12               MS. SCHWARTZ:      Okay.
13               MR. GIULIANI:      Some of that --

14               MS. SCHWARTZ:      Where is Ted?      Oh, he walked out.

15               MR. BERGER:      Somebody has got to do laundry so --
16               MS. SCHWARTZ:      No.     Take it to the dry cleaners.

17               MR. GIULIANI:      Some of that happens because I travel

18    back and forth and I --

19               MS. SCHWARTZ:      You have so many suits.

20               MR. GIULIANI:      The mail is (indiscernible).

21               MS. SCHWARTZ:      Okay.     So now here we've got the

22    maintenance fee.        This is again, 15,000, not 10-.

23               MR. GIULIANI:      Yeah.     That was to pay off -- again,

24    some of this was to pay off what I owed them in the past.

25               MS. SCHWARTZ:      Okay.     But look for a second.        You paid
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 1    15,000 on October 31st.        And then less than a week later, you

 2    paid them 18,000.

 3               MR. GIULIANI:      I probably owed them like 32,000.            And
 4    I couldn't -- I try -- I do that because I try to avoid, if I

 5    can, taking money out of the IRA.           So I was waiting for a

 6    little more money to come into the account.
 7               MS. SCHWARTZ:      Right.

 8               MR. GIULIANI:      So I probably should have paid them

 9    30,000 all at once, but I split it up.
10               MS. SCHWARTZ:      I got it.     South Lake Maintenance.
11    This is in Florida.       Now, this one is -- again, you said that's

12    a quarterly payment?
13               MR. GIULIANI:      That is a -- that's a quarterly

14    payment, yes.

15               MS. SCHWARTZ:      Right.    Except you paid approximately
16    16,000-dollar payment on November 10th and another on the 15th.

17               MR. GIULIANI:      Again, that was to make up for one that

18    I didn't -- I didn't do in the summertime.

19               MR. BERGER:      There may be an issue that there was one

20    or two checks that bounced, and I don't know if that was one of

21    the checks that bounced.

22               MR. GIULIANI:      Oh, yeah.

23               MS. SCHWARTZ:      You're on it.

24               MR. GIULIANI:      That's why --

25               MR. BERGER:      I had --
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 1               MR. GIULIANI:      -- (indiscernible) --

 2               MR. BERGER:      I had the list of that.

 3               MS. SCHWARTZ:      Okay.
 4               MR. BERGER:      I just -- yeah.      That wasn't the question

 5    on here so --

 6               MS. SCHWARTZ:      Now on the 17th you paid --
 7               MR. GIULIANI:      Because I sent them a check --

 8               MS. SCHWARTZ:      -- 84,000 dollars --

 9               MR. GIULIANI:      Excuse me.
10               MS. SCHWARTZ:      -- for property taxes in Florida?
11               MR. GIULIANI:      Yeah, they had a lien.         They had a lien

12    on it.    And we were afraid that somebody was going to buy the
13    lien.    So I went and took it out of the -- and took it out of

14    the IRA and paid it.

15               MS. SCHWARTZ:      Okay.     Continues with these American
16    Express.

17               MR. BERGER:      I'll provide you all those bills.

18               MS. SCHWARTZ:      And the tips for staff.         That's at

19    Christmas, right?

20               MR. GIULIANI:      Yeah, that was Christmas.

21               MS. SCHWARTZ:      12/22.    Okay.    Let me see what else I

22    have.    Okay.

23               We also have the Stockton lawyer that's representing

24    Mr. Giuliani in the Georgia case, right?

25               MR. BERGER:      In the criminal case.
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 1               MR. GIULIANI:      Yes.

 2               MR. FISCHOFF:      (Indiscernible) the Kamins firm,

 3    cocounsel that --
 4               MS. SCHWARTZ:      I don't know, Stockton & Stockton.

 5               MR. FISCHOFF:      I'm not sure then.

 6               MR. GIULIANI:      Yes.      They're cocounsel.
 7               MS. SCHWARTZ:      To who?

 8               MR. GIULIANI:      With Arthur Aidala.

 9               MS. SCHWARTZ:      Oh.
10               MR. BERGER:      They must be the local --
11               MS. SCHWARTZ:       Okay.     That's another one.

12               MR. BERGER:      Right.
13               MS. SCHWARTZ:      Okay.      And if there are any other

14    professionals or lawyers that are representing you, Mr.

15    Giuliani, we're going to --
16               MR. GIULIANI:      I tried and they're in contact with JO

17    now.    The person that knows that the best is Joe.

18               MS. SCHWARTZ:      Yeah.

19               MR. GIULIANI:      Because he -- he --

20               MS. SCHWARTZ:      We had a call with him yesterday.              He

21    was very, very helpful, very straightforward.

22               MR. GIULIANI:      Joe knows all the -- and he knows all

23    of the local counsel that we use.

24               MS. SCHWARTZ:      Okay.      All right.       All right.

25               Well, like I said before, I'm not going to close this
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 1    meeting because there's a --

 2               MR. GIULIANI:      The documents.

 3               MS. SCHWARTZ:      -- lot of questions and documents --
 4               MR. GIULIANI:      I understand.

 5               MS. SCHWARTZ:      -- and things unanswered.

 6               But I did also say, Mr. Giuliani, at the beginning of
 7    this meeting that there's, there's a second part to the meeting

 8    where creditors have an opportunity --

 9               MR. GIULIANI:      Yes, you told me that.
10               MS. SCHWARTZ:      -- to ask you questions.          Before I go
11    through the instructions for that, are there any creditors that

12    would like to ask questions here today?             Okay.    I'm going to
13    ask that question again.        Are there any creditors here that

14    would like to ask questions today?

15               Okay.    Hearing none, then I'm just going to leave this
16    meeting open at this time.         As I said, we may call you back for

17    additional questions and information, but I feel, you know,

18    comfortable that you're represented by counsel, able counsel

19    that has been cooperative with us to this point.                And we're

20    going to deal with your counsel most of the time.                So it's not

21    that likely that you and I will have an opportunity to --

22               MR. GIULIANI:      All right.     I understand the complexity

23    of it.    I --

24               MS. SCHWARTZ:      Well, I want to say thank you.

25               MR. GIULIANI:      I think you'll handle it very well.
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                                  RUDOLPH W. GIULIANI

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 1               MS. SCHWARTZ:      I appreciate your being here today.

 2          (Whereupon the meeting was concluded)

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 1

 2                            C E R T I F I C A T I O N

 3
 4    I, Michael Drake, certify that the foregoing transcript is a

 5    true and accurate record of the proceedings.

 6
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